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            MY BENEFITS. MY CHOICES.
                  •




                                                      MEDICAL PLANS
                                                      SUMMARY PLAN DESCRIPTION •




                      OPTIONAL BROAD-BASED         CHOOSE COVERAGE FROM AMONG:
                  COVERAGE TO HELP DEFRAY             • Traditional and consumer-driven
                      MEDICAL AND PHARMACY              health plan options and
             EXPENSES INCURRED BY YOU AND             • Pharmacy options.
                YOUR COVERED DEPENDENTS.




July 2016




                                                                              M YWO R K.
9ARRIS                                                                      MYREWARDS.
                                                                      PERFORMANCE COUIITS. HARRIS AND YOU.
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 QUICK LOOK                     PLAN TERMINOLOGY
     Affordable Care Act — A federal statute signed into law in 2010 as a part of healthcare reform. The law includes
     multiple provisions that will take effect over a number of years, including the establishment of health insurance
     marketplaces/exchanges and patient protections such as prohibiting health insurers from denying coverage due to
     preexisting conditions.
     Alternate health plan (AHP) — A medical plan offered in geographic areas that do not have the Cigna Medical
     Plan options (OAPs and CDHPs) available to most Harris employees. Plan designs differ from the Harris Medical
     Plan and from each other. Details about an AHP can be obtained directly from the AHP or the Benefits Service
     Center. If you are interested or currently enrolled in an AHP, be sure to see "How Alternate Health Plans Work" later
     in this SPD.
     Best Doctors — Organization of medical professionals that can provide an independent second opinion or network
     referral for Harris Medical Plan participants.
     Brand-name drug — A prescribed drug that is protected by U.S. patent law, referred to in pharmacy plans as
    formulary and non-formulary drugs.
    Business Travel Medical Plan — Coverage for medical emergencies while traveling outside your home country on
    company business insured by Zurich American Insurance Company.
    Centers of excellence — A hospital that has earned a top ranking for health outcomes and cost efficiency for
    31 common inpatient conditions and procedures such as heart conditions, hip replacements and surgeries. To
    find centers of excellence, go to mycigna.com and click on "Find a Doctor or a Service." Centers of excellence are
    marked as such.
    Cigna Comprehensive plan — Type of medical plan that allows participants to choose any eligible provider
    without an effect on plan reimbursement. Comprehensive plans reimburse the patient and/or the provider as
    expenses are incurred. The medical plan for Medicare-primary participants is referred to as the Comprehensive
    Plan.
    Claim administrators — Organizations primarily responsible for managing the Harris Medical Plan and Cigna
    Comprehensive Plan. Cigna serves as the medical administrator and Express Scripts is the pharmacy administrator.
    Benistar is the claim administrator for the Medicare D Prescription Drug Plan. Zurich serves as the plan
    administrator for the Business Travel Medical Plan.
    COBRA — The Consolidated Omnibus Budget Reconciliation Act of 1986. This law provides, in certain
    circumstances, the option for plan participants or their dependents to elect continuing group healthcare
    coverage beyond the date when their coverage would ordinarily terminate.
    Coinsurance — When you and the plan share the cost of a covered service. In-network, you pay a percentage
    of the network rate. Out-of-network, you pay a percentage of the maximum reimbursable charge (MRC) and any
    balance due over the MRC.
    Consumer Driven Health Plan (CDHP) — High-deductible medical plan offering in- and out-of-network benefits.
    Participants may be able to contribute to a separate Health Savings Account (HSA) to help pay for eligible expenses
   such as the deductible or coinsurance. The CDHPs use the Open Access Plus network of providers, as do the Harris
   OAP options.
   Copay — A flat dollar amount you pay at the time certain healthcare services are delivered.
   Deductible — Amount you must pay for covered services in a calendar year before plan benefits begin.
   Denial of benefits — Claim administrator's decision to deny payment of a claim for non-covered services or for a
   claim filed more than 180 days after an eligible expense is incurred.
   Drug Quantity Management (DQM) — Review to ensure drugs are being prescribed in the quantities
   recommended by prescribing practices and FDA guidelines.
   Eligible dependent — Generally, your spouse, your domestic partner and your or your spouse's/domestic
   partner's children who have not attained age 26. Special eligibility provisions apply to mentally and physically
   disabled children. (See the separate "Benefit Basics" section of the SPD for a more complete definition.)
   Eligible provider — Licensed physicians working within the scope of their licenses, therapists working under
   the direction of licensed physicians, or duly licensed podiatrists, dentists, psychoanalysts, chiropractors or other
   providers who act within the scope of their licenses. The latter group of providers will be considered on the same
   basis as physicians.
   Formulary — Express Scripts' national preferred brand-name drug list. The list also includes excluded medications.
   To see the plan formulary, go to www.express-scripts.com.



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       Formulary brand-name drug — Brand-name drug on the Express Scripts national preferred drug list/formulary.
       Express Scripts negotiates discounted prices from the manufacturers for its formulary and, therefore, these brand-
       name drugs are available at a lower cost than non-formulary brands.
       Generic drug — Copy of a brand-name drug that is no longer protected by a U.S. patent. A generic drug is
       identical — or bioequivalent — to a brand-name drug in dosage, form, safety, strength, quality, performance
       characteristics and intended use. Although generic drugs are chemically identical to their branded counterparts,
       they are typically sold at substantial discounts from the branded price since their manufacturers do not
       have to recoup research and development or marketing costs. Generics are manufactured by a variety of
       pharmaceutical companies.
       Harris Family Medical Center (HFMC) — Network facility in Melbourne, Florida made up of primary care
       physicians and an in-network pharmacy.
      Healthcare Flexible Spending Account (FSA) — A tax-preferred account that is available to benefit-eligible
      Harris employees, other than CDHP participants. Money in this account does not roll over from year-to-year nor
      can it be invested. Money contributed in a calendar year must be used during the calendar year. Tax law defines
      the healthcare expenses that can be reimbursed through the Healthcare FSA.
      Health insurance marketplace or exchange — A resource where individuals, families and small businesses
      can learn about and compare health coverage options based on costs, benefits and other important features,
      choose a plan and enroll in coverage. The marketplace/exchange also provides information on programs
      that help people with low to moderate income and resources pay for coverage. The marketplace/exchange
      encourages competition among private health plans and is accessible through websites, call centers, and in-
      person assistance. In some states, the marketplace/exchange is run by the state and, in others, it is run by the
      federal government. Health insurance marketplaces/exchanges were created by the Affordable Care Act.
      Health Savings Account (HSA) — A tax-preferred account that allows eligible CDHP participants to set aside
      money for their current and future healthcare expenses. Balances remaining in an HSA can roll over from year-
     to-year and be invested by the account's owner. Tax law defines eligible expenses and limits for an HSA.
      Life change event — Specific events defined by U.S. tax law that permit a change 'n Medical Plan elections
     during a plan year (e.g., legal change in marital status or in the number or eligibility of dependents). (See the
     separate "Benefit Basics" section of the SPD for a more complete definition.)
     LIFESOURCE — The Cigna LIFESOURCE Transplant Network®. LIFESOURCE offers over 130 quality facilities
     recognized for their expertise in specific transplant services. Transplants at a LIFESOURCE facility are covered at
    100% (although you must first meet your deductible under the CDHP options).
     Lifetime maximum — The Affordable Care Act removed lifetime maximums from medical plans.
     Maintenance drugs — Prescribed medications that are used to treat chronic or long-term conditions (e.g,
    asthma, high blood pressure).
     Maximum reimbursable charge (MRC) — The lesser of these two charges: the provider's normal charge for a
    similar service or supply or a charge representing a percentage of what is ordinarily paid for a service or supply
     in a geographic area. The healthcare professional may bill the customer the difference between the healthcare
     professional's normal charge and the MRC as determined by the benefit p an, in addition to applicable
    deductibles, copays and coinsurance.
    MDLive — A telemedicine alternative for non-emergency medical care.
    Medical emergency — A medical condition or symptom resulting from sickness, injury or mental illness which
    arises suddenly and, in the judgment of a reasonable person, requires immediate care and treatment, generally
    within 24 hours of onset, to avoid jeopardy to life or health. Examples are severe chest pain, excessive bleeding,
    fractures or serious burns.
    Medically necessary covered expenses — Those services and supplies (including prescribed medications)
    required to diagnose or treat an illness, injury, disease or its symptoms in accordance with generally accepted
    standards of medical practice and which are considered clinically appropriate in terms of type, frequency,
    extent, site and duration.
    Network — The Cigna Open Access Plus (OAP) network or the Express Scripts pharmacy network.
    Network provider — Physician, facility or other health care provider affiliated with the network. When
    you use a network provider, you will ordinarily pay less for your healthcare than if you go to a non-network
    provider. Locate Cigna network providers at www.cigna.com; Express Scripts network providers at
    www.express-scripts.com.




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      Network rate — Negotiated cost for a covered service or supply that is generally lower than the "going rate"
      for similar services or supplies.
      Non-formulary brand-name drug — Brand-name drug not on the Express Scripts national preferred drug
      list/formulary. Non-formulary drugs have higher costs than drugs on the Express Scripts reference formulary.
      Non-formulary brand-name drugs have a counterpart on the formulary drug list; that is, a less costly drug that
      is considered safe and effective in treating the same condition. This is because many of the alternatives are
     generics.
     Open Access Plan (OAP) — A traditional medical plan offering in- and out-of-network benefits. Copays apply
     to certain expenses and other expenses require you meet a deductible before benefits begin. Harris employees
      participating in an OAP option have access to the Open Access Plus network—the same network used by the
     CDHP medical option.
     Out-of-pocket limit — Maximum amount you can pay toward covered services in a calendar year. Once an
     individual meets his/her out-of-pocket limit, subsequent covered health services for that person will be covered
     at 100% of network rates (in-network care) or the MRC (out-of-network care) for the rest of the calendar year.
     (Also, see "pharmacy out-of-pocket limit" below.)
     Pharmacy out-of-pocket limit — The maximum amount you can incur in a calendar year for covered
     prescription drug costs under the OAP plans. Any pharmacy-related expenses other than copays and
     coinsurance cannot be applied to the annual pharmacy out-of-pocket limit. (There is no pharmacy out-of-
     pocket limit for the CDHPs since these plans combine pharmacy costs with medical costs in an overall out-of-
     pocket limit.)
     Post-service claim — A claim for a benefit that is neither an urgent care or a preservice claim.
     Precertification — Preauthorization or prior authorization of certain inpatient and outpatient care by Cigna
     and certain prescribed medications by Express Scripts (e.g., growth hormones, medical foods).
     Preservice claim — A claim for a benefit that, in whole or in part, requires authorization before obtaining
     medical treatment or purchasing certain drugs. Preservice authorization is obtained through the
     precertification process with the claim administrator.
     Preventive care — Healthcare services, such as annual checkups, screenings and immunizations, aimed
    at keeping you in good health and preventing medical problems. There are preventive care guidel'nes for
     men, women and children with normal risk factors. The Affordable Care Act ensures that certain
    preventive care services and supplies be provided to plan participants on an in network basis at no cost.
    Visit www.healthcare.gov for information or contact the claim administrator.
    Primary care physician — Family practitioners, general internists and pediatricians. When you use a primary
    care physician, you make a lower copay than for a specialist's care. (OB/GYNs may be considered primary care
    physicians and/or specialists by the network.)
    Primary plan/primary coverage — The plan that pays benefits first when a participant has coverage under
    more than one medical plan.
    Secondary plan/secondary coverage — The plan that pays benefits second, if any are due, when a participant
    has coverage under more than one medical plan.
    Specialist — Eligible health care provider who is not considered a primary care physician. Examples include:
    cardiologists, dermatologists, chiropractors and mental health professionals. An in-network specialist's care
    requires a higher copay than care from a primary care physician, since the cost of a specia fist's visit is generally
    more expensive. A referral is not required to see a specialist.
   Step-Therapy — Requirement to use a "front-line" drug (a generic or lower-cost brand) before certain
    prescriptions will be approved.
    Urgent care claim — A claim which, unless a decision is reached within 72 hours, could seriously jeopardize
   the patient's health or ability to regain maximum function or, in the opinion of a physician with knowledge of
   the patient's medical condition, would subject the patient to severe pain that cannot be adequately managed
   without the care or treatment requested in the claim. An individual acting on behalf of the plan, applying the
   judgment of a prudent layperson, can determine whether the claim is an urgent care claim. However, if a
   physician with knowledge of the patient's medical condition determines that the claim 'nvolves urgent care, it
   must be considered an urgent care claim.
   USERRA — The Uniformed Services Employment and Reemployment Rights Act of 1994 (USERRA) guarantees
   certain rights to eligible employees who enter military service. Upon reinstatement, you generally are entitled
   to the seniority, rights and benefits associated with the position held at the time employment was interrupted,
   plus certain additional seniority, rights and benefits that would have been attained if employment had not been
   interrupted.


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   YOUR MEDICAL PLAN
      The Harris Medical Plan offers choices that allow you to create the coverage that suits your
      healthcare needs and budget. The Medical Plan not only provides extensive and broad-based
      benefits, but also encourages you to become an astute healthcare consumer and to maximize your
      wellness. The plan has no lifetime maximum benefits.

      Your medical benefit election has two steps: you must select both a medical option and a
      pharmacy option. Together, these two choices create your Harris Medical Plan. If you do not
      make a pharmacy option election, you will be defaulted to your choice of medical option and
      Pharmacy Plan 1.


     Your four medical options share many things, including the expenses they cover. There are
     differences in premiums that relate directly to the potential out-of-pocket costs associated with
     each option. This relationship is similar to auto or homeowners' insurance where you pay higher
     premiums and get a lower deductible — or pay lower premiums and accept a higher deductible.

     Your three pharmacy options all offer the same level of benefits but differ in access to the retail
     pharmacy network and the use of mail order for maintenance drugs. This SPD will explain in detail
     the similarities and differences among these options.




       MEDICAL — SELECT ONE:
      • Open Access Plans (OAPs)           Plans offering in- and out-of-network benefits through Cigna'
        3.4

      - Consumer Driven Hea th             Plans offering 'n- and out of network benefits through Cigna. - hese are high-
        Plans (CDHPs)1, 2                  deductible plans. When you participate in a CDHP, you may be eligible to contribute
                                           to and pay for qualified healthcare expenses from a Health Savings Account (I-ISA)
       PHARMACY — SELECT ONE:
       Plans 1, 2,3                        Plans offering access to the Express Scripts network of pharmacies.           ccess to the
                                           network differs among the options
     * If you are employed In Alaska and enrolled In the Harris Medical Plan, you will be covered under the C'gna PPO network and all
       services will be covered at in-network levels.




           IF You ARE MEDICARE-ELIGIBLE DUE TO DISABILITY
           The Cigna Comprehensive Plan provides medical benefits for Medicare-eligible participants. (For
           information about this plan and pharmacy benefits for Medicare-eligible employees, see "Medicare-
           Primary Participants" later in this section of the SPD.)




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    ENROLLING IN THE MEDICAL PLAN
    These are the time frames in which you can enroll or make changes to existing elections:

      You can enroll within 30 days of your hire date or
      You can enroll/make changes within 30 days of a life change event or during annual open
      enrollment.

    Your elections stay in effect for the calendar year unless you have a qualifying life change event
    and request a change that is consistent with the life event. As long as you are enrolled in Harris
    medical benefits, you can also enroll your eligible dependents. There are four levels of coverage:

     You   only
     You   plus spouse/domestic partner
     You   plus child(ren)
     You   plus family (spouse/domestic partner and children).

    Enter your elections online through My Benefits Portal listing yourself and any eligible dependents
    you want to cover. Keep in mind that you must select a medical option and a pharmacy option to
    complete your Medical Plan enrollment.

    ENROLLMENT — OTHER THINGS TO KNOW

      Effective dates
               » New hire — Coverage goes into effect as of your hire date as long as you enroll in
                  coverage within the required 30-day time frame
               » Life change event — Coverage will be effective on the date of the life change event
                 for birth, adoption, placement for adoption, or the loss of plan eligibility. Elections for
                 other life change events will be effective as of the date the change is requested
               » Annual enrollment — Elections made during annual enrollment go into effect on
                 January 1 of the new calendar year
     ID cards — You will receive two ID cards — one from Cigna and one from Express Scripts — to
     be used as proof of insurance. If an ID card is lost or you want a temporary card, print one from
     the Cigna or Express Scripts website
     Transition of care — As a new enrollee in the Harris Medical Plan, you may be receiving
     treatment in progress from a non-network provider. You can continue that care, but usually on
     an out-of-network basis. The only exceptions are:

                 A first- or second-trimester pregnancy that's coupled with a severe medical condition.
                 Cigna may grant a continuing care exemption that would pay in-network benefits for
                 an out-of-network provider
               > A third-trimester pregnancy. In-network coverage can be requested even if your
                 provider is out-of-network. To secure this exception, you must contact Cigna as soon
                 as possible.




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      COST OF MEDICAL COVERAGE
      You and Harris share the cost of your coverage:

       Your costs include your premiums that will vary with your choice of plan option, level of coverage,
       base pay and expenses not paid by the plan (e.g., copays and other out-of-pocket expenditures).
       Please note your premiums may change throughout the year if your base pay is adjusted.
       Harris' costs include the balance of your actual healthcare expenditures (e.g., the cost of services
       or supplies above your copay or coinsurance) as well as all administrative fees.

     To check the premiums for the medical and pharmacy options, go to My Benefits Portal.
     YOUR CONSUMER CHOICE
     There is a direct relationship between your level of premiums and your potential out-of-pocket
     expenses during the year. You have to weigh whether you wish to:

       Keep more money in your pocket with lower premiums and accept the risk of potentially higher
       out-of-pocket costs should you incur them or
       Spend more throughout the year in higher premiums and have lower potential out-of-pocket costs
       should you incur them.

     This is a matter of personal consumer choice. There is a cost for every healthcare service
     you receive. It's up to you to decide how you wish to meet that cost — upfront through higher
     premiums or when and if an expense is incurred. No matter what your decision, you can rest
     assured that your annual costs will always be capped by your annual out-of-pocket limit.



                                                Cr   eV%11--04:"LaTIMNAWka
      IF YOU CHOOSE...                          PREMIUMS WILL BE...   WHY IS THIS THE CASE...
                                                     MEDICAL
      Lower deductible to meet                                        The plan covers services sooner
      Lower coinsurance for you to pay                                The plan covers a greater portion of your
                                                       Higher
                                                                      covered services
      Lower out-of-pocket lim't                                       The plan covers services at 10000 sooner
      Higher deductible to meet                                       You pay more before the plan covers
                                                                      services
      Higher coinsurance to pay                                       The plan pays a lower portion of your
                                                       Lower
                                                                      covered services
      Higher out-of-pocket limit                                      You pay more upfront before the plan
                                                                      begins to pay 1000o

                                                   PHARMACY
      Access to all pharmacies in the network          Higher         Less cost-effective plan
      Less access to pharmacies                                       Plan is more cost-effective
                                                       Lower
      Mandatory mail-order maintenance drugs                          Most cost-effective plan




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     WAYS TO STRETCH YOUR HEALTHCARE DOLLARS
    Aside from the premiums that you choose to pay, the healthcare choices you make directly impact
    your healthcare expenditures. Ways to help manage your expenses include:

      Keeping up with your preventive care services
      Living a healthy life style
      Selecting the right healthcare option for your needs
      Choosing network providers
      Selecting generic drugs, whenever possible, or brand-name drugs that are on the plan formulary
      Taking advantage of disease management programs and centers of excellence
      Using the consumer tools available through Cigna
      Calling the Health Information Line for advice (available 24/7)
      Following precertification guidelines, when required
      Making sure expenses are covered before you incur them
      Being mindful of any limits on eligible expenses that could affect reimbursement.



  BENEFIT OVERVIEW
    On the next page, you'll find a brief summary of the Open Access Plan (OAP) and Consumer
    Driven Health Plan (CDHP) options that can help you compare plan features and benefits on an
    in-network (IN) and out-of-network (00N) basis. Details are found throughout this SPD. To help
    you with your consumer choice, be sure to:

     Check the premiums on My Benefits Portal to see how they relate to the deductibles, out-of-
     pocket limits and reimbursements under the various options, and
     Take into consideration the fact that those electing a CDHP may be eligible to open a tax-
     favorable Health Savings Account (HSA) to which Harris may contribute. The HSA can be used
     to pay eligible healthcare expenses before and after the high deductible is met. It is important
     for you to understand that you must meet your annual deductible before benefits (other than
     eligible preventive care services) begin, especially if you are enrolled in a CDHP.




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        FEATURE/BENEFIT                    OAP 3                      OAP 4                                                  CDHP 2
       ANNUAL                      IN            00N3         IN              00N3       IN            00N3            IN          00N3
       DEDUCTIBLE'''
       Individual                 $750          $1,500       $1,000          $2,000     $1,500        $3,000          $2,000      $4,000
       Family                     $1,500        $3,000       $2,000          $4,000     $3,000        $6,000         $4,000       $8,000
       COINSURANCE                Plan: 80%    Plan:         Plan: 8000      Plan:      Plan: 800o    Plan:          Plan: 70%    Plan:
                                  You: 20%     60% of        You: 20°o       60% of     You: 2000     60% of         You: 30%     50% of
                                               MRC                         MRC                        MRC                         MRC
                                               You:                        You:                       You:                        You:
                                               balance                     balance                    balance                     balance
       ANNUAL OUT-OF-POCKET
       Individual                 $3,000       $6,000        $3,500       $7,000        $4,000        $8,000         $5,000       $10,000
       Family                     $6,000       $12,000       $7,000       $14,000       $8,000        $16,000        $10,000      $20,000
       OFFICE VISIT
      Primary care               $25           Plan:         $25          Plan:         Plan: 80.0   Plan:           Plan: 70°o   Plan:
                                 copay         60% of        copay        60% of        You: 20%     60% of          You:30%      50% of
                                               MRC                        MRC                        MRC                          MRC
      Specialist                 $40                         $40
                                               You:                       You:                       You:                         You:
                                 copay                       copay
                                               balance                    balance                    balance                      balance

      Preventive care            Plan:         Not          Plan:         Not           Plan:        Not             Plan:        Not
                                 10000         covered      100%          covered       100%         covered         100%         covered



      OUTPATIENT CARE            Plan: 80% Plan:            Plan: 80% P an:            Plan: 8o%     P an:           Plan: 70%    Plan:
                                 You: 20°o 60% of           You: 20% 60% of            You: 20%      60% of          You: 3000    50% of
                                           MRC                        MRC                            MRC                          MRC
                                           You:                       You:                           You:                         You:
                                           balance                    balance                        balance                      balance
                                                                                                     Bbalance
      EMERGENCY ROOM             $150         , $150       1 $150         $150         Plan: 80%     Plan: 80%       Plan: 70%    Plan: 70%
                                 copay          copay        copay        copay        You: 20°o     You: 20%    '   You: 30%     You:3000
      URGENT CARE                $25           $25          $25           $25          Plan: 8000    Plan: 80%       Plan: 70%    Plan: 70%
      CENTER                     copay         copay        copay         copay        You: 20%      You: 20%        You:30%      You: 3000



      INPATIENT CARE             Plan: 80%    Plan:         Plan: 80%     Plan:        Plan: 80%     Plan:           Plan: 70°/   Plan:
                                 You: 20°o    60% of        You: 20°o     60% of       You: 20%      60% of          You: 30°o    50% of
                                              MRC                         MRC                        MRC                          MRC
                                              You:                        You:                       You:                         You:
                                              balance                     balance                    balance                      balance
      LIFETIME MAXIMUM                                                            Unlimted


     1 The annual deductible must be met before benefits begin with these exceptions. For the OAPs, services requiring copays, preventive
        care and pharmacy benefits are covered before the deductible is met. For the CDHPs, only preventive care is covered before the
        deductible is met.
     2. The individual and family deductibles under the CDHPs are applied differently than under the OAPs.
     3. Out-of-network reimbursements are based on Cigna's maximum reimbursable charges (MRC).




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                                                       SCRIPTS.PHARMAcY PLANS
                  PHARMACY 1                                   PHARMACY 2                                   PHARMACY 3

                                           Generic: Member pays full cost up to J.7
                             Formulary: Member pays 20% with a $25 minimum and $75 maximums
                           Non-formulary: Member pays 50% with a $50 minimum and $ioo maximums
     Express Scripts pharmacy network             Pharmacy 1network without CVS                Pharmacy 2 network p/us mandatory
                                                  and Walgreens                                mail order for maintenance drugs'




                                            Pharmacy out-of-pocket maximum—OAP only
                                                             • Individual—$2,500
                                                             • Family—$5,000
    ' Any prescription that costs less than the minimum will be purchased at its actual price.
    2 You wili be able to purchase up to two fills at your network retail pharmacy while your mail-order prescription is being activated.




     IMP
     OAP •                                                               CDI-IP
     • Your medical plan deductible does not have to be                   You will pay the full cost of your prescriptions until
      met before pharmacy benefits begin. There is day-                   you meet your annual CDI-1P medical deductible that
      one coverage                                                        includes both medical and pharmacy costs. Once
      There is a $2,500 individual/$5,000 fa ily out-                     met, prescription coverage begins
      of-pocket limit for pharmacy benefits for OAP                       Once your CDNP out-of-pocket limit is met (includes
      participants. Once met, a person's prescription costs               medical and pharmacy), the person's prescriptions
      will be paid in full for the rest of the calendar year              will be paid in full for the rest of the calendar year




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     IN-NETWORK VS. OUT-OF-NETWORK CARE
     You can go in-network or out-of-network whenever seeking healthcare services or purchasing
     a prescription. The Medical Plan has two networks — both extensive and available throughout
     the continental United States. They are:

       Cigna's Open Access Plus (OAP) network and
       Express Scripts' Pharmacy network.

     The Medical Plan is designed to encourage in-network use since it's more cost-effective and
     efficient for you and best spends the dollars Harris invests in your medical benefits. In-network
     care is an attractive choice since it:

      Offers a broad range of providers, facilities and services at special negotiated rates — your
      costs are lower than out-of-network
      Allows you the freedom to refer yourself for care, that is, you have no primary care physician
      to act as a gatekeeper to network services
      Pays higher levels of in-network benefits with a lower deductible so the plan shares your costs
      sooner than out-of-network
      Provides key preventive care services and supplies for adults and children without cost to you
      Requires network physicians to handle any required precertification for you and
      Saves you the time and hassle of filing claim forms.

     You always have the choice to go out-of-network. Compared to in-network care, your plan
     reimbursements will be lower, you'll have claim forms to file, you'll be responsible for
     precertifying care, and you will generally pay more for your care since it's based on market
     rates.

     The Cigna Open Access Plus network includes physicians and other healthcare providers as
     well as hospitals and other healthcare facilities. Information about the network can be found
     at www.cigna.com. Participating Express Scripts pharmacies can be found at
     www.express-scripts.com.




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  PLAN FEATURE.
    ANNUAL DEDUCTIBLE
    Until you reach your annual deductible, you are responsible to pay in full for most healthcare
    services and supplies with the exceptions shown below. If you use a network provider, you'll pay
    100% of a negotiated rate. Out-of-network, you'll pay 100% of your provider's market-rate fees.
    Once your eligible expenditures add up to the deductible amount, the plan begins sharing your
    subsequent healthcare costs for the rest of the calendar year. This is called coinsurance.



                                                       OR           DEDUC
               OAPs
                               itilmrh,                     CDI-IPs
               • Specific in-network preventive care        •Only specific in-network preventive care
                 Services requiring copays
                 Pharmacy benefits


    IN-NETWORK AND OUT-OF-NETWORK DEDUCTIBLES
    Each medical option has annual in-network and out-of-network deductibles for individuals and
    families. (To review the Medical Plan deductibles, refer to the previous "Benefit Overview" in this
    section of the SPD.)

    The expenses that apply to each deductible are:

      Eligible in-network expenses (no copays) In-network deductible only
      Eligible out-of-network expenses (no copays) In-network and out-of-network
      deductibles.

    The structure of the deductibles promotes and encourages in-network use. Since the in-network
    deductible is lower than the out-of-network deductible, it can be met sooner, regardless of how
    you access care, and in network coinsurance can begin. This rewards those using the network
    and encourages others to begin using network providers to receive plan benefits sooner.

    INDIVIDUAL AND FAMILY DEDUCTIBLES
    There are differences in the way the Medical Plan's individual and family deductibles are defined
    and reached based on whether you are enrolled in an OAP or CDHP option. This is important
    for you to understand so you are prepared and aware of the levels of expenses you must incur,
    particularly to meet the deductibles under a CDHP. There are no individual annual deductibles
    for covered family members under a CDHP.




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       DEDUCTIB              OAPs
       INDIVIDUAL                 • The individual deductible is met when a          The individual deductible only applies
                                    covered person pays healthcare costs,            to YOU, the employee, when you elect
                                    excluding copays, that reach your plan's         employee only coverage
                                    deductible limit                                 Once met, your benefits begin
                                   Once met, coinsurance begins for that             There is no individual deductible associated
                                    individual                                       with any level of CDHP coverage that
                                                                                     includes dependents
       FAMILY                     The family deductible is met when any             • The family deductible applies whenever you
                                  combination of covered persons reach                elect coverage that includes dependents
                                  the family deductible (one person cannot           •It can be satisfied through any combination
                                  contribute more than the individual                 of eligible expenses 'ncurred by you and
                                  deductible)                                         your covered dependents
                                  Once met, coinsurance begins for all those        • Once met, benefits begin for all those
                                  included in your coverage                           *ncluded in your coverage

     Please note: a newborn is not subject to a separate deductible for charges related to childbirth unless
     the newborn is given a diagnosis code or stays in the hospital longer than the mother.

     ANNUAL OUT-OF-POCKET LIMIT
     The Medical Plan caps the amount of eligible expenses you have to pay each year. This plan feature
     is referred to as the out-of-pocket limit. Expenses used to satisfy the out-of-pocket limit must be
     considered eligible by the plan. For example, if you went to an out-of-network provider and had to
     pay more than what the plan reimburses, that difference would not be counted. Likewise, if you
     received a penalty for not complying with hospital precertification requirements, that penalty would
     not be applicable.
     IN- NETWORK AND OUT- OF- NETWORK OUT- OF- POCKET LIMITS
     Each medical option has annual in-network and out-of-network out-of-pocket limits for individuals
     and families. (To review the Medical Plan out-of-pocket limits, refer to the previous "Benefit
     Overview" in this section of the SPD.) The expenses that apply to each out-of-pocket limit follow. As
     you will see, the in-network out-of-pocket limit can be reached in either the OAP or CDHP options
     with a combination of in- and out-of-network expenses.

                         UT-OF-POCKET LIMIT - LIGIBLE XPE
        WHAT YOU CAN APPLY TO MEET YOUR OAP... WHAT YOU CAN APPLY TO MEET YOUR CDHP...

          IN-NETWORK (IN)              OUT-OF-NETWORK (OON)                IN-NETWORK (IN)            OUT-OF-NETWORK (OON)
        OUT-OF-POCKET LIMIT             OUT-OF-POCKET LIMIT              OUT-OF-POCKET LIMIT           OUT-OF-POCKET LIMIT
        • Any medical expenses            Any medical expenses            Any medical or                Any medical or
          that were used to               that were used to               pharmacy expenses             pharmacy expenses
          satisfy the IN or OON           satisfy the OON                 that were used to             that were used to
          deductible                      deductible                      satisfy the IN or OON         satisfy the OON
                                                                          deductible                    deductible
         Your share of any              • Your share of any OON           Your share of any IN          Your share of any OON
         IN or OON medical                medical coinsurance             or OON medical or             medical or pharmacy
         coinsurance above the            above the deductible            pharmacy coinsurance          coinsurance above the
         deductible                                                       above the deductible          deductible
        Medical copays                  • Medical copays




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     INDIVIDUAL AND FAMILY OUT-OF-POCKET LIMITS
     As is the case for annual deductibles, there are differences in the way the annual out-of-pocket
     limits are administered in the OAPs and CDHPs. Please take the time to understand this information,
     especially if you are enrolling in a CDHP.




      OUT                   OAPs
      LIMIT
      INDIVIDUAL               The individual out-of-pocket limit is met   The individua out-of-pocket limit is met
                               when a covered person reaches the limit     when a covered person reaches the limit,
                               in medical costs, including copays, as      including both medical and pharmacy
                               defined by the Medical Plan                 costs
                             • Once met, medical copays and                Once met, your coinsurance ends and
                               coinsurance end and the plan picks          the plan fully covers your subsequent
                               up the person's subsequent eligible         eligible expenses for the rest of the
                               expenses in full for the rest of the        calendar year
                               calendar year                               Pharmacy costs are included
                             • Pharmacy costs are not inc uded


      FAMILY                   The family out-of-pocket limit is reached   The family out-of-pocket limit is met
                               when any combination of covered             through any combination of eligible
                               persons meet the out-of-pocket limit        expenses incurred by you and your
                               No individual can contribute more than      covered dependents
                               the individual amount                       Once met, the plan fully covers all
                               Once met, medical copays and                subsequent eligible expenses for all
                               coinsurance end and the plan picks up       covered family members for the rest of
                               subsequent eligible expenses in full for    the calendar year
                               all covered family members for the rest     Pharmacy costs are included
                               of the calendar year
                             • Pharmacy costs are not included




    COINSURANCE
    Coinsurance begins for an individual or a family once the annual deductible for that person or
    family is met. Coinsurance indicates that the Medical Plan will begin to share eligible expenses that
    you've been paying in full. The percentage of coinsurance — that is, how much the plan pays versus
    you —varies among the Medical Plan's options and whether care is being delivered in- or out-of-
    network. Coinsurance continues for a person or a family until the respective out-of-pocket limit is
    reached. (To compare coinsurance among the options, refer to the "Benefit Overview" earlier in this
    section of the SPD.)

    Two things to know about coinsurance:

     When you use the network, you and the plan each pay a percentage of the negotiated network
     rate. There will be no balance due from you in addition to your share of the negotiated rate
     When you go out-of-network, you might have a balance due after the plan pays its share of an
     expense. This would occur if your out-of-network provider charges more than Cigna's maximum
     reimbursable charge (MRC) for a service or supply.


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      MAXIMUM REIMBURSABLE CHARGE
     Cigna's out-of-network coinsurance payments take into account what is ordinarily paid for a
     service or supply in the area where it is delivered. This maximum reimbursable charge (MRC) is
     used as the basis for determining the plan's share of most out-of-network payments. Here's how
     this works:

       If an out-of-network provider charges less than the MRC for services delivered to you,
       coinsurance will be based on that lower amount
       If an out-of-network provider charges in excess of the MRC, the plan's reimbursement will be
       based on the MRC and you will owe your percentage of coinsurance plus whatever balance is
       due the provider.

     Here's an example. Let's assume your out-of-network coinsurance provides 60% of the MRC and
     you are responsible to pay the balance.

       Cigna's MRC for a specific service is $200; your out-of-network physician charges are $300
       The plan will pay 60% of the MRC or $120 (60% x $200 MRC)
       You will pay the remaining 40% of the MRC or $80 (40% x $200 MRC) PLUS the $100 balance
       billed by your provider over the MRC ($300 - $200)
       You will pay a total of $180 of the $300 expense ($80 + $100).

     Any amounts that you pay over the MRC are not considered eligible expenses and do not apply
     to your deductible or out-of-pocket limit. In this example, the $80 is considered eligible for the
     deductible and out-of-pocket limit, but the $100 is not.

     COPAYS
     Copays are set dollar amounts you pay for specific types of care under the OAP. There are also
     copays for pharmacy purchases under the OAP and after the dedictible is met under the CDHP.
     Once you make your copay for a medical service, you will not receive any other charge for that
     service. The plan picks up whatever balance is due for your care.

    In the OAP, in-network copays apply to several types of medical care including the most used
    service — physician's office visits. Out-of-network copays only apply to urgent and emergency
    care. Copays continue until an individual or family meets its respective annual out-of-pocket limit,
    after which copays would not be required for the rest of the calendar year. (Pharmacy copays
    under the OAP plan are an exception to this). (Refer to the "Benefit Overview" earlier in this
    section of the SPD to see when copays are typically charged.)

    Two more things to know about copays:

      They do not count toward the annual deductible but
      They do apply to the annual out-of-pocket limit.




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  PAYING YOUR SHARE
     Generally, when you seek a healthcare service, you will be responsible to pay costs such as your
    copays, expenses up to the deductible and coinsurance amounts. You can choose to pay these
    expenses on an after-tax basis or you can do some preplanning and put aside money on a pretax
     basis to put toward your healthcare bills. There are two different types of accounts to which you may
    be eligible to contribute in order to pay qualifying healthcare expenses on a tax-free basis. Tax law
    regulates both. One is the Healthcare Flexible Spending Account (FSA), that's maintained by Harris,
    and that account can be used along with any of the OAPs. The other is the Health Savings Account
    (HSA), that's maintained by a third-party trustee or custodian, and that is only available to qualifying
    individuals who are enrolled in a CDHP.

    Healthcare FSAs — A Healthcare FSA lets you set aside pretax money in a calendar year for eligible
    healthcare expenses incurred during that year. If you haven't exhausted your Healthcare FSA by year-
    end, you will forfeit it. If you want to participate in a Healthcare FSA, you must actively enroll each year
    and choose your contribution level. (See the separate "Flexible Spending Accounts" SPD.)

    HSA — Briefly, an HSA lets you set aside pretax money in a calendar year for eligible healthcare
    expenses incurred during that year and future years. (See "More about Health Savings Accounts
    (HSAs)" on the next page for details.)




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          MORE ABOUT HEALTH SAVINGS ACCOUNTS (HSAS)
          An HSA is an individual account that qualifying individuals can establish to pay for eligible healthcare
          expenses on a tax-free basis. In order to contribute to an HSA, you must meet the following
          requirements:

            Participate in a high-deductible health plan, such as the CDHP options
            Not have other health coverage (under a Harris plan or a plan of your spouse) except as permitted
            by IRS guidelines. For example, you will not be eligible to participate in the HSA for a calendar year if
            you have elected the Healthcare FSA for that year
            Not enrolled in Medicare
          • Not claimed as a dependent on someone's tax return

          Unlike the Healthcare FSA, amounts contributed to an HSA are not forfeitable and may be carried over
          from year to year to pay future expenses (including retiree healthcare). Earnings and distributions for
          permissible healthcare expenses are tax-free (distributions for non-health reasons are permitted but
          may be subject to income and excise taxes). Thus, HSAs potentially offer three types of tax savings:
          tax-free contributions, tax-free earnings and tax-free distributions. Your annual contributions (which
          may be made by you, Harris or others or by a combination of you, Harris and others) are subject to
          certain legal limits. For example, if you become eligible midyear, under certain circumstances, you
          may not be eligible to make the maximum annual contribution for that year that otherwise would have
          been legally permissible. In addition, if you become eligible for the HSA after December 1, you will not
          be entitled to receive a contribution by Harris to your HSA for that calendar year, if any.

         You are not required to contribute to an HSA if you participate in a CDHP. If you choose to enroll, you
         may do so at any time. Unlike the Healthcare FSA, you are not limited to enrolling and making changes
         only when you are hired, during annual open enrollment or when certain life change events occur.
         Your HSA election will lapse at the end of each calendar year, so you must make a new election each
         year to continue participation. You may make or change an election by going to My Benefits Portal. By
         electing to have an amount credited to the HSA, you are certifying that you are eligible to make
         contributions to the HSA and that the amount elected does not exceed legal limits. You are
         required to notify Harris immediately should this certification become inaccurate.

         The HSA is not a benefit plan sponsored by Harris and is not subject to ERISA; rather, it is a funding
         vehicle maintained by a third-party trustee or custodian, HSA Bank, that Harris has assisted you to
         establish. Participation in the HSA is subject to the terms and conditions of the agreement between
         you and HSA Bank and you are responsible for managing your HSA.

         The eligibility and other rules governing HSAs are complex, and this summary does not include
         all the information you may need to consider in connection with HSA participation. For additional
         information, refer to IRS Publication 969 available at www.irs.gov. You also may wish to consult your
         personal tax advisor.




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  ACCESSING CARE
     You have direct access to both in-network and out-of-network care through the OAP and CDHP
     options. There are, however, certain services that require precertification before they are
     incurred in order for benefits to be paid. Through precertification, you can keep your costs in
     check, avoid unnecessary care and have the support of a team of healthcare professionals.

     PRECERTIFICATION
     Responsibility for precertification varies between in- and out-of-network care:

       In-network —    Your phys'cian is responsible for getting the precertification
       Out-of-network —    You are responsible for obtaining the precertification. Without
       precertification when needed, your coverage will be reduced or denied.



           1-10W TO REQUEST PRECERTIFICATION FOR OUT                                CARE

             Call the number on the back of your Cigna ID card and
           • Be prepared to give the Cigna representative the following information:

                         ) Name of your physician and/or the facility in which the care will be delivered
                         ) Procedure or procedure code
                           Proposed date of service.




     Use the following list as a guideline fo the types of services requiring precertification. Other
     services may also Iequire precertification. Please check with Cigna if you are 'n doubt.


       INPATIENT SERVICES                                       OUTPATIENT SERVICES
        • All inpatient admissions and non-obstetric             • Certain outpatient surgical procedures
          observation stays such as:                             • High-tech radiology (MPI, CT scans, PET scans)
                   > Acute-care hospitals                          Injectable drugs (other than self-injectable)
                 » Skilled nursing facilities                      Durable medical equipment (insu.in pumps,
                  > Rehabilitation facilities                      specialty wheelchairs, etc.)
                 » Long-term acute care facilities                Home healthcare/home infusion the apy
                 » Hospice care                                   Dialysis (to direct to a participating facility)
                 » Transfers between inpatient facilities         External prosthetic appliances
         Experimental and investigational procedures              Speech therapy
         Maternity stays longer than 48 hours (vaginal            Diagnostic cardiology
          delivery) or 96 hours (Cesarean sect'on)                Pacra ion therapy




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      INPATIENT SERVICES
      All hospital stays require precertification, other than maternity stays that fall within mandated
      limits. Ordinarily precertification specifies an approved period of hospitalization. You are always
      free to leave the hospital before the approved number of days; however, you cannot extend your
      hospital stay without the extra time being preapproved. This is called a "continued stay review."
      Both the precertification and continued stay review processes are managed by an independent
      review board.

     If you go out-of-network, you must acquire precertification of hospitalization prior to the
     hospital admission. In the event of an emergency admission, you have 48 hours to notify Cigna.
     If precertification is not received, the first $750 in eligible hospital charges per admission will be
     disallowed. Bed and board and any hospital services for days in excess of the approved number will
     not be reimbursable under the plan; neither will any hospital charges for care that is not certified as
     medically necessary.

      OUTPATIENT SERVICES
     Outpatient precertification verifies the medical necessity of outpatient diagnostic testing and
     certain outpatient procedures delivered in a physician's office, freestanding surgical facility or other
     healthcare facility. Care should be precertified at least 4 working days before it is received. The first
     $750 in covered expenses will be excluded without precertification and no expenses will be paid if
     the outpatient service is determined not to be medically necessary.

     INTEGRATED PERSONAL HEALTH TEAM (IPHT)
     Cigna plan participants have access to the IPHT — a dedicated team of health specialists including
     nurses, health coaches, dieticians, clinicians and counselors — who can help you find solutions
     aimed at your health and well-being.

     The IPHT's personalized services are provided at no cost to you. All interactions are confidential.

     The IPHT welcomes your call when you have questions about your health or your healthcare. The
     team is prepared to provide support to help you meet goals and manage conditions that you might
     have. Among the reasons you may want to contact the IPHT or they may contact you through
     outbound calls are to:

       Identify stress triggers and better cope with and reduce stress
       Maintain good eating habits, and manage or lose weight
       Quit tobacco use and receive over-the-counter nicotine replacement therapy
       Manage chronic health conditions such as coronary artery disease, asthma, osteoarthritis,
       depression
     • Improve work/life balance, and resolve life's day-to-day challenges with benefits like counseling
       referrals and assistance finding resources from pet care to senior housing
     • Ask for medical treatment guidance
     • Work toward resolving mental health issues, substance use and emergency crises




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      Get help coordinating care and accessing information about treatment options suited to your personal
      preferences or
      Get answers to questions about your benefits and finding your way through the healthcare system.

     Reach the IPHT at 1.855.774.4547 or go to mycigna.com.

    CASE MANAGEMENT
    Acute care is short-term treatment most often received after a severe injury or episode of illness, an
    urgent medical condition or recovery from surgery. Plan participants have access to "case management"
    services beyond the time care is received 'n an acute setting.

    The goal of case management is to ensure that the patient receives appropriate care in the most
    effective setting possible whether at home, as an outpatient, or an inpatient in a hospital or specialized
    facility. Case managers work with the patient, his or her family and attending physician to determine
    appropriate treatment options that best meet the patient's needs and keep costs manageable. The case
    manager will also help coordinate the treatment program, arrange for necessary resources and answer
    questions and provide ongoing support for the family in times of medical crisis.

    Case managers are registered nurses (RNs) and other credentialed healthcare professionals, each
    trained in a clinical specialty area such as trauma, high risk pregnancy and neonates, oncology, mental
    health, rehabilitation or general medicine and surgery. The appropriate case manager is matched up
    with each patient in need of case management support. Case managers are supported by a panel of
    physician advisors for ongoing guidance on the latest treatment alternatives and technological advances.

    Case management can be reached through the phone number on your medical ID card. Please note:
    even when case managers provide coordination and recommendations, the patient's attending physician
    is always responsible for the actual medical care.




         PRIMARY CARE PHYSICIANS
         The plan does not require that you select a primary care physician, although there is value in having a
         professional to assist with healthcare decisions and services. Each enrolled person can designate his/
         her own primary care physician, or may elect not to do so. You can change primary care physicians
         through Cigna member services. Refer to the provider listing for available physicians.

        Note about Harris Family Medical Center (HFMC) physicians — HFMC physicians have a
        contractual agreement with HFMC that prohibits them from seeing their HFMC patients for 2 years,
        should they leave the HFMC. This means that you would not be able to continue to seek care from that
        departing physician until the 2 years has elapsed. Should you have any questions, contact HFMC at
        321.726.1600.




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       THE PATH TO CARE — OAP


                               IN-NnWORK is the YOU CAN GO TO ANY PROVIDER IN . --
                           !    ThiE Ci              EN Acc EU PLUS (OAP)                          OR
                       a                                         a
        PREVENTIVE SERVICES:                    OFFICE VISITS:                             OTHER SERVICES:
        pays 100% for certain care, no          copays required; no deductible             you pay negotiated fees up to the IN
        deductible applied                      applied                                    annual deductible



                                                Pay out-of-pocket or, if elected, use your l-lea thcare FSA throughout the year



                   IN-NETWORK                     Your copays continue even                Meet your annua' IN deductible
                    PROVIDERS                     though you've met your IN annual         and your IN co'nsurance begins
                                                  deductible                               Reach your IN out-of-pocket
                    SUBMIT ALL
                                                • Your copays end for the rest of the      limit and the plan pays 100% of
                    CLAIMS FOR
                                                 calendar year once you meet the IN        subsequent IN expenses 'n the
                        YOU!                     annual out-of-pocket imit                 calendar year
                                                                                           IN expenses count toward the
                                                                                           IN annual deductible and out-of-
                                                                                           pocket limit

                     OUT-OF-NETWORK (00% YOU CAN GO                                  •••      .•
                       PROVIDER BUT AT A HIGHER COST THAN A NETWORK PROVIDER


        ALL SERVICES: you can go to any provider but without the benefit of network rates


        Pay out-of-pocket or, if elected, use your Healthcare FSA throu bout the e



                                                 Your OON expenses apply to both your IN and OON annual deductibles
                                                and out-of-pocket limits. This means that coinsurance and 100% coverage
                                                will begin for you sooner IN rather than OON, even if you haven't been using
                  USUALLY, YOU                  the network. This is designed to encourage you to use the network
                    MUST FILE                    f you choose to stay OON, coinsurance begins once you meet your OON
                    YOUR OWN                    annual deductible. Coinsurance is based on Cigna's maximum reimbursable
                                                charges (MRC) that may be lower than what your provider charges. If so, you
                  OON CLAIMS.
                                                owe the balance to your provider. The same holds true if you reach the OON
                                                out-of-pocket limit. You will always owe your provider amounts in excess of
                                                the MRC




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      THE PATH TO CARE — CDHP


                             N•14ETWORK (N): YOU CAN GO TO ANY PROVIDER I
                                    -CIGNA OPEN ACCESS PLUS (OAP) NETWOR.


       PREVENTIVE SERVICES:                                      OTHER SERVICES:
       pays 100% for certain care, no deductible                 you cover the cost of your healthcare up to the high
                                                                 deductible. (You benefit from i egotiated IN sates)



                                                                  Use your Health Savings Account (I-ISA) to meet your
                                                                  expenses or pay out-of-pocket. Your remaining I-ISA
                                                                  funds accumulate in your account for future healthcare
                           IN-NETWORK                             needs

                            PROVIDERS
                            SUBMIT ALL
                                                                • Meet your annual IN deductible and your IN
                           CLAIMS FOR
                                                                  coinsurance kicks in
                               YOU!                             • Reach your IN out-of-pocket limit and the plan pays
                                                                  100% of subsequent IN expenses in the calendar year
                                                                • IN expenses count toward the IN annual deductible and
                                                                  out-of-pocket limit

                       OUT-OF-NETWORK COON): YOU CAN GO TO ANY PROVIDER
                       BUT AT A HIGHER COST THAN A CIGNA NETWORK PROVIDER


      ALL SERVICES: you pay full costs up to the deductible (00N costs and deductibles are higher than in-network)



       .se your HSA to meet your expenses or pay out-of-po6et



                                                                • Your OON expenses apply to your IN and OON annual
                                                                  deductibles and out-of-pocket limits. This means that
                                                                  coinsurance and 100% coverage will begin for you
                                                                  sooner IN than 00N, even if you haven't been using the
                                                                  network. This is designed to encourage you to use the
                          USUALLY, YOU                            network
                            MUST FILE                           • If you choose to stay 00N, coinsurance begins once
                            YOUR OWN                              you meet your OON annual deductible. Coinsurance is
                          OON CLAIMS.                             based on Cigna's maximum reimbursable charge (MRC)
                                                                that may be lower than what your provider charges. If so,
                                                                you owe the balance to your provider. The same holds
                                                                true if you reach the OON out-of-pocket limit. You will
                                                                always owe your provider amounts in excess of the MRC




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       SPECIAL RESOURCES
       BEST DOCTORS PROGRAM
      As a Harris Medical Plan participant, you have access to Best Doctors, a program that can help you make
      more informed medical decisions with the assistance of a "best doctor," selected by their peers.
      Through Best Doctors, you can request an in-depth medical review of your case, get expert advice
      about a health challenge, medical issue or treatment or find a best doctor near you. These services
      are provided to you at no cost.

      Best Doctors is not part of your Medical Plan, even though the physicians will most likely be affiliated
      with your network. This means that you must contact your Medical Plan to confirm coverage before
      proceeding with any recommendations! You can reach Best Doctors at 1.866.904.0910, business
      days, or at https://members.bestdoct r om/.


      MDLIVE
      In addition to traditional office visits, employees and their family members, who are enrolled in a
      Cigna medical option, have access to MDLIVE. If you choose to use MDLIVE, you can access non-
      emergency medical attention electronically or by phone—usually within 20 minutes of your request
      for service. MDLIVE is a telemedicine alternative that offers access to Board Certified, credentialed
      primary care physicians and pediatricians, who are licensed in your state and able to treat a broad
      range of non-emergency conditions. MDLIVE virtual office visits are available 24/7/365 from your
      smart phone, phone, tablet or computer. The chart lists the cost of a virtual office visit through
      MDLIVE.


                                              COST TO USE
                                                         CDHP                        OAP
                   How much you pay
                   Before deductible is met    Up to $38/visit           $25/visit
                   After deductible is met     20% (up to $7.6o)/visit   $25/visit




      Before using MDLIVE, be sure to register at mdlive.com/harris or call a Health Service Specialist
      at 1.888.726.3171. In addition to registration, both the website and representative can provide
      additional information on using MDLIVE. As part of the registration process, you'll complete an
      electronic medical history to provide background to your MDLIVE physicians. You'll also be given the
      opportunity to register your eligible dependents.




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  WHAT IS COVERED
    The medical component of the Medical Plan covers eligible healthcare services and supplies as
    determined by the claim administrator. In making this determination, the claim administrator
    assesses whether a service in type, frequency and duration is consistent with standards
    developed from the scientifically based guidelines of national medical, research and health
    care organizations or governmental agencies. These standards are developed, in part, with
    consideration as to whether the service meets al of the following:

      It is necessary to meet the basic health needs of the participant and is appropriate and
      required for the diagnosis or treatment of the particular condition
    • It is required for reasons other than the convenience of the participant or his/her physician
      It is furnished in the most cost-efficient manner and type of medical care setting appropriate
      for the delivery of the service or supply
    • It has been shown to be safe and effective for treating or diagnosing the condition for which
      its use is proposed, according to prevailing peer-reviewed medical literature. Or, alternatively,
      it has been found safe with promising efficacy in treating a life-threatening condition and it
      is delivered in a clinically controlled research setting using research protocols that meet the
      standards of the National Institutes of Health.

    The fact that a physician has performed or prescribed a procedure or treatment or the fact that
    it may be the only treatment for a particular condition does not mean that it will be considered
    a covered health service under the plan.


         PHYSICIANS AND OTHER PROVIDERS
         The plan pays benefits for the services of licensed physicians working within the scope of their license,
         therapists working under the direction of licensed physicians or duly licensed podiatrists, dentists,
         psychoanalysts, chiropractors or other providers (e.g., physician assistants) who act within the scope
         of their licenses. The latter group of providers will be considered on the same basis as physicians.
         Professional nursing services are covered (unless the nurse is a family member). Please note: even if
         a provider is considered as such by the plan, the service being rendered must also be covered by the
         plan for it to be reimbursable.




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   COVERED SERVICES                    QUICK LOOK UP


         acupuncture                              27   mammograms (diagnostic)                      38
         advanced imaging                         38   mammograms (preventive)                      28
         ambulance                                30   maternity                                    39
         bereavement counseling                   41   mental health                                33
         cancer clinical trials                   46   nutritional evaluation                       27
         cardiac rehabilitation                   29   office visits                                27
         chemotherapy                             38   oral surgery                                 44
         chiropractic care                        27   organ transplants                            45
         dental services                          44   orthotics                                    43
         durable medical equipment                42   outpatient services and facilities           29
         emergency care                           30   pharmacy                                     34
         family planning                          39   preventive care                              28
         foot care                                27   prosthetics                                  42
         genetic testing                          39   radiation                                    38
         hearing aids                         42       radiology                                    38
         home healthcare                      41       reconstructive surgery after                 32
                                                       mastectomy
         hospice care                         41
                                                       short-term rehabilitation                    29
         infertility                          39
                                                       skilled nursing, acute care,                 41
         inpatient services and facilities    31
                                                       rehabilitation facilities
         laboratory services                  38
                                                       substance abuse care                         33
        LIFESOURCE                            45
                                                       urgent care                                  30
        mail-order prescriptions              35
                                                       x-rays                                       37




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     OFFICE VISITS - PHYSICIANS AND OTHER PROVIDERS


                                               OAP 3, 4 1                            CDHP 1                             CDHP 2
        COVERED SERVICE 41
                                          IN             OON 3                                OON                                 00N 3
      Primary care office visit'    $25 copay         Plan: 60% or      Plan: 80%         Plan: 60% of      Plan: 70%         Plan: 50% of
                                                      MRC               You: 20°o         MRC               You: 30%          MRC
                                                      You: balance                        You: balance                        You: balance
      Specialist office visit       $40 copay         Plan: 60% of      Plan: 800.        Plan: 60% of      Plan: 70%         Plan: 50% of
                                                      MRC               You: 20%          MRC               You: 30°o         MRC
                                                      You: balance                        You: balance                        You: balance
      Second opinions              Visit copay"      Plan: 60°. of      Plan: 800.        Plan: 60% of      Plan: 70%         Plan: 50% of
                                                     MRC                You: 20%          MRC               You: 30°.         MRC
                                                     You: balance                         You: balance                        You: balance
     Surgery in a physician's      Visit copay"      Plan: 600. of      Plan: 80%         Plan: 60% of      Plan: 70%         Plan: 50°. of
     office                                          MRC                You: 20%          MRC               You: 30%          MRC
                                                     You: balance                         You: balance                        You: balance
     Chiropractic care             $40 copay         Plan: 60°. of     Plan: 80%          Plan: 60% of      Plan: 70%         Plan: 50% of
                                                     MRC               You: 20%           MRC               You: 30%          MRC
                                                     You: balance                         You: balance                        You: balance
     Acupuncture                   $40 copay         Plan: 60% of      Plan: 80%         Plan: 60% of       Plan: 70%         Plan: 50% of
                                                     MRC               You: 20°o         MRC                You: 30%          MRC
                                                     You: balance                        You: balance                         You: balance
     Foot care (non-routine)       $40 copay         Plan: 60°. of     Plan: 80°.        Plan: 60% of      Plan: 7000         Plan: 50% of
                                                     MRC               You: 20%          MRC               You: 30%           MRC
                                                     You: balance                        You: balance                         You: balance
     Nutritional evaluation        Visit copay3•"    Plan: 6000 of     Plan: 80%         Plan: 600. of     Plan: 70%         Plan: 50% of
                                                     MRC               You: 20%          MRC               You: 30%          MRC
                                                     You: balance                        You: balance                        You: balance

    1. Benefit levels for OAPs 3 and 4 are the same. Their deductibles, out-of-pocket lim'ts and premiums d'ffer.
    2. Virtual office visits through MDLIVE cost the following: Under either OAP, $25/visit copay; under either CDHP, up to a $38/visit until
       the deductible Is met and up to $7.60/visit after the deductible has been met. Registration is required through mdlive.com/harrls or
       1.888.726.3171.
    3. Coinsurance begins after the deductible has been met. In-network benefits are based on lower, negotiated network rates. There will never
       be balance billing. Out-of-network benefits are based on maximum reimbursable charges (MRC). You must pay any balance over the MRC.
    4. Your copay will depend on whether a primary care physician or specialist is providing the care. The copay for a primary care physician is
       $25, and it is $40 for a specialist.




    Chiropractic care                   Coverage includes manipulations and associated modalit'es up to 20 visits in a calendar
                                        year. Eligible chiropractic treatment is considered specialist's care. (For limits and
                                        exclusions, see "What's Not Covered" later in this sect'on of the SPD.)
    Acupuncture                         Coverage maximum is 20 days per calendar year
    Foot care                          Coverage only for foot care associated with &abates and periphera vascu ar disease

    Nutritional evaluation             Coverage for up to 3 visits annual y

    Harris Family Medical              Coverage for OAP and CDHP options differs. For the OAPs, $15 copay for primary care
    Center                             visits and $40 for specialist visits. For CDHP 1, 80% once the deductible has been met.
                                       For CDHP 2, 70°o once the deductible has been met




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      PREVENTIVE CARE

                                              OAP 3, 4 1                        CDHP 1                             CDHP 2
        COVERED SERVICE 4:0
                                         IN           OON                  IN         OON                     IN         OON
       Preventive care visit       No charge        No benefit      ' No charge       No benefit        No charge        No benefit

       Immunizations               No charge        No benefit       No charge        No benefit        No charge        No benefit

      Mammograms, PAP,             No charge        Plan: 60% of     No charge        Plan: 60% of      No charge        Plan: 50% of
      PSA (routine preventive                       MRC                               MRC                                MRC
      care)                                         You: balance'                     You: balance'                      You: balance'

      1.Benefit levels for OAPs 3 and 4 are the same. Their deductibles, out-of-pocket limits and premiums differ.
      2.Coinsurance begins after the deductible has been met. Out-of-network benefits are based on maximum reimbursable charges (MRC).
        You must pay any balance over the MRC.




      Preventive care                    Coverage for eligible well-baby, well-child, well-woman and adult preventive care if you
                                         use a network provider and there is no prior diagnosis for a related condition. Refer
                                         to mycigna.com for the most-current listing of covered services before accessing care.
                                         Certain medications may be covered under the pharmacy plan. Contact Express Scripts
                                         for the most current listing of covered prescriptions.
                                         Also covered as part of the preventive care benefit are additional services delivered as a
                                         supplement to standard preventive care, such as a urinalys's, EKG and certain laboratory
                                         tests
                                         Not included are other services provided or ordered during a preventive care visit that
                                         do not directly relate to allowable preventive services




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     OUTPATIENT SERVICES AND FACILITIES


                                             OAP 3,4 1                         CDHP1                                CDHP 2
       COVERED SERVICE 4>

     Professional services
                                 MI=
                                   Plan: 80%
                                                        OON 2
                                                     Plan: 60% of
                                                                            IN
                                                                       Plan: 8o%
                                                                                   OON 2
                                                                                        Plan: 60% of
                                                                                                               IN I
                                                                                                          Plan: 70%
                                                                                                                           OON 2
                                                                                                                      I Plan: 5o% of
      Surgeons                     You: 20%'         MRC               You: 20%         MRC                You: 30%         MRC
      Radiologists                                   You: balance                       You: balance                        You: balance
      Pathologists
      Anesthesiologists


     Short-term                    $40 copay        Plan: 60 o of     Plan: 80%         Plan: 6000 of     Plan: 70%         Plan: 50% of
     rehabilitation3                                MRC               You: 20%          MRC               You: 30°o         MRC
                                                    You: balance                        You: ba ante                        You: balance
     Cardiac rehabilitation        $40 copay        Plan: 60 0 of     Plan: 80%         Plan: 6000 of     Plan: 70%         Plan: 50% of
                                                    MRC               You: 20%          MRC               You: 30%          MRC
                                                    You: balance                        You: balance                        You: balance
     Outpatient services/         Plan: 80.0        Plan: 6000 of     Plan: 80%         Plan: 6o% of      Plan: 70%         Plan: 50% of
     facilities and               YOU: 20 /o'       MRC               You: 20%          MRC               You: 3o%          MRC
     chemotherapy                                   You: balance                        You: balance                        You: balance
       Operating room
     • Recovery room
     • Procedures room
     • Treatment room
     • Observation room

    1.Benefit levels for OAPs 3 and 4 are the same. Their deductibles, out-of-pocket limits and premiums differ.
    2.Coinsurance begins after the deductible has been met. In-network benefits are based on lower, negotiated network rates. There will never
       be balance billing. Out-of-network benefits are based on maximum reimbursable charges (MRC). You must pay any balance over the MRC.
    3. Applicable outpatient short-term rehabilitat've therapy copay applies regardless of where the service is rendered, including the home.




    Short-term rehabilitation           Coverage for a combined annual maximum of 6o days' treatment for all types of covered
                                        rehabilitation. Services must be provided as part of a rehabilitation program ;n a
                                        medically appropriate setting
                                        Coverage includes physical therapy, speech therapy, cognitive therapy, osteopathic
                                        manipulation and pulmonary rehabilitation
                                        Coverage for occupational therapy is only covered if it is for the purpose of enabling you
                                        to perform the activities of daily living after an illness or injury
                                        If you have multiple outpatient services performed in the course of a day, this will still
                                        be considered 1day's treatment; however, a separate copay will apply to each service
                                        provider
    Cardiac rehabilitation              Coverage for up to 36 days of services in a year
                                        Coverage includes a comprehensive program of medical evaluation, supervised and
                                        electrocardiograph-monitored exercise, patient education, nutritional counseling and
                                        cardiac risk factor modification with the goal of improving the capacity for physical
                                        activity following an acute cardiac event or su gery. The programs are designed to limit
                                        the physiological and psychological effects of cardiac illness, control cardiac symptoms,
                                        and stabilize or reverse atherosclerotic heart disease with the ultimate goal of reducing
                                        morbidity and mortality
                                        Coverage for Phase I cardiac rehabi Iation that includes outpatient services involving
                                        supervised exercise and continuous telemetry monitoring




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     EMERGENCY AND URGENT CARE

                                              OAP 3, 4 1                                  CDHP1                           CDHP 2
        COVERED SERVICE p
                                   PPM=                    OON                  1   13i        00N 3                                00N 3
      Emergency care

      At physician's office         Visit copay'                         Plan: 80%; You: 20%                  Plan: 70%; You: 30%

      At emergency room             $150/visit copay                     Plan: 80%; You: 20%                  Plan: 70%; You: 30%

      Ambulance                     Plan: 80%; You: 20%3                 Plan: 80%; You: 20%                  Plan: 70%; You: 30%

      Urgent care

      At physician's office         Visit copay                          Plan: 80%; You: 20%                  Plan: 70%; You: 30%

      At urgent care center         $25                                  Plan: 80%; You: 20%                  Plan: 70%; You: 30%

      Advanced radiology            P an: 100%                           Plan: 80%; You: 20%                  P an: 70%; You: 30%

      . Benef't levels fo OAPs 3 and 4 are the same. Their deductibles, out-of-pocket limits and premiums differ.
     2. Your copay will depend on whether a primary care physician or specialist is providing the care. The copay for a primary care doctor is $25.
        t is $40 for a specialist.
     3. Coinsura ce b gins after t e deductible has been met. Benefits are based on maximum reimbursable charges (MRC).




     Emergency room care                  Coverage for all professional services (physicians, racrologist, pathologist, etc.), including
                                          diagnostic testing
                                          The $150 copay is waived if you are admitted to the hospital
                                          Coverage for emergency hospital admissions is paid on the same basis as any hospial
                                          admission and requires authorization from Cigna within 48 hours of admission
     Urgent care center                   Coverage for all professional services required during an urgent care visit

     Business Travel Medical              Additional coverage for emergency medical care when traveling on business outside
                                          your home country. (See "Business Travel Medical Plan" later in this section of the SPD.)




           DECIDING WHERE TO Go FOR CARE
           If you have an unplanned medica situation that needs to be addressed right away, you have several
           options for care under Cigna. Depending on the circumstances and your physician's availability, you
           may be able to get care in an office setting. However, it's 'ust as likely that you w'll see < care in ether a
           hospital emergency room or in an urgent care center.

           Both types of facilities a e staffed to handle emergent situations — but on different levels. For example:

           • If you have symptoms of sufficient severity (e.g., pain or injury, blood loss) that you feel you require
             immediate medical attention or your health could be in jeopardy, seek care at the nearest hospital
             emergency room
           • If an unforeseen medical problem requires prompt attention but is not life threatening (e.g., a sprain,
             a high fever, earache), you might consider urgent care. Urgent care also costs you less and ordinarily
             takes ess time than going to the emergency room.

           When it comes down to it, even though you are not a medical professional, your personal judgment
           about, and comfort with, an emergency situation will determine where you seek care. Depending on
           the circumstances, you might want to reach out to your physician or the nurse help line for guidance.
           Whatever the case, don't delay getting the medical care you think you need.




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    INPATIENT SERVICES AND FACILITIES

                                             OAP3,4 1
       COVERED SERVIcE.

     Professional services
                                  rPlan: 80%
                                                         00N
                                                     Plan: 60% of      Plan: 80%         Plan: 60% of      Plan: 70%         Plan: 50% of
      Surgeons                     You: 20%          MRC               You: 20%          MRC               You: 30%          MRC
      Radiologists                                   You: balance                        You: balance                        You: ba ance
      Pathologists
      Anesthesiologists
      Physician visits and
      consultations
     Facility charges              Plan: 80%         Plan: 60% of      Plan: 80%         Plan: 60% of      Plan: 70%       ! Plan: 50% of
      Operating room               You: 20%          MRC               You: 20%          MRC               You: 30%        1 MRC
      Recovery room                                  You: balance                        You: balance                       You: balance
      Procedures room
      Treatment room
      Observat'on room
     Inpatient bed and board Plan: 800.              Plan: 60% of      Plan: 80%         Plan: 600. of     Plan: 70%        Plan: 50% of
                             You: 20%                room rate         You: 20%          room rate         You: 30°0        room rate
                                                     You: balance                        You: ba ance                       You: balance
     Special care units           Plan: 80%        , Plan: 60% of      Plan: 8o%         Plan: 60% of      Plan: 70%        Pan: 50% of
      Intensive Care Unit         You: 20%           room rate         You: 20%          room rate         You: 30%         room rate
      (ICU)                                          You: balance                        You: balance                       You: balance
      Critical Care Un't
      (CCU)

    Multiple surgical             Multiple surgeries performed during one operating session result in a payment reduction
    reduction                     of 50% to the surgery of lesser charge. The more expensive procedure is paid as any other
                                  surgery, that is with no reduction

    1. Benefit levels for OAPs 3 and 4 are the same. Their deductibles, out-of-poc et mits and premiums differ.
    2. Coinsurance begins after the deductible has been met. In-network benefits are based on lower, negotiated network rates.
      There will never be balance billing. Out-of-network benefits are based on maximum reimbursable charges (MRC).




    Precertification                   • Inpatient admissions require precertification other than obstetric admissions lasting less
                                         than 48 hours for a vaginal delivery or 96 hours for a cesarean section
                                       • Emergency admissions must be authorized within 48 hours or benefits will be reduced.
                                         (See "Accessing Care" earlier in this section of the SPD.)
    Professional and other             Coverage includes charges for surgeons, anesthesiologists and anesthesia, radiologists
    services                           and radiological testing, nursing, blood transfusions, laboratory testing, required therapy,
                                       oxygen and other gases
    Inpatient bed and board             Coverage for a semiprivate room. The cost of in-network bed and board is based on
                                        lower negotiated rates; out-of-network bed and board is based on a non-negotiated rate
                                        Coverage for a private room based on applicable semiprivate rate. You will be
                                        responsible for any balance representing the additional cost of the private room
                                        Coverage excludes 'terns such as the cost of telephone or television service in your
                                        room




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         SPECIAL NOTES ABOUT SPECIFIC SURGICAL PROCEDURES

         Breast reconstruction and breast prostheses — The plan covers charges during all stages of a
         mastectomy and treatment of physical complications including lymphedema. Coverage includes
         reconstructive surgery on the breast on which surgery was performed, surgical services for
         reconstruction of the non-diseased breast to produce symmetrical appearance and postoperative
         breast prostheses. The plan also includes mastectomy bras and external prosthetics, limited to the
         lowest cost alternative available that meets external prosthetic placement needs.

         Orthognathic surgery — The plan provides coverage, assuming certain conditions are met, for
         surgery to repair or correct a severe facial deformity or disfigurement that orthodontics alone cannot
         correct. To be covered there must be one of the following: a documented and significant functional
         impairment that the surgery is expected to meaningfully improve; or the surgery is medically
         necessary as the result of a tumor, trauma or disease or the surgery is being performed on a patient
         prior to age 19 as the result of a severe facial deformity or congenital condition. Repeat surgeries for
         the same condition are covered only when the previous surgery met the before-stated requirements
         and the utilization review physician believes that there is a high probably of potentially significant
         improvement.

         Bariatric surgery — The plan covers bariatric surgery, subject to certain imitations or exclus'ons.
         (See "What's Not Covered" later in this sect'on of the SRN




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     MENTAL HEALTH AND SUBSTANCE ABUSE CARE


                                              OAP3,4 1                              CDHP                                 CDI-IP 2
        COVERED SERVICE 4:›
                                                         00N '        1111111111111111        00N '                              00N'
      Mental health

     Physician's office visit       $40 copay         Plan: 60% of      Plan: 80%         Plan: 60% of       Plan: 70%       Plan: 5o% of
                                                      MPC               You: 20%          MRC                You: 30%        MRC
                                                      You: balance                        You: balance                       You: balance
     Outpatient (includes          Plan: 80%          Plan: 60% of      Plan: 80%         Plan: 6o00 of     Plan: 70%        Plan: 50% of
     individual, group and         You: 20%2          MRC               You: 20%          MRC               You: 30%         MRC
     intensive outpatient)                            You: balance                        You: balance                       You: balance
     Inpatient                     Plan: 80%         Plan: 60% of       Plan: 80%         Plan: 60% of      Plan: 70%        Plan: 50% of
                                   You: 20%2         MRC                You: 20%          MPC               You: 30%         MRC
                                                     You: balance                         You: balance                       You: balance
     Substance abuse

     Physician's office visit      $40 copay         Plan: 600o of      Plan: 80%         Plan: 60% of      Plan: 70%        Plan: 50% of
                                                     MRC                You: 20%          MRC               You: 30%         MRC
                                                     You: balance                         You: balance                       You: balance

     Outpatient (includes          Plan: 8000        Plan: 6000 of     Plan: 8o%          Plan: 60.0 of     Plan: 70%        Plan: 50% of
     individual, group and         You: 20%2         MPC               You: 20%           MRC               You: 30%         MRC
     intensive outpatient)                           You: alance                          You: balance                       You: balance

     Inpatient                     Plan: 8000        Plan: 6000 of     Plan: 80.0        Plan: 6000 of      Plan: 70%        Plan: 50% of
                                   You: 200 2        MRC               You: 20%          MRC                You: 30%         MRC
                                                     You: balance                        You: balance                        You: balance

    1.Benefit levels for OAPs 3 and 4 are the same. Their deductibles, out-of-pocket limits and premiums differ.
    2. Coinsurance begins after the deductible has been met. In-network benefits are based on lower, negotiated network rates. There will never
      be balance billing. Out-of-network benefits are based on maximum reimbursable charges (MRC). You must pay any balance over the MRC.




                                                       4>m
    Precertification                     Inpatient admissions require precertification
                                         Emergency admissions must be authorized within 48 hours or benefits will be reduced
                                         or denied. (See "Accessing Care" earlier in this section of the SPD.)
    Mental health services               Coverage for the treatment of disorders that impair the behavior, emotional reaction
                                         or thought processes. Please note: physiological conditions causing the disorders are
                                         not handled as mental health benefits although they may be covered e sewhere under
                                         the plan
    Outpatient mental health             Coverage includes outpatient treatment of conditions such as anxiety or depression
    care                                 that interfere with daily functioning, emotional adjustment or concerns related to
                                        chronic conditions such as psychosis or depression, emotional reactions associated
                                        with marital problems or divorce, child/adolescent problems of conduct or poor
                                        impulse control, affective disorders, suicidal or homicidal threats or acts, eating
                                        disorders, acute exacerbation of chronic mental health conditions (crisis intervention
                                        and relapse prevention) and outpatient testing and assessment
                                        Coverage includes individual counseling and participation in certified intensive
                                        outpatient therapy programs that provide a combination of individual, family and/or
                                        group therapy in a day, totaling 9 or more hours in a week




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                                                       MARE INFORMA
       Inpatient mental health care   • Coverage includes hospitalization, partial hospitalization and mental health residentia
                                        treatment care
                                      •Partial hospitalization services are those that are provided for not ,ess than 4 hours and
                                       not more than 12 hours in any 24-hour period
                                      •Mental health residential treatment services are provided on a 24-hour basis and must
                                       be delivered by a facility that keeps patients in an open setting and specializes in the
                                       treatment of psychological and social functional disturbances that are the result of
                                       mental health conditions. The program must be supervised by physicians and icensed
                                       in accordance with the laws of the appropriate legally authorized agency as a residentia
                                       treatment center
      Substance abuse services        Coverage for the treatment of patients with a psychological or physical dependence
                                      on alcohol or other mind-altering drugs. Please note: physiological conditions causing
                                      the disorders are not handled as mental health benefits although they may be covered
                                      elsewhere under the plan
      Outpatient substance            Coverage for outpatient rehabilitation including participation in a substance abuse
      abuse rehabilitation            intensive outpatient therapy program. Care includes a combination of individual, family
      services                        and/or group therapy in a day, totaling 9 or more hours in a week
      Inpatient substance abuse        Coverage includes hospitalization, partial hospitalizafon and mental health residential
      rehabilitation services          treatment care
                                       Partial hospitalization services are those that are provided for not less than 4 hours and
                                       not more than 12 hours in any 24-hour period
                                       Substance abuse residential treatment services are provided on a 24-hour basis and
                                       must be delivered by a facility that keeps patients in an open setting and specializes in
                                       the treatment of psychological and social functional disturbances that are the result
                                       of substance abuse conditions. The program must be supervised by physicians and
                                       rcensed in accordance with the laws of the appropriate legally authorized agency as a
                                       residential treatment center
      Substance abuse                 Coverage includes detoxification and related medical anellary services when required
      detoxification services         for the diagnosis and treatment of addiction to alcohol and/or drugs. Cigna will decide,
                                      based on the medical necessity of each situation, whether such services will be provided
                                      in an inpatient or outpatient setting




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     PHARMACY
                                             PHARMACY 1                           PHARMACY 2                           PHARMACY 3
        COVERED SERVICE 4:::*
                                                           OON                                  OON                                     ON
      Access                        Full Express       Non-network         Express          Non-network        Same              Non-network
                                    Scripts            pharmacy            Scripts          pharmacy           network as        pharmacy
                                    pharmacy                               network                             Pharmacy 2
                                    network                                minus                               plus
                                                                           Walgreens                           mandatory
                                                                           and CVS                             mail order for
                                                                                                               maintenance
                                                                                                               drugs'
      In-network 2.3

      Retail network                Generic             You pay t e ful cost up to a $7 maximum
      pharmacy (for up to a         Brand-name           If there is no generic — you pay 20% of network formulary rate ($25
      30-day supply)
                                    drug on               minimum and $75 maximum)
                                    formulary           • If there is a generic — In addition to the 200. coinsurance, you pay the cost
                                                          difference between the brand and generic medication
                                    Brand-name           If there is no generic — you pay 5o% of network rate ($5o minimum and $100
                                    drug not on          maximum)
                                    formulary            If there is a generic — n addition to the 50°° coinsurance, you pay the cost
                                                         difference between the brand and generic medication
     Mail-order prescriptions Generic                   You pay the ful cost up to a $17.50 maximum
     (for up to a 90-day
                              Brand-name                 If there is no generic — you pay 20% of network formulary rate ($62.50
     supply)
                              drug on                    minimum and $187.50 maximum)
     Remember, Pharmacy 3 formulary                      If there is a generic — In addition to the 20% coinsurance, you pay the cost
     must use mail order for                             difference between the brand and generic medication
     maintenance drugs!
                                    Brand-name           If there is no generic you pay 5o% of network rate ($125 minimum and
                                    drug not on          $250 maximum)
                                    formulary            If there is a generic In addition to the 50.0 coinsurance, you pay the cost
                                                         difference between the brand and generic medication
     Out-of-Network2,3
     Retail non-network            Generic            You pay up to $7 plus the difference in cost between the prescr'ption's retail
     pharmacy (for up to a                            cost and the network rate
     30-day supply) 4
                                   Brand-name         You pay 20% of retail price ($25 minimum and $75 maximum) plus the cost
                                   drug on            difference between the brand and generic medication
                                   formulary
                                   Brand-name         You pay 50% of retai price ($50 minimum and $100 maximum) plus the cost
                                   drug not on        difference between the brand and generic medication
                                   formulary
     Mail order                    Not covered
     Pharmacy out-of-pocket        $2,500 individual/$5,000 family each calendar year for OAP participants. The CDI-IPs' out-of-
     limit                         pocket limits take into consideration both medical and pharmacy expenses


     . Certain exceptions apply to this mandatory mail-order provision; i.e., there are items that can't be mailed such as controlled substances.
      Contact Express Scripts to find out if your prescription is an exception.
    2. Plan benefits cover up to a 30-day supply of a prescription. If you are prescribed for fewer days, the same copay or coinsurance applies
      to that prescription. If you need a refill, a new copay and coinsurance apply. You will pay the lower of the cost of the medication or the
      minimum. The same rule governs mail-order 90-day supplies.
    3. Pharmacy reimbursements under the CDHPs do not begin until you meet your CDHP's annual combined med cal and pharmacy deduct'ble.
      (See "Benefit Overivew" previously in this section of the SPD.)
    4. You will pay the ful cost and then fie a claim for reimbursement.


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       Precertification      Prescriptions that generally are not covered (such as growth hormones and medical foods) may be
                             considered as a covered health service 'n certain instances. Your physician or pharmacist must request
                             precertificatioi through Express Scripts at 1.800.753.2851 to determine if the prescription will be covered
                             by the plan
                             If you can't take a generic when one is available, your provider should call the Express Scripts Reviews
                             and Appeals Department to provide answers to any questions and the documentation needed to support
                             that the generic medication has not been successful in your treatment . Express Scripts will make the final
                             determination on this request and, if approved, the brand drug will be provided at the appropriate brand
                             copay
      Pharmacy options      Coverage for the same level of benefits under Pharmacy 1, 2 and 3; only network access and the use of
                            mail order differs
                            Coverage includes medically necessary medications, products or devices that have been prescribed by
                            a physician, dispensed by a licensed pharmacist, approved by the FDA are not considered experimental/
                            investigational and that can, under federal law, be dispensed only by prescription
                            You do not have to meet a deductible before coverage begins except if you are enrolled in a CDHP option
                            Coverage excludes prescriptions used in a physician's office or as an inpatient which may be covered as
                            part of an office visit or inpatient stay
      Retail purchases      Coverage at Express Scripts network pharmacies (in network benefits) or any other pharmacy (out-of-
                            network benefits)
                            Network pharmacy purchases cost less — up to $7 for generics and coinsurance for brands based on lower
                            network rates (or less, 'f the cost of the drug is less than the copay) — and there are no claim forms to file.
                            Just show your ID card at the pharmacy. Out-of-network, you pay at point-of-purchase and file a claim for
                            reimbursement
                            You can a so get prescriptions when you're away from home by contacting Express Scripts for the name of
                            a nearby network pharmacy
                            Prescriptions written by Harris Family Medical Center (HFMC) doctors and filled at the HFMC pharmacy
                            can be filled for 90 days
      Mail-order            Coverage to purchase maintenance drugs in volume at a cost savings through mai -order is offered in
      purchases             network only
                            Mail order is an option for those enrolled in Pharmacy 1and 2. It's use 's required in Pharmacy 3, except for
                            30 day supplies purchased at the HFMC Pharmacy
                            When you enroll in Pharmacy 3, you will be able to purchase 2 maintenance drug refills at a network
                            pharmacy before you will be required to fill your prescription by mail. You will pay 100% of the cost of the
                            drug if you continue to fill at retail
      Diabetic treatment   Coverage for certain OTC diabeec products with a prescrption from your physician inc uding:
                            Insulin
                            Needles/pens
                            Lancets
                            Formulary blood glucose meters (cont'nuous b ood glucose meters are not covered)
                            Formulary test strips
      Family planning      Coverage for certain prescriptions for family planning including:
      prescriptions         Oral contraceptives, patches, rings and injections
                            Fertilly drugs to treat an underlying condition that causes infertility (annual $5,000 maximum)
      Preventive           Certain approved items and services are covered at 100%, primarily based on specified age and gender
      medications          criteria. This includes coverage for FDA-approved tobacco cessation products for adults 18+ years of
                           age for 180 days per year with a physician's prescription. A list of these drugs is available through Express
                           Scripts
     Annual pharmacy       There is an annual pharmacy out-of-pocket limit — $2,500 individual/$5,000 family in pharmacy copays and
     out-of-pocket limit   coinsurance. An individual's pharmacy costs will be suspended for the remainder of the ca endar year 'f
     under the OAP         that person meets his/her annual pharmacy out-of-pocket maximum
     plans                 Amounts other than your copays and coinsurance, such as the out-of-network difference between a drug's
                           retail and network costs, do not apply toward the annual pharmacy out-of-pocket maximum and will not be
                           suspended once that maximum is reached
                           The pharmacy out-of-pocket maximum is separate from the Medical Plan annual out-of-pocket maximum

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     DRUG UTILIZATION MANAGEMENT

     1. Step-Therapy — Drugs for various conditions are categorized as front-line drugs (Step 1) or as
       back-up drugs (Steps 2 and 3). Most people can be safely and effectively treated with a front-line
       drug. These are generics and lower-cost brand-name drugs. In order to move to a Step 2 or 3
       drug, your physician must demonstrate the medical necessity for the back-up drug.

     2. Prior authorization — This program makes sure you're getting a prescription that is suitable for
      the intended use and covered by your pharmacy plan. This means that more information may be
      needed from your physician to see if your plan covers the drug. Only your physician can change
      your prescription or provide Express Scripts with the necessary information about why a certain
      drug is being prescribed. Once enrolled, you can determine if a review is required by accessing
      drug coverage at www.express-scripts.com.

     3. Drug Quantity Management (DQM) — This program helps ensure your safety as well as
      keeps costs in line for you through checking prescriptions for certain medications that are being
      prescribed in larger quantities than recommended by usual prescribing practices and FDA
      guidelines, as well as prescriptions that might be taken in one dose a day vs. several smaller
      doses.




         Px FOR PRESCRIPTION SAVINGS

            Use generic drugs whenever you can. Generics are copies of brand-name drugs that are no
            longer covered by a patent. They have the same purpose and active ingredient as their brand-
            name counterparts. Their lower cost represents the fact that their manufacturers do not have the
            research and development or marketing charges associated with a brand-name drug. You save!

            Use a brand-name drug or a similar generic drug on the formulary/preferred drug list if an
            identical drug isn't available. Brand-name drugs on the formulary are purchased at special prices
            by Express Scripts. These lower prices mean that the network rate on which your coinsurance is
            based is discounted. You save!

            Use mail order for your maintenance drugs. These are prescriptions that you take regularly (e.g.,
            blood pressure medication, asthma inhaler), not prescriptions to treat an unexpected condition
            (e.g., an antibiotic, pain killer). Preorder them and watch for them in the mail. You save!




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      RADIOLOGY, LABORATORY SERVICES, RADIATION AND CHEMOTHERAPY

                                               OAP3,4'                               CDHP 1
         COVERED SERVICE *
                                                          - OON                                   ON
       X-ray, laboratory, radiation therapy, chemotherapy
       Physician's office            Visit copay3      Plan: 60% of      Plan: 80%          Plan: 60% of      Plan: 70%          Plan: 50% of
                                                       MRC               You: 20%           MRC               You: 30°o          MRC
                                                       You: balance2                        You: balance                         You: balance
       Outpatient facility           Plan: 80%         Plan: 60% of      Plan: 80%        ; Plan: 60% of      Plan: 70%        I Plan: 50% of
                                     You: 20%2         MRC               You: 20%           MRC               You: 30%         , MRC
                                                       You: balance2                        You: balance                         You: balance
      Emergency room/               Plan: 100%         Plan: 100%        Plan: 80%          Plan: 60% of      Plan: 70%          Plan: 50% of
      urgent care center                                                 You: 20°o          MRC               You: 30%           MRC
                                                                                            You: balance                         You: balance
      Independent lab               Plan: 80..         Plan: 600. of     Plan: 80%         Plan: 60.. of      Plan: 70%         Plan: 50% of
                                    You: 20°02         MRC               You: 20°o         MRC                You: 30..         MRC
                                                       You: ba'ance                        You: balance                         You: balance
      Advanced imaging (MPI, CT Scan, PET Scan)

      Physician's office            Visit copay3       Plan: 60 /0 of    Plan: 80%         Plan: 60% of       Plan: 70%        I Plan: 50.. of
                                                       MRC               You: 20°o         MRC                You: 30%         ! MRC
                                                       You: balance'                       You: balance                          You: balance
      Outpatient                    Plan: 80%         Plan: 60% of       Plan: 80%         Plan: 60% of       Plan: 70.;        Plan: 50% of
                                    You: 20%2         MRC                You: 20°o         MRC                You: 30%          MRC
                                                      You: balance2                        You: balance                         You: balance
      Urgent care                   Plan: 100%        Plan: 100%         Plan: 100°°       Plan: 100%         Plan: 3.000/      Plan: 100%
                                                                                                                         °
      Emergency room                Plan: 100%        Plan: 100%         Plan: 80%         Plan: 80%          Plan: 70%         Plan: 70%
                                                                         You: 20%          You: 20%           You: 30%          You: 300.

     1. Benefit levels for OAPs 3 and 4 are the same. Their deductibles, out-of-pocket Ilnits and premiums differ.
     2. Coinsurance begins after the deductible has been met. In-network benefits are based on lower, negotiated network rates. There will never
        be balance billing. Out-of-network benefits are based on maximum reimbursable charges (MRC). You must pay any balance over the MRC.
     3. Your copay will depend on whether a primary care physician or specialist is providing the care. The copay for a primary care doctor is $25.
        It is $40 for a specialist.




                                                        (-WW1! 415f4i?I'LrAN
     Precertification                    Precertification is requ'red for advanced imaging: MR1s, MRAs, PET scans, CT
                                         scans, etc. This is your responsibility if you are seeking care out-of-network. Without
                                         precertification, you could receive a reduction or denial of benefits.
     Inpatient imaging                   Covered on the same basis as any inpatient hospital service

     Mammograms (diagnostic)             Coverage on the same basis as x-ray and laboratory services




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      MATERNITY AND FAMILY PLANNING SERV CES


                                               OAP3,4'                                CDf-1P 1                             CDI-IP 2
        COVERED SERVICE 41
                                                                                                                                       ON'
      Maternity care

      Initial visit to confirm      Visit copay'       Plan: 600/ of     Plan: 80%         Plan: 60% of       Plan: 70%         Plan: 50% of
      pregnancy                                        MRC               You: 20%2         MRC                You: 30%2         MRC
                                                       You: balance                        You: balance                         You: balance
      Global maternity fee          Plan: 80%          Plan: 60% of      Plan: 80%         Plan: 60% of       Plan: 70%         Plan: 50% of
      (prenatal, postnatal          You: 20%2          MRC               You: 20%2         MRC                You: 30%2         MRC
      care, delivery)                                  You: balance                        You: balance                         You: balance
      Facility charges for          Plan: 80%         Plan: 60% of       Plan: 80%         Plan: 60% of       Plan: 70%         Plan: 50% of
      delivery                      You: 20%2         MRC                You: 20%2         MRC                You: 30%2         MRC
                                                      You: balance                         You: balance                         You: ba ance
      Non-elective abortion

      At physician's office         Visit copay3      Plan: 60% of       Plan: 80%         Plan: 60% of       Plan: 70%         Plan: 50°o of
                                                      MRC                You: 20°o2        MRC                You: 30°o'        MRC
                                                      You: ba ance                         You: balance                         You: balance
      Inpatient/outpatient          Plan; 80%         Plan: 600o of     Plan: 80%          Plan: 60% of      Plan: 70%          Plan: 50% of
      professional services         You: 20002        MRC                You: 20%2         MRC               You: 30%2          MRC
      and facility charges                            You: balance                         You: balance                         You: balance
      Family Planning Men

      Office Visit                  Visit copay'      Plan: 60% of      Plan: 80%          Plan: 60% of      Plan: 70%          Plan: 50% of
                                                      MRC               You: 20%2          MRC               You: 30°o'         MRC
                                                      You: balance                         You: balance                         You: balance
     Inpatient/outpatient          Plan: 80%          Plan: 60% of      Plan: 80%          Plan: 60% of      Plan: 70°o        Plan: 50°o of
     professional services         You: 20% 2         MRC               You: 20°o'         MRC               You: 30°o'        MRC
     and facility charges                             You: balance                         You: balance                        You: balance
     Family Planning Women

     Office visit, inpatient/      Plan: 100%         Plan: 60% of      Plan: 100%        Plan: 60% of       Plan:100%         Plan: 50% of
     outpatient services and                          MRC                                 MRC                                  MRC
     facility charges                                 You: balance                        You: balance                         You: balance
     Genetic testing and           Visit copay3      Plan: 60% of       Plan: 80%         Plan: 60% of       Plan: 70%         Plan: 50% of
     counseling                    or                MRC                You: 20°o'        MRC                You: 30002        MRC
                                   coinsurance       You: balance                         You: balance                         You: bala ice

    1.Benefit evels for OAPs 3 and 4 are the same. Their deductibles, out-of-pocket limits a d premiums differ.
    2. Coinsurance begins after the deductible has been met. In-network benefits are based on lower, negotiated network rates. There will never
       be balance billing. Out-of-network benefits are based on maximum reimbursable charges (MRC). You must pay any balance over the MRC.
    3. Your copay will depend on whether a primary care physician or specialist is providing the care. The copay for a primary care doctor is $25.
      It is $40 for a specialist. Ob/Gyns are considered either primary care doctors or specialists depend'ng on how they've contracted with the
       Cigna network.




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      Precertification                  Precertification is required for obstetric hospital stays over automatically authorized
                                        lengths. (See "maternity confinements' below.)
      Maternity confinements             Coverage for the mother and newborn. The hospital stay is automatically authorized
                                         for not less than 48 hours following a vaginal delivery or 96 hours following a cesarean
                                         section — or such longer period of time as may be required by state law
                                         Coverage continues for the authorized time period; however, the attending physician,
                                         after consulting with the mother, can generally discharge the mother or the newborn
                                         earlier than the respective preauthorized number of days
                                         Coverage excludes any additional days of hospitalization that a en't authorized by
                                         Cigna. (Gett'ng this authorization is the patient's responsibility out-of-network and the
                                         doctor's in-network.) Without this authorization, benefits for bed and board will not be
                                         paid for the mother or child for each unauthorized extra day. The expenses will be the
                                         responsibility of the patient. The final decision on whether an extended hospital stay is
                                         appropriate is between the patient and her physician
      Facility charges for inpatient    Coverage on the same basis as other covered inpatient and outpatient facility charges
      and outpatient care               unless specified otherwise in the "covered service" chart on the previous page
      Abortion                           Coverage only for non-elective procedures that a physician certifies in writing as
                                         necessary since the pregnancy is endangering the mother's life
                                         Coverage also for expenses that are incurred to treat medical complications resulting
                                         from the abortion
      Erectile dysfunction              Coverage for medical diagnostic services to determine the cause of erectile
                                        dysfunction
                                        Coverage for penile implants when erectile dysfunction is clearly caused by an
                                        established medical condition, but not for treatment of psychogenic causes
      Family planning                   Coverage for certain expenses relating to family planning including examinations and
                                        related testing, counseling, FDA-approved implanted and injected contraceptives (e.g.,
                                        Depo-Provera, intrauterine devices) and surgical procedures (e.g., vasectomies and
                                        tuba) ligations) but not their reversals
                                        Coverage for diaphragms if services are provided in the physician's office. (See "What's
                                        Not Covered" later in this section of the SPD.)
     Infertility treatment              Coverage only for the treatment of underlying medical conditions up to the point when
                                        an infertlity condition is diagnosed. This treatment would be covered as any other
                                        illness
                                        Coverage excludes testing performed specifically to determine the cause of infertility,
                                        treatment or procedures performed specifically to restore fertility or artificial means
                                        of becoming pregnant (e.g., invitro, GIFT, etc.). (See "What's Not Covered" later in this
                                        section of the SPD.)
     Genetic testing and                Coverage for genetic testing that uses a proven testing method for the identification of
     counseling                         genetically-linked inheritable disease. Genetic testing is covered only if:

                                                a The individual has symptoms or signs of a genetically- inked inheritable
                                                  disease
                                                » The individual is believed to be at risk for carrier status or
                                                » The therapeutic purpose is to identify specific genetic mutat'on

                                       - Coverage also for pre-'mplantation genetic testing, genetic diagnosis prior to embryo
                                         transfer when either parent has an inherited disease or is a documented carrier of a
                                         genetically-linked inheritable disease
                                         Coverage for up to 3 genetic counseling visits per calendar year for both pre- and post-
                                         genetic testing. Coverage is provided for an individual who is undergoing approved
                                        genetic testing or has an 'nherited disease and is a potential candidate for genetic
                                         testing




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     SPECIALIZED CAPE AND FACILITIES


                                                                                                                         CDHP 2
       COVERED SERVICE 4:1

     Home healthcare               Plan: 80%         Plan: 60% of       Plan: 80%         Plan: 60% of       Plan: 70%       Plan: 50% of
                                   You: 2000         MRC                You: 20%          MRC                You: 30%        MRC
                                                     You: balance                         You: balance                       You: balance
     Hospice care                  Plan: 80%        I Plan: 60% of      Plan: 80%         Plan: 60% of       Plan: 70%       Plan: 50°o of
      Inpatient                    You: 20%           MRC               You: 20%          MRC                You: 30°o       MRC
      Outpatient                                                                          You: balance                       You: balance
                                                    I You: balance
     Skilled nursing,              Plan: 80%         Plan: 60% of       Plan: 80%         Plan: 60% of       Plan: 70%       Plan: 50% of
     sub-acute and                 You: 20%          MRC                You: 20%          MRC                You: 300.       MRC
     rehabilitation facilities                       You: balance                         You: balance                       You: balance

    1. Benefit levels for OAPs 3 and 4 are the same. Their deductibles, out-of-pocket limits and premiums differ.
    2. Coinsurance begins after the deductible has been met. In-network benefits are based on lower, negotiated network rates. There will
       never be balance billing. Out-of-network benefits are based on maximum reimbursable charges (MRC). You must pay any balance
       over the MRC.


                                                 1.10,1111.rlailfil,,,PAIIPI9,111,11111111
     Precertification                   Precertification is required for home healthcare, hospice care and skilled nursing,
                                        sub-acute and rehabilitation facilities. If you access care out-of-network, this is
                                        your responsibility. Without precertification, your benefits will be reduced or denied
     Home healthcare                    Coverage for physician-prescribed skilled healthcare services with no calendar year
                                        day limits:

                                        •Includes services provided in a home setting with no more than 16 hours of care in the
                                         day provided in visits of no more than 2 hours (i.e., maximum of 8 visits a day)
                                        •Includes physical, occupational, and speech therapy provided in the home, subject to
                                         the outpatient short-term rehabilitation therapy maximum. When multiple outpatient
                                         services are provided on the same day, they constitute 1day, although a separate copay
                                         applies to the services provided by each provider
     Hospice care                       Coverage for individuals who have been diagnosed with no more than 6 months to live
                                        due to a terminal illness and who are under the care of a physician:

                                        •Includes inpatient care in a hospice facility, the services of professionals associated with
                                         the hospice program (e.g., physicians, psychologists, social workers, family counselors,
                                         part-time or intermittent nurses), outpatient care, medical supplies, prescribed
                                         medications, pain treatment and laboratory services
                                        •Coverage excludes services rendered by any family member or anyone who lives with
                                         the patient. (See "What's Not Covered" later in this section of the SPD.)
    Bereavement counseling              Coverage on an inpatient or outpatient basis as part of hospice care; coverage for care
                                        accessed outside hospice through a mental health practitioner is covered by menta
                                        health benefits. (See "Mental Health/Substance Abuse Care" earrer in this section of
                                        the SPD.)
    Skilled nursing, sub-acute          Coverage of up to a combined 120 days of confinement each ca endar year
    care, rehabilitation facilities




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      MEDICAL EQUIPMENT AND DEVICES

                                               OAP3,4 1                             CDHP1                              CDHP 2
        COVERED SERVICE *
                                          IN              OON 2                               OCIN 2
      Durable medical               Plan: 80%         Plan: 60% of      Plan:8o%           Plan: 60% of      Plan: 70%        Plan: 50% of
      equipment                     You: 20%2         MRC               You: 20%2          MPC               You: 30.02       MRC
                                                      You: balance                         You: ba ance                       You: balance
      External prosthetic           Plan: 80%         Plan: 60% of      Plan: 80%          Plan: 600o of     Plan: 70%        Plan: 50% of
      devices                       You: 20%2         MRC               You: 200.2         MRC               You: 30%2        MPC
                                                      You: balance                         You: balance                       You: ba ance
      Nearing aids for              Plan: 80%         Plan: 600.of      Plan: 80%          Plan: 60% of      Plan: 70%        Plan: 500o of
      children up to age 18         You: 20%2         MRC               You: 20%2          MRC               You: 300.2       MRC
                                                      You: balance                         You: balance                       You: balance
      Breast feeding                Plan: 100%        Not covered       Plan: 100%        Not covered        Plan: 100%       Not covered
      equipment/supplies

     1.Benefit levels for OAPs 3 and 4 are the same. Their deductibles, out-of-pocket limits and premiums differ.
     2. Coinsurance begins after the deductible has been met. In-network benefits are based on lower, negotiated network rates. There will never
        be balance billing. Out-of-network benefits are based on maximum reimbursable charges (MRC). You must pay any balance over the MRC.




                                                         1) MORE INF
                                                         4


      Precertification                   Precertification is required for durable medical equipment and external prosthetic
                                         devices. If you access care out-of-network, this is your responsibility Without
                                         precertification, your benefits will be reduced or denied
      Durable medical equipment           Coverage for medically necessary items considered as durable, that is, not disposable
                                          and designed to withstand repeated use by more than one person. Included are items
                                          such as crutches, hospital beds, espirators, wheel chairs and dialysis machines for use in
                                          the home for a medical purpose
                                          Coverage includes the purchase and rental of durable medical equipment that is
                                          ordered or prescribed by a physician and is provided by a vendor approved by Cigna for
                                           use outside a hospital or other healthcare facility
                                           Coverage for replacement, repair or duplicate equipment is provided only when
                                           required due to an anatomical change and/or reasonable wear and tear. Coverage does
                                           not include maintenance and repair resulUng from misuse
                                         • Coverage for durable medical equipment is limited to the lowest-cost alternative as
                                           described by the utilizatio ireview physician
                                         • There are exclusions to coverage. (See "What's Not Covered" later in this section of
                                           the SPD.)




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                                                      ORE iNFORMATION
     External prosthetic devices    Coverage for the purchase and fitting of external prosthetic devices available only by
                                    prescription that are necessary for the alleviation or correction of an 'njury, sickness or
                                    congenital defect
                                    Coverage only for the most appropriate and cost-effective alternative as determined by
                                    the utilization review physician
                                    Coverage includes certain prosthetic appliances and devices, orthoses and orthotic
                                    devices, braces and splints
                                    Coverage for foot o thoses is limited as follows:
                                            » For persons with impaired peripheral sensation and/or altered peripheral
                                              circulation (e.g., diabetic neuropathy and peripheral vascula disease)
                                            > When the foot orthosis is an integral part of a leg brace and is necessa y for
                                              the proper functioning of the brace
                                              When the foot orthosis is for use as a replacement or substitute for missing
                                              parts of the foot (e.g. amputated toes) and is necessary for the alleviation or
                                              correction of injury, sickness or congenital defect
                                            > For persons with neurologic or neuromuscular condition (e.g., cerebral palsy,
                                              hemiplegia, spina bifida) producing spasticity, malalignment, or pathological
                                              positioning of the foot and there is reasonable expectation of improvement
                                   •There are exclusions to coverage. (See "What's Not Covered" later in this section of
                                    the SPD.)
     Hearing aids                  • Coverage for children under age 18
                                   •Coverage includes semi-implantable hearing devices, audient bone conductors and
                                    bone-anchored hearing aids
     Breast feeding equipment      Coverage — in-network only for renting a breast pump and related supplies as ordered by
     and supplies                  a physician




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      DENTAL CARE AND ORAL SURGERY

                                               OAP 3, 4 1                            CDNP 1                               CDHP 2
        COVERED SERVICE 41                                                                                   MN
                                                                                                              _
                                                          OON 2                                00N 2                               OON 2
       Eligible dental care
       Physician's services         V'sit copay3       Plan: 60% of      Plan: 80%          Plan: 6000 of     Plan: 70%         Plan: 50% of
                                                       MRC               You: 20%           MRC               You: 30%          MRC
                                                       You: balance                         You: balance                        You: balance
      Outpatient faclity and        Plan: 80.0         Plan: 60% of      Plan: 80%          Plan: 60% of      Plan: 70%         Plan: 50% of
      services                      You: 20002         MRC               You: 20%           MRC               You: 3000         MRC
                                                       You: ba a ce                         You: balance                        You: balance
      Inpat'ent facility and        Plan: 80%          Plan: 60% of      Plan: 80%          Plan: 60% of      Plan: 70%         Plan: 50% of
      services                      You: 20%2          MRC               You: 20%           MRC               You: 3000         MRC
                                                       You: balance                         You: balance                        You: balance
      Oral surgery
      Physician's office v'sit      $40 copay         Plan: 60% of       Plan: 80%         Plan: 6000 of      Plan: 70%        Plan: 50% of
                                                      MRC                You: 20°o         MRC                You: 30%         MRC
                                                      You: balance                         You: balance                        You: balance
                                                                                                                               Plan: 50% of
      Outpat'ent faci ity and       Plan: 800.        Plan: 60% of       Plan: 80%        i Plan: 60% of      Plan: 70%
      services                      You: 20°02        MRC                YOU: 20%          MRC                You: 30%         MRC
                                                      You: balance                         You: ba ance                        You: balance
       npatient facility and        Plan: 80%         Plan: 6o°0 of      Plan: 80%         Plan: 60% of       Plan: 70%        Plan: 50°o of
      services                      You: 2000         MRC                You: 20°o         MRC                You; 3000        MRC
                                                      You: ba ance                         You: balance                        You: balance

     1. Benefit levels for OAPs 3 and 4 are the same. Their deduct bles, out-of-poc et limits and premiums differ.
     2. Coinsurance begins after the deductible has been met. In-network benefits are based on lower, negotiated network rates. There will never
        be balance billing. Out-of-network benefits are based on maximum reimbursable charges (MRC). You must pay any balance over the MRC.
     3. Your copay will depend on whether a primary care physician or specialist's providing the care. The copay for a primary care doctor is $25.
        It is $40 for a specialist.




      Eligible dental care               Coverage for serv'ces or supplies related to an accidental injury to sound natura teeth 'f
                                         part of a continuous course of dental treatment started within 6 months of an accident
      Oral surgery                       Coverage includes charges made by a physician for any of the following surgical
                                         procedures: excision of unerupted impacted tooth, including removal of alveolar bone
                                         and sectioning of tooth and removal of residual root, when performed by a dentist other
                                         than the one who extracted the tooth




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     ORGAN TRANSPLANTS


                                              OAP3,4 1                              CDHP 1                               CDHP 2
       COVERED SERVICE 1:1
                                                          OON                  IN         OON               MEM                OON
     Office visit                   Visit copay2 ; Not covered          Plan: 80%          Not covered        Plan: 70%        Not covered
                                                                        You: 20%3                           , You: 30%3
     Cigna LIFESOURCE Transplant Network®

     Facility charges              Plan: 100%         Not covered       Plan: 100%         Not covered       Plan: 100%        Not covered
                                                                        after                                after
                                                                        deductible                           deductible
     Professional services         Plan: 100%         Not covered       Plan: 100%         Not covered       Plan: 100%        Not covered
                                                                        after                                after
                                                                        deductible                           deductible
     Travel expenses               Travel expense maximum of $10,000 per transplant per lifetime

     Approved Non-LIFESOURCE Facilities

     Facility charges              Plan: 8o%         Not covered        Plan: 8o%         Not covered        Plan: 7o%        Not covered
                                   You: 20%3                            You: 20%3                            You: 30%3
     Professional services         Plan: 80%         Not covered        Plan: 80%         Not covered        Plan: 7o%        Not covered
                                   You: 20%3                            You: 20%3                            You: 30%3



    1.Benefit levels for OAPs 3 and 4 are the same. Their deductibles, out-of-pocket Ilrn is and premiu s differ.
    2. Your copay will depend on whether a primary care physician or specialist is providing the care. The copay for a pr mary care doctor s $25.
      It is $40 for a specialist.
    3. Coinsurance begins after the deductible has been met. In-network benefits are based on lower, negotiated network rates. There will never
       be balance billing. Out-of-network benefits are based on maximum reimbursable charges (MRC). You must pay any balance over the MRC.




     Precertification                    Precertification is required for all organ transplants. Transplants are covered only as a -1
                                         in-network benefit
    Transplant services

    LIFESOURCE                            Coverage for 100% of the cost of eligible transplants through the Cigna LIFESOURCE
                                          Transplant Network®. (Cornea transplants not available through LIFESOURCE.)
                                          LIFESOURCE network includes over 130 facilities across the United States that are
                                          recognized as de.ivering quality, specialized transplant expertise
    Transplant travel expenses           Coverage for specific travel expenses only if the LIFESOURCE network is used. Travel
                                         must be connected with the delivery of a service associated with an approved transplant
                                         such as evaluation, candidacy, transplant event or post-transplant care
                                         Coverage includes reasonable transportation to and from the transplant facility (e.g.,
                                         coach class airfare), local transportation at the site (e.g., rental car) as well as food and
                                         lodging for the recipient of an approved transplant and a companion (e.g., spouse, family
                                         member, legal guardian, caregiver). There are limitations to this benefit. (See "What's
                                         Not Covered" later in this section of the SPD.)
                                          Payments for travel and related expenses associated with transplants may be subject to
                                         IRS taxable income regulations
    Non-LIFESOURCE facilities           • Coverage for organ transplant services, including cornea transplants
                                        • Coverage at network transplant facilities specifically contracted for this purpose
                                         by Cigna
                                        • No coverage for transplants at any other network or non-network facilities




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      CANCER CLINICAL TRIALS


        COVERED SERVICE *

      Routine services             Plan: 80%         Plan: 60% of       Plan: 80%        Plan: 60% of       Plan: 70%         Plan: 50% of
      associated with the          You: 20°.         MRC                You: 20%         MRC                You: 30%          MRC
      clinical trial                                 You: balance                        You: balance                         You: balance

     1. Benefit levels for OAPs 3 and 4 are the same. Their deductibles, out-of-pocket limits and premiums differ.
     2. Coinsurance begins after the deductible has been met. In-network benefits are based on lower, negotiated network rates. There will never
        be balance billing. Out-of-network benefits are based on maximum reimbursable charges (MRC). You must pay any balance over the MRC.




      Guidelines for coverage            Coverage for routine patient services associated with cancer clinical trials approved and
                                         sponsored by the federal government if the following criteria are met:

                                           The cancer clinical trial is listed on the NIH website www.clinicaltrials.gov as being
                                          sponsored by the federal government
                                          The trial investigates a treatment for terminal cancer and the person has failed standard
                                          therapies for the disease, cannot tolerate standard therapies for the disease or no
                                          effective nonexperimental treatment for the disease exists
                                          The person meets all inclusion criteria for the clinical trial and 's not treated "off-
                                          protocol"
                                          The trial is approved by the Institutional Rev'ew Boa, d of the institution administering
                                          the treatment and
                                        - Coverage will not be extended to clinical trials conducted at nonparticipating facilities if
                                          a person is eligible to participate in a covered clinical trial from a network provider
     Limits                             There are imits to this coverage. (See "What's Not Covered" later in this section of
                                        the SPD.)




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  WHAT'S NOT COVERED
     GENERAL LIMITATIONS
     No payment will be made for expenses incurred by you or any one of your dependents:

      For charges made by a hospital owned or operated by, or which provides care or performs services
      for, the U.S. government, if such charges are directly related to a military-service-connected injury or
      sickness
      To the extent that you or any one of your dependents is in any way paid or entitled to payment for
      those expenses by or through a public program, other than Medicaid
      To the extent that payment is unlawful where the person resides when the expenses are incurred
      For charges that would not have been made if the person had no insurance
      To the extent that they are more than maximum reimbursable charges
      To the extent of the exclusions imposed by any certification requ'rement shown in this plan
      For supplies, care, treatment, or surgery that are not medically necessary
      For charges made by any covered provider who 's a member of your or your dependent's family
      For expenses incurred outside the United States other than expenses for medically necessary urgent
      or emergent care while temporarily traveling abroad.

    EXCLUSIONS AND EXPENSES NOT COVERED
       Care for health conditions that are required by state or local law to be treated in a pub is facility
       Care required by state or federal law to be supplied by a public school system or school district
       Care for military service disabilities treatable through governmental services if you are legally
       entitled to such treatment and facilities are reasonably available
      Treatment of an injury or sickness which is due to war, declared or undeclared, riot or insurrection
      Charges that you are not obligated to pay, for which you are not billed, or for which you would not
       have been billed except that they were covered under this plan
      Unless otherwise covered in this plan, for reports, evaluations, physical examinations, or
      hospitalization not required for health reasons including, but not limited to, employment, insurance
      or government licenses, and court-ordered, forensic or custodial evaluations
      Court-ordered treatment or hospitalization, unless such treatment is prescribed by a physician and
      listed as covered in this plan
    • Medical and hospital care and costs for the infant child of a dependent, unless this infant child is
      otherwise eligible under this plan
    • Nonmedical counseling or ancillary services, including but not limited to custodial services,
      education, training, vocational rehabilitation, behavioral training, biofeedback, neurofeedback,
      hypnosis, sleep therapy, employment counseling, back-to-school or return-to-work services, work
      hardening programs, driving safety, and services, training, educational therapy or other nonmedical
      ancillary services for learning disabilities, developmental delays, autism or mental retardation
     Therapy or treatment intended primarily to improve or maintain general physica condition or for
     the purpose of enhancing job, school, athletic or recreational performance, including but not limited
     to routine, long-term, or maintenance care which 's provided after the resolution of the acute
      medical problem and when significant therapeutic improvement is not expected




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       Membership costs or fees associated with health clubs, weight loss programs and smoking
       cessation programs
       Medical treatment for a person age 65 or older, who is covered under this plan as a retiree, or his/
       her dependent, when payment is denied by the Medicare plan because treatment was received
       from a nonparticipating provider
       Medical treatment when payment is denied by a primary plan because treatment was received
       from a nonparticipating provider
       Medical treatment in connection with an injury or sickness arising out of, or in the course of, any
       employment for wage or profit
       Telephone, e-mail, and Internet consultations and telemedicine not performed by MDLive
       Massage therapy
       Assistance in the activities of daily living, including but not limited to eating, bathing, dressing or
       other custodial services or self-care activities, homemaker services and services primarily for rest,
       domiciliary or convalescent care.

     BLOOD
     • Fees associated with the collection or donation of blood or blood products, except for autologous
       donation in anticipation of scheduled services where, in the utilization review physician's opinion,
       the likelihood of excess blood loss is such that transfusion is an expected adjunct to surgery
       Blood administration for the purpose of general improvement in physical condition

     LHIROPRACTIC CAP
     • Services of a chiropractor which are not within the scope of practice, as defined by state law
     • Charges for care not provided in an office setting
     • Maintenance or preventive treatment consisting of routine, long-term or non-medically necessary
       care provided to prevent recurrence or to maintain the patient's current status
     • Care that's part of short-term rehabilitation.

                   TRIALS
     • The investigational service or supply itself
     • Services or supplies listed herein as exclusions
     • Services or supplies related to data collection for the clinical trial (i.e., protocol-induced costs)
     • Services or supplies which, in the absence of private health care coverage, are provided by a clinical
       trial sponsor or other party (e.g., device, drug, item or service supplied by manufacturer and not yet
       FDA approved) without charge to the trial participant.




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     EXPERIMENTAL, INVESTIGATIONAL OR UNPROVEN SERVICES OR PRESCRIPTION
     • Charges for or in connection with experimental, investigational or unproven services. Experimental,
       investigational and unproven services are medical, surgical, diagnostic, psychiatric, substance abuse
       or other health care technologies, supplies, treatments, procedures, drug therapies or devices that
       are determined by the utilization review physician to be:

                  Not demonstrated, through existing peer-reviewed, evidence-based, scientific literature,
                  to be safe and effective for treating or diagnosing the condition or sickness for which its
                  use is proposed
                  Not approved by the U.S. Food and Drug Administration (FDA) or other appropriate
                  regulatory agency to be lawfully marketed for the proposed use
                > The subject of review or approval by an institutional review board for the proposed use
                  except as provided in the "Clinical Trials" section(s) of this plan or
                  The subject of an ongoing phase I, II or III clinical trial, except for routine patient care
                  costs related to qualified clinical trials.

    EVE CARL:
    • Eyeglass lenses and frames and contact lenses (except for the first pair of contact lenses for
      treatment of keratoconus or post-cataract surgery)
      Routine refractions, eye exercises and surgical treatment for the correction of a refractive error,
      including radial keratotomy.

    FOOT CAPE
     Routine foot care, including the paring and removing of corns and calluses or trimming of nails.
     However, services associated with foot care for diabetes and peripheral vascular disease are covered
     when medically necessary.

    GENETIC SCREENIN(
    • Genetic screening or pre-implantations genetic screening that does not use a proven testing method
      for the identification of genetically-linked inheritable disease or is performed in the absence of any
      symptoms or any significant, proven risk factors for genetically linked inheritable disease.

    1-10CDIrr CADr cr DVICES
    • Services of a person who is a member of your family or your dependent's family or who normally
      resides in your house or your dependent's house
      Any period when you or your dependent is not under the care of a physician
      Services or supplies not listed in the hospice care program
    • Any curative or life-prolonging procedures
    • To the extent that any other benefits are payable for those expenses under the policy
    * Services or supplies that are primarily to aid you or your dependent in daily living.

    HOSPITALIZATION
    • Private hospital rooms and/or private duty nursing except as provided under the home health
      services provision
      Personal or comfort items such as personal care kits provided on admission to a hospital, television,
      telephone, newborn infant photographs, complimentary meals, birth announcements, and other
      items which are not for the specific treatment of an injury or sickness.



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      INFERTILITY
      • Infertility services including infertility drugs, surgical or medical treatment programs for infertility,
        except as described under Family Planning earlier in this section of the SPD. This includes in vitro
        fertilization, gamete intrafallopian transfer (GIFT), zygote intrafallopian transfer (ZIFT), variations of
        these procedures, and any costs associated with the collection, washing, preparation or storage of
        sperm for artificial insemination (including donor fees). Cryopreservation of donor sperm and eggs
        is also excluded from coverage
      • Reversal of male or female voluntary sterilization procedures.

     MEDICATIONS, 810              ;ICALS, SUPPLEMENTS, ETC.
     • Nonprescription drugs and investigational and experimental drugs, except as provided in this plan
     • Cost of biologicals that are immunizations or medications for the purpose of travel, or to protect
       against occupational hazards and risks
     • Cosmetics, dietary supplements and health and beauty aids
     • All nutritional supplements and formulae except: infant formula needed for the treatment of
       inborn errors of metabolism; medical foods prescribed by a doctor for the treatment of inborn
       errors of metabolism or malabsorption and preauthorized by Express Scripts
     • General or injectable vitamins, except prescription vitamins, including prenatal vitamins, vitamins
       with fluoride and single entity vitamins
     • Appetite suppressants and other weight loss products/medications
     • Growth hormone therapy except for a documented growth hormone deficiency, Turner's
       Syndrome, growth delay due to cranial radiation or chronic renal disease; precertification is
       required
     • Compounded drugs unless all ingredients are covered items and are not available by a
       manufacturer. These must be approved for use in the manner it is being utilized.
     • MENTAL HEALTI-I/SUBSTANCE ABUSE
     • Any court ordered treatment or therapy, or any treatment or therapy ordered as a condition of
        parole, probation or custody or visitation evaluations unless medically necessary and otherwise
        covered under this plan
     • Treatment of disorders that have been diagnosed as organic mental disorders associated with
        permanent dysfunction of the brain
     • Developmental disorders, including but not limited to, developmental reading disorders,
        developmental arithmetic disorders, developmental language disorders or developmental
       articulation disorders
     • Counseling for activities of an educational nature
     • Counseling for borderline intellectual functioning
     • Counseling for occupational problems
     • Counseling related to consciousness raising
     • Vocational counseling
     • Religioius counseling
     • I.Q. testing
     • Custodial care, including but not limited to geriatric day care
     • Psychological testing on children requested by or for a school system, occupational/recreational
       therapy programs even if combined with supportive therapy for age-related cognitive decline.




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     ORAL HEALTH
     • Dental treatment of the teeth, gums or structures directly supporting the teeth, including dental
       x-rays, examinations, repairs, orthodontics, periodontics, casts, splints and services for dental
       malocclusion, for any condition
       Dental implants for any condition
      Surgical or nonsurgical treatment of TMJ disorders.

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     • Anti-obesity medications, medical and surgical services, intended for the treatment or control of
       obesity, including: medical and surgical services to alter appearance or physical changes that are the
       result of any surgery performed for the management of obesity or clinically severe (morbid) obesity;
       and weight loss programs or treatments, whether prescribed or recommended by a physician or
       under medical supervision except for treatment of clinically severe (morbid) obesity as shown in
       covered expenses.

    PROSTHESIS AND PROSTHETIC APPLIANCES AND DEVICES
    • Prefabricated foot orthoses
    - Cranial banding and/or cranial orthoses. Other similar devices are excluded except when used
      postoperatively for synostotic plagiocephaly. When used for this indication, the cranial orthosis will be
      subject to the limitations and maximums of the external prosthetic appliances and devices benefit
      Orthosis shoes, shoe additions, procedures for foot orthopedic shoes, shoe modifications and
      transfers
      Orthoses primarily used for cosmetic rather than functional reasons
      Orthoses primarily for improved athletic performance or sports participation
      Copes scoliosis braces
      Splint replacement due to abuse of misuse, splint replacement more than once every 24 months for
      persons 19 years of age and older or more than once every 12 months for persons 18 years of age
     and under
      External and internal power enhancements or power controls for prosthetic limbs and terminal
     devices
     Myoelectric prostheses peripheral nerve stimulators.

    SHCIDT-TPDM D1=1-1ARII
    • Sensory integration therapy, group therapy, treatment of dyslexia, behavior modification or
      myofunctional therapy for dysfluency, such as stuttering or other involuntarily acted conditions
      without evidence of an underlying medical condition or neurological disorder
      Treatment for functional articulation disorder such as correction of tongue thrust, lisp, verbal apraxia
      or swallowing dysfunction that is not based on an underlying diagnosed medical condition or injury
      Maintenance or preventive treatment consisting of routine, long-term or non-medically necessary
      care provided to prevent recurrence or to maintain the patient's current status.




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      SUPPLIES, EQUIPMENT AND AIDS
      • Consumable medical supplies other than ostomy supplies, diabetic supplies and urinary catheters
         Bandages and other disposable medical supplies, skin preparations and test strips, except as
         specified
         Bed-related items: bed trays, over the bed tables, bed wedges, pillows, custom bedroom
         equipment, mattresses, including non-power mattresses, custom mattresses and posturepedic
         mattresses
         Bath-related items: bath lifts, nonportable whirlpools, bathtub rails, toilet rails, raised toilet seats,
         bath benches, bath stools, hand held showers, paraffin baths, bath mats, and spas
        Chairs, lifts and standing devices: computerized or gyroscopic mobility systems, roll about chairs,
        geriatric chairs, hip chairs, seat lifts (mechanical or motorized), patient lifts (mechanical or
        motorized manual hydraulic lifts are covered if patient is two-person transfer) and auto tilt chairs
        Fixtures to real property: ceiling lifts and wheelchair ramps
      - Car/van modifications
        Air quality items: room humidifiers, vaporizers, air purifiers and electrostatic machines
        Blood/injection related items: blood pressure cuffs, centrifuges, nova pens and needleless injectors
        Other equipment: heat lamps, heating pads, cryounits, cryotherapy machines, electronic-controlled
        therapy units, ultraviolet cabinets, sheepskin pads and boots, postural drainage board, AC/DC
        adaptors, enuresis alarms, magnetic equipment, scales (baby and adult), stair gliders, elevators,
       saunas, any exercise equipment and diathermy machines
        Artificial aids including, but not limited to, corrective orthopedic shoes, arch supports, elastic
       stockings, garterbelts, corsets, dentures and wigs
        Hearing aids, including but not limited to semi-implantable hearing devices, audiant bone
       conductors and bone anchored hearing aids (BAHAs), except for children under 18 years of age
       Aids or devices that assist with nonverbal communications, including but not limited to
       communication boards, prerecorded speech devices, laptop computers, desktop computers,
       Personal Digital Assistants (PDAs), Braille typewriters, visual alert systems for the deaf and memory
       books.

     SURGERIES
     • Cosmetic surgery and therapies including medications for comestic or hair growth purposes.
       (Cosmetic surgery or therapy is defined as surgery or therapy performed to improve or alter
       appearance or self-esteem or to treat psychological symptomatology or psychosocial complaints
       related to one's appearance)
       The following services are excluded from coverage regardless of clinical indications:
       abdominoplasty, panniculectomy, redundant skin surgery, removal of skin tags, acupressure,
       craniosacral/cranial therapy, dance therapy, movement therapy, applied kinesiology, rolfing,
       prolotherapy and extracorporeal shock wave lithotripsy (ESWL) for musculoskeletal and orthopedic
       conditions
      Abortions, unless a physician certifies in writing that the pregnancy would endanger the life of the
       mother, or the expenses are incurred to treat medical complications due to abortion.

     TRANSPLANT TRAVEL SERVICES
     • Travel costs incurred due to travel within 60 miles of your home, laundry bills, telephone bills,
       alcohol or tobacco products, charges for transportation that exceeds coach class.




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  FILING A CLAIM
     There are no claim forms for in-network care — simply show your ID card and pay your share of
     the cost, if any. Your network provider will submit a claim to Cigna for reimbursement. There is
     no requirement for an out-of-network provider to submit claims for you; however, many are able
     and willing to file on your behalf. If a provider does not submit on your behalf, you must send your
     completed claim form and itemized bills to the address l'sted on the claim form.

    For a claim to be considered, it must be submitted within 180 days of the service being rendered. If
    services occurred on consecutive days, such as during a period of hospital confinement, the limit will
    be counted from the last day of service. Claims submitted after 180 days will be denied.



          MEDICAL AND PHARMACY CLAIM REMINDERS

            Access a printable copy of the claim form at the web address shown on your Cigna or Express
            Scripts ID card or call Member Services for a copy.
            Be sure to use your member ID and account group number when you file your claim form or when
            you call a claim office. (Both identifiers can be found on your ID card.)
            Carefully follow the instructions on the claim form in order to avoid unnecessary delays. This
            includes providing needed documentation in a timely fashion.




    TIME FRAME FOR MAKING A CLAIM DETERMINATION
    After your claim is submitted, the claim administrator ordinarily will notify you of its benefit
    determination — adverse or not — within a specific time frame. The time frame differs depending on
    whether you've submitted an urgent care claim, a preservice claim or a post-service claim:

     Urgent care claim      You will receive a benefit determination as soon as possible, taking *nto account
     the medical exigencies, but no later than 72 hours after receipt of the claim. (A decision may be
     provided to you orally, as long as written or electronic notification is provided to you within 3 days
     after the oral notification.)
     Preservice claim — You will receive a benefit determination within 15 days after receipt of the
     request for authorization
     Post-service claim — The claim administrator will notify you of any denial of your claim within 30
     days after receipt of the claim.

    WHEN A CLAIM IS DENIED
    Regardless of the type of claim, you will receive a notice of any claim denial. The notice will include:

      he specific reason(s) for the denial and, if a claim is denied as a covered health service or for being
     experimental in nature, either the scientific or clinical reasons why the determination was made or
     the option to obtain this information free of charge
     References to the pertinent health care plan provisions on which the decision is based




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      • A description of any additional material or information needed to support your claim and why such
        material or information is necessary
        A description of the health care plan's claim review procedure, time I'mits applicable to such
        procedure and how to initiate an appeal (including your legal rights if a claim is denied)
        References to any rule, guideline or protocol relied upon in making the decision and a statement
        that a copy of the internal rule, guideline or protocol will be provided to you free of charge upon
        request
      • A description of the expedited review process applicable to the claim for denied urgent care claims.

      WHAT HAPPENS WHEN REQUIRED PROCEDURES                   A REN'T FOLLOWED
      For urgent care claims and preservice claims, if you or your provider fail to give the claim
     administrator sufficient information to determine whether, or to what extent, benefits are covered
     or payable under the plan, or if you or your provider fail to follow the health care plan's procedures
     for filing such claims, the claim administrator must notify you within 24 hours of receiving the urgent
     care claim or within 5 days of receiving the preservice claim about the specific information needed
     to complete the claim. The claim administrator's response may be oral, unless written notification is
     requested. In the case of an urgent care claim, there is a 48-hour deadline for you or your provider
     to furnish the information needed to process the claim. You or your provider will be notified of a
     determination on the urgent care claim no later than 48 hours after the earlier of:

       The claim administrator's receipt of the requested information or
       The end of the 48-hour period within which you were to provide the additional information.

     EXTENSION PERIODS FOR DECIDING WEALTH PLAN CLAIMS
      For preservice claims and post-service claims, a 15-day extension of the time period for deciding
      claims may be allowed, provided that the claim administrator determines that the extension
      is necessary due to matters beyond its control. If such an extension is necessary, the claim
     administrator must notify you before the end of the original 15-day or 30-day period of the reason(s)
      requiring the extension and the date the administrator expects to provide a decision on your claim. If
     such an extension is necessary due to your failure to submit the information necessary to decide the
     claim, the notice of extension must also specifically describe the required information. You then have
     45 days to provide the information needed to process your claim. If you do not provide the required
     information within the 45-day period, your claim may be denied. If an extension is necessary for
     preservice and post-service claims due to your failure to submit necessary information, the plan's
     time frame for making a benefit determination is stopped from the date the claim administrator
     sends you an extension notification until the date you respond to the request for additional
     information.




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    APPEALS
    For more information regarding appeals of a denied authorization of care, a submitted claim or a
    rescission of coverage, see "Authorization of Health Services" and "Plan-by-Plan Appeal Process" in the
    separate "Benefit Administration" section of the SPD.

    COORDINATION OF BENEFITS
    If a covered participant has additional health care coverage, there may be some duplication of the
    benefits between the Harris Plan and the other coverage. For example, this could occur when a
    participant has coverage through any of the following:

      Group insurance or any other plan covering individuals or members as a group
    • "No-fault" auto insurance provided under law
    • Medicare.

    When this is the case, there will be coordination of benefits between the plans providing coverage.

    PRIMARY AND SECONDARY COVERAGE
    In determining how the plans coordinate benefits, one plan is considered the primary plan and the
    other is considered the secondary plan. The primary plan pays benefits first, up to the limit of that
    plan. The secondary plan will not pay benefits until the primary plan pays or denies a claim. When the
    Harris Medical Plan is considered "primary," it pays benefits first. The other coverage is "secondary"
    and pays benefits, if any, in accordance with its plan provisions.

    If you have a spouse working at Harris, he or she can't cover you under the Medical Plan and also be
    covered as a family member under the Medical Plan. An employee cannot carry single Harris coverage
    and also be covered as a dependent with Harris coverage.

    NOW PRIMARY COVERAGE IS DETERMINED
    Primary coverage and secondary coverage are determined differently in different circumstances as
    follows:

     If you have dual coverage — If you are an active employee and covered by the Harris Medical
      Plan and another group plan, the Harris Plan is considered your primary coverage. As your primary
     coverage, the Harris plan pays or denies a claim first. Once the Harris plan has made its benefit
     determination, you can submit the claim to the secondary plan for reimbursement of any unpaid
     amounts under its provisions. If you are not actively working, the Harris plan is considered your
     primary plan when coordinating with a spouse's employer-sponsored plan, unless you are eligible
     for Medicare
     If you have coverage from Harris and a former employer — If you have coverage from a current
     and a former employer, the current employer's plan is your primary coverage. Where the preceding
     rules don't resolve which plan is primary, the plan covering the person longer is primary. But, if one
     or the other plan doesn't have a provision to coordinate payments, that plan will pay first
     If you or a dependent have automobile insurance — Your automobile insurance will always be
     considered your primary coverage and the Harris Medical Plan your secondary coverage. This is the
     case regardless of your election under PIP (Personal Injury Protection) coverage with the automobile
     insurance carrier




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       If you are eligible for Medicare — Medicare is considered your primary coverage and the Cigna
       Comprehensive Plan your secondary coverage if you are eligible for Medicare and:

                » You are retired or
                » You are disabled or
                » You have had end-stage renal disease for over 30 months.

       After Medicare pays or denies a claim, you can submit the claim to the Cigna Comprehensive
       Plan for reimbursement of any unpaid amounts under its provisions. (See "Medicare" later in this
       section of the SPD.)

       If your spouse has dual group coverage — When enrolled in both the Harris Medical Plan and
       his/her employer's group plan, your spouse's primary coverage will be his/her employer's plan
       with secondary coverage under the Harris plan, unless your spouse is eligible for Medicare, as
       described below. After the primary plan pays or denies a claim, your spouse can submit the claim
       to the Harris plan
       If your spouse or dependent is eligible for Medicare — If you are an active employee and
      your spouse or a dependent has Medicare coverage, the Harris plan is still considered your
      family member's primary coverage. Once you retire or terminate, whether at that time you are
       Medicare-eligible or not, Medicare will be become primary for your Medicare-eligible spouse or
      dependent and if eligible, Harris will become secondary coverage
      If your dependent children have dual coverage — If your child is covered by both your and
      your spouse's employer-sponsored plans, then the "birthday rule" determines which plan is
      primary. Under the birthday rule, the plan of the parent whose birthday falls earliest in the
      calendar year is your child's primary plan. If both parents have the same birthday, the parent
      who has been covered longer is the primary plan. If your spouse's plan doesn't follow the
      birthday rule, then the father's plan is primary. And, if one or the other plan doesn't have a
      provision to coordinate payments, that plan will pay first
      If you're divorced/separated and have children with dual coverage — If you are divorced or
      separated and a court decree establishes financial responsibility for the medical care of a child,
      the plan of the parent assigned that responsibility will be that child's primary plan. (See "Qualified
      Medical Child Support Order" in the separate "Benefit Administration" section of this SPD.) In
      the absence of a court decree and when both parents have not remarried, the plan of the parent
      with custody will pay benefits before the plan of the other parent. If the parent with custody has
      remarried and the plan of the custodial parent's spouse also covers the child, the plan of the
      parent with custody will pay first, the plan of the custodial parent's spouse will pay next and the
      plan of the parent without custody will pay last.




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     REIMBURSEMENTS WHEN COVERAGE IS SECONDARY
     When the Harris Medical Plan provides secondary coverage, all plan rules apply to reimbursements.
     (There are some exceptions when Medicare is the primary plan.) Here's how the plan pays benefits
     when the Harris Medical Plan is the secondary plan: the claim administrator determines the benefit
     that would be paid if it were the only plan. This includes applying the appropriate annual deductible,
     if any, and all other benefit limits. The amount of benefit paid by the primary plan is subtracted from
     any benefit that would be paid by the Harris Medical Plan. This means that when the Harris Medical
     plan is secondary, it will only pay the difference, if any, between its usual benefit and the benefit
     eligible to be paid by the primary plan.

     ELECTING NOT      To HAVE DUPLICATE COVERAGE
    It may not be benefic'al to have duplicate coverage. If you choose not to cover your spouse and
    children and if your spouse loses his or her job and coverage, you can enroll within 30 days of the loss
    of job. Coverage will be effective on the date of the life change event.


  WHEN COVERAGE CAN CHANGE OR END
    CHANGES IN COVERAGE
    Once you make your Medical Plan elections for the year, you generally will not be able to change these
    elections until the next annual open enrollment. You may, however, be able to change your elections
    during the year if a life change event occurs, and your election change is consistent with the life
    change event. You must request the change in your Medical Plan election within 30 days of the event
    by entering your elections through My Benefits Portal. Coverage will be effective on the date of the life
    change event for birth, adoption, placement for adoption or the loss of plan eligibility. Elections for
    other life change events will be effective as of the date the change is requested.

    WHEN COVERAGE ENDS
    Your medical coverage ends in these circumstances unless you're eligible for "continuing coverage":

     Your employment ends
     You or a family member loses eligibility; coverage for dependent children continues through the end
     of the month.
     You elect to discontinue participation or don't pay the required premiums or contributions
     You die or retire (unless retiree coverage is available and elected) or
     The plan ends.

    Your medical benefits may also be changed or ended or the cost of coverage changed if you have
    received an overpayment of Long-Term Disability Plan benefits and refuse to enter into an acceptable
    repayment plan or fail to adhere to a repayment plan to which you have agreed. Any decision in this
    regard will be made at the discretion of the plan administrator (or its designee).

    YOUR DEPENDENTS' COVERAGE
    Medical coverage for your covered eligible dependents ends when your coverage ends (subject to any
    continuing retiree coverage as descr'bed below under "When You Retire") or when your dependents
    no longer meet the plan's definition of eligibility, whichever occurs first. Extended coverage may be
    available under COBRA.




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      CONTINUING COVERAGE
     In some cases, your medical coverage may continue even though you are no longer at work. If you
     had medical coverage on your last day of work and continue to pay the active employee rate, you
     can continue your current coverage under the following circumstances:

       You are on an approved leave of absence. Benefits can continue for up to 3 months for most leaves
       and up to 12 months or longer for military leaves, at management's discretion
       You are receiving Short-Term Disability Plan benefits from Harris
       You are receiving Long-Term Disability Plan benefits from a legacy Harris LTD plan. However, if
       your disability occurred on or after January 1, 2014, coverage can only continue until the earlier
       of 30 months following the occurrence of the disability or the date you become eligible for SSDI-
       Medicare coverage. If you are receiving LTD benefits under a legacy Exelis plan, see "Continuing
       Coverage — Legacy Exelis" later in this section of the SPD.

     Please note: if you are permitted and elect to discontinue medical coverage during an approved
     leave of absence or while receiving disability benefits, you cannot re-enroll in the Medical Plan unfl
     you return to active employment (This does not apply to employees receiving LTD benefits under any
     legacy Exelis LTD Plan.).

     Your medical coverage can continue even though you are no longer at work if you are eligible for and
     have elected continuing coverage. (See "When You Retire" later in this section of the SPD.) Keep in
     mind, the Affordable Care Act has established healthcare marketplaces/exchanges to purchase care
     in the event you involuntarily lose coverage. For information on healthcare marketplace/exchange
     special enrollments, call 1.800.318.2596, 24/7.




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     CONTINUING COVERAGE - LEGACY EXELIS
     If you are receiving Long-Term Disability benefits under a legacy Exelis LTD plan (that is, you began
     receiving disability benefits prior to 2016), you are eligible for coverage under the following circumstances
     if you continue to pay your portion of the healthcare premium:

      Your disability occurred on or before December 31, 2012 — Coverage can continue until the earlier of: a)
      you elect to begin your pension benefit and are eligible for company-sponsored retiree medical coverage
      (even if you don't elect that coverage); or b) the last day of the month of your 65th birthday.
      Your disability occurred between January 1, 2013 and December 31, 2015 — Coverage can continue until
      the earlier of: a) you elect to begin your pension benefit and are eligible for company-sponsored retiree
      medical coverage (even if you don't elect that coverage); or b) based on the following service schedule
      (based on your last day of active employment):


       YEARS OF BENEFIT ELIGIBILITY SERVICE AS OF YOUR LAST   COVERAGE ENDS ON THE LAST DAY OF THE CALENDAR MONTH
                     DAY OF ACTIVE EMPLOYMENT                    FOLLOWING YOUR LAST DAY OF ACTIVE EMPLOYMENT

       I ess than 5 years                                      24 months

       5 years up to 15 years                                  6o months
       15 years up to 25 years                                 120 months

       25 years or greater                                     Up to age 65




    COBRA COVERAGE
    COBRA continuation coverage may be available when medical coverage is lost. (For more about COBRA,
    see the separate "Benefit Administration" section of the SPD.)

    WHEN YOU RETIRE
    Harris group medical coverage is not available to participants who retired (reached 10 or more years of
    service and were at least age 55) after December 31, 2014. Harris offers the services of OneExchange
    to assist with alternate coverage (See "Alternative Coverage Source" below) to employees who, after
    December 31, 2014, retire (having reached 10 or more years of service and at least age 55).

    If you retired from active employment on or after January 1, 2015 — You and your eligible
    dependents cannot enroll in Harris group healthcare coverage since these benefits will no longer be
    offered as of that date. You can purchase coverage through OneExchange or another source. Coverage is
    available in the marketplace for family members regardless of their Medicare eligibility.




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      If you retired from active employment before age 65 before January 1, 2015 — You have two
      choices:

       First, if you were eligible to enroll and did enroll in the Medical Plan, you can continue coverage for
       as long as the Medical Plan is available to you. You will no longer be eligible to elect these benefits
       once you become Medicare eligible or, before that time, should Harris no longer offer these benefits
       to retirees.
       Second, you can waive Harris group coverage and purchase coverage for yourself and your eligible
       dependents through the healthcare marketplace. OneExchange is available to assist you. Once you
       select OneExchange, you cannot return to the Harris group plans should they remain available.

           ABOUT ONEEXCHANGE
           OneExchange is a prominent healthcare marketplace that can place coverage (medical, pharmacy,
           dental and vision) based on your needs and preferences. You will not be charged for using
           OneExchange as an eligible Harris retiree. OneExchange represents national and regional hea thcare
           insurers and serves the needs of tens of thousands of retirees and their dependents.

           Benefit advisors from OneExchange are prepared to answer any questions you may have about
           the services being offered to existing or prospective Harris retirees. They can be reached at
           1.844.256.0913 (pre-Medicare plans) and 1.844.256.0912 (Medicare plans), business days, from 8:00
           a.m. to 9:00 p.m. ET.

     IF YOU CAN CONTINUE COVERAGE AFTER RETIREMENT
     The following information only applies to the above referenced retirees who took retirement on
     or before December 31, 2014. If you continued medical coverage after retirement, all of the following
     will apply:

      You must not be eligible for Medicare, unless you are eligible for that benefit through a separate
      written agreement with the company
      You may only continue coverage for any eligible dependents who were covered at the time you
      retired and are not eligible for Medicare, unless you are eligible for that benefit through a separate
      written agreement with the company
      Your spouse may continue coverage under available group coverage after your death until the
      earlier: remarriage or attaining Medicare eligibility, unless you are eligible for that benefit through a
      separate written agreement with the company
      Your dependent children may continue available coverage after your death as long as they meet the
      plan's definition of eligible dependent and are not eligible for Medicare, unless you are eligible for
      that benefit through a separate written agreement with the company.

     DECLINING COVERAGE
     If you decline to continue medical coverage when you retire or if, following your enrollment, you
     discontinue retiree coverage, you won't be able to elect retiree medical coverage later or re-enroll.
     There are a few exceptions and they apply only if you are not Medicare eligible and you retired on or
     before December 31, 2014. They are:

      Following your retirement, your spouse or domestic partner who is employed by Harris covers you
      as a dependent under the Harris Medical Plan, and within 60 days following the date this coverage
      terminates, you elect retiree coverage under the Harris Medical Plan at a level no greater than that in
      effect at the time of your retirement or



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      Following your retirement, your spouse or domestic partner covers you at active rates as a
      dependent under his or her employer's medical plan, and within 60 days following the date this
      coverage terminates, you elect retiree coverage under the Harris Medical Plan at a level no greater
      than that in effect at the time of your retirement.
      Following your retirement from BCD or Harris Stratex or a successor company, and within 60 days
      following the date that coverage terminates, you elect retiree coverage under the Harris Medical
      Plan at a level no greater than that in effect at the time of your retirement.

    LEGACY EXELIS RETIREE MEDICAL COVERAGE
    If you are receiving benefits under this SPD and you were hired by a legacy Exelis entity before
    January 1, 2011, including former employees of ITT, you may be eligible for retiree medical benefits
    depending on age and service requirements. If you think you may be eligible for this benefit, you can
    obtain more details or request an enrollment packet through the Benefits Center at 1-866-488-4889
    or online at http://www.benefitsweb.com/exelis.html.


 MEDICARE-PRIMARY PARTICIPANTS
    As long as you are an active employee or not eligible for Medicare due to a disability, you will be able
    to participate in the Harris Medical Plan option of your choice as your primary coverage. The same
    holds true for your dependents — even if they are receiving Medicare.

    Medicare becomes primary for you in the event:

     You retire and are eligible for Medicare or
     You have been disabled long enough to receive Medicare due to that disability or
     You are suffering from end-stage renal disease for a period that exceeds 30 months.

    In any of these circumstances, plan provisions change for you and for any covered dependent who is
    also Medicare eligible. Here's how:

      Medicare will be considered the primary plan for you and/or your Medicare-eligible dependent.
     Coverage will be under the Comprehensive Plan and these benefits will be coordinated with
     Medicare
     The Comprehensive Plan will provide secondary coverage and assumes that Medicare-eligible
     participants have fully elected Medicare (Parts A and B) coverage. Benefits will be paid accordingly
     The Harris Medical Plan (i.e., an OAP or a CDHP) will be the primary plan for you or any other
     covered family members, that is, those who are not Medicare-eligible. Thus, coverage in your family
     will be split between the plans available to Medicare-primary participants and those generally
     available to retired or disabled employees
     There will be separate annual deductibles and annual out-of-pocket maximums that apply
     to each health and pharmacy plan covering your family members. Please note that if you
     have a midyear plan change, your deductible and out-of-pocket maximum will be applied to
     the new plan.




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     THE COMPREHENSIVE PLAN
     The Comprehensive Plan is available to employees whose disability or health condition qualifies
     them for Medicare and certain retirees who are eligible for continued coverage. (See "When you
     Retire" in this section of the SPD.). The plan covers the same expenses as described for the Medical
     Plan OAP and CDHP options. Benefits payable under this plan are coordinated with Medicare,
     meaning that Medicare pays first and the Comprehensive Plan only pays benefits after the
     deductible is met and there are covered charges in excess of the Medicare payment or you or your
     dependent has met the Comprehensive Plan out-of-pocket limit.


                                      COMPREHENSIVE PLAN BEN
       Annual deductible                                                                $250 person/$750 family
       Annual out-of-pocket limit                                                       $2,000 person/$4,000 family
       Lifetime maximum                                                                 Unlimited
       Office visits (primary, specialty, preventive care)                              Plan pays 80% of MRC
       Emergency room care or urgent care                                               Plan pays 80% of MRC
       Ambulance (emergency only)                                                       Plan pays 80% of MRC
       Professional services (e.g., surgery, radiology, patho ogy,                      Plan pays 80% of MRC
       anesthesiology)
       Lab and x-ray, advanced imaging                                                  Plan pays 80% of MRC
       Short-term rehabilitation (physical, chCropractic, speech, occupational,         Plan pays 80% of MRC
       pulmonary and cognitive therapy)
       Cardiac rehabilitation                                                           Plan pays 80% of MRC
      INPATIENT CARE

      Bed and board                                                                     Plan pays 80% of MRC
      Professional services (visits, consultations, surgery, radiology, etc.)          Plan pays 80% of MRC
      ADDITIONAL SERVICES
      Home healthcare                                                                  Plan pays 80% of MRC
      Hospice care                                                                     Plan pays 80% of MRC
      Skilled nursing facility, rehabilitation hospital or sub acute facility          Plan pays 80% of MRC
      Durable medical equipment, prosthetics                                           Plan pays 80% of MRC

     1.All benefits are subject to the annual deductible.
     2.Once plan benefits are payable, you are responsible to pay for the costs you incur that exceed 80% of MRC.
     3.Maximum reimbursable charge (MRC) is the most Cigna will pay for a specific medical service or supply. Your coinsurance is based on
       MRC, even if your provider charges more.


           GRANDFATHERED PLANS
          Healthcare reform law considers certain health plans as grandfathered plans. As such, a
          grandfathered plan can retain certain basic healthcare coverage that was in effect when healthcare
          reform legislation was enacted. Being a grandfathered plan means that the plan may not include
          certain consumer protections under healthcare reform while it is required to provide others.
          Harris believes that the Cigna Comprehensive Plan and the portions of the Cigna Global Plan
          (contact information is included in the "Benefit Administration section of this SPD) have retained
          grandfathered status. Questions regarding which protections do or do not apply and what might
          cause a plan to lose its grandfathered status can be directed to the plan administrators. Information
          is also available from the Employee Benefits Security Administration, U.S. Department of Labor at
          1.866.444.3272 or www.dol.gov/ebsa/healthreform. This website has a table summarizing which
          protections do and do not apply to grandfathered health plans.



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      YOUR PHARMACY BENEFITS
     Your coverage mirrors the plan available to active employees; however, your coverage is provided as a
     Medicare D plan. For that reason, there may be differences in what is considered a formulary vs. non-
     formulary drug between the active plan formulary and the Medicare D formulary.

    You will have access to a network of pharmacies. For a list of pharmacies, contact Benistar at
    1.800.236.4782 from 10 a.m. - 6 p.m. (ET). Plan benefts begin on day one, that is, there is no
    deductible to meet.



      PHARMACY

      Retail (up to a 30-day supply):
      • Generic                                                      Up to $7
      • Formulary brand-name drug                                    20%; $25 minimum/$75 maximum
      • Non-formulary brand-name drug                                5o%; $50 minimum/$100 maximum
      Retail maintenance (up to a 90-day supply)                     Same as retail plan. 90-day supplies are
                                                                     also available
      Mail order
      • Generic                                                     Up to $17.50
      • Formulary brand-name drug                                    20%; $62.50 minimum/$187.50 maximum)
      • Non-formulary brand-name drug                               50%; $125 minimum/$250 maximum)
      • Specialty drugs                                             50%; $125 minimum/$250 maximum)
      Annual pharmacy out-of-pocket limit                           $2,500 individual/$5,000 family




    MEDICARE
    Medicare is a federal health program for people who are age 65 and over and eligible for monthly
    Social Security benefits or railroad retirement benefits, those entitled to Social Security disability
    payments for 24 months, and those with end-stage renal disease for 30 months. There are three
    parts to the Medicare health insurance program, each covering different kinds of medical services:

     Hospital Insurance (Part A) covers most hospital expenses, participating home health care
     agencies and services and nursing home care. This program is funded by payroll taxes, so there is
     no cost to you and coverage is automatically provided to you
     Medical Insurance (Part B) is elective Medicare coverage that provides addifonal coverage
     which is paid by monthly premiums to help pay for other medical costs such as physicians' and
     surgeons' charges
     Prescription Drug Insurance (Part D) provides coverage for prescribed medications. The
     Comprehensive Plan provides your Medicare Part D prescription drug benefits through Benistar.




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      For more information, contact one of the following:

                                               •           •   ATIO
        Where                 Social Security Administration                Medicare
        Local                 Local Social Security Administration Office   Local Social Security Administration Office
        Phone                 1.800.772.1213                                1.800.633.4227
       TTY                    1.800.325.0778                                1.800.486.2048
       Online                 http://ssa.gov                                http://medicare.gov


     WHEN YOU ARE ELIGIBLE FOR MEDICARE
     Medicare becomes available to you on either the first day of the month in which you reach age
     65 or if your birthday is the first of the month, the first day of the prior month — whether you
     are retired or still working. Also, you are eligible for Medicare regardless of your age after you
     have been receiving Social Security disability payments for 2 years or if you have end-stage renal
     disease for 30 months. In certain cases, your spouse may be eligible for Medicare based on your
     work record.

     HOW AND WHEN To SIGN UP FOR MEDICARE
     Contact your Social Security Administration office at least 3 months before your 65th birthday to
     sign up for Medicare. If you plan to retire, you can apply for Medicare coverage at the same time
     you apply for Social Security benefits. When you apply for Hospital Insurance (Part A), you should
     also apply and pay for Medical Insurance (Part B) to ensure full coverage. If you enroll late or
     you drop and re-enroll, you may have to pay higher premiums. The Harris Comprehensive Plan
     provides Medicare Part D benefits for Medicare-primary participants.

     HOW HARRIS BENEFITS COORDINATE WITH MEDICARE
     If you are not actively working and you or a covered dependent qualify for Medicare and you
     and/or your dependent are enrolled in a Harris Comprehensive Plan, Medicare is your or your
     dependent's primary coverage and the Harris Medical Plan is the secondary coverage. (See
     "Coordination of Benefits" earlier in this section of the SPD.) It is your responsibility to enroll in
     Medicare. Claims will always be paid as if Medicare benefits for which you are eligible, including
     Part B, have been paid, even if you have not actually enrolled.

     Please note: in order for you to be included in Medicare coverage, you must provide your
     Medicare Claim Number for Harris' government reporting purposes through My Benefits Portal.

     MEDICARE PART D
     The Harris Medical Plan provides Medicare Part D prescription drug benefits for enrolled
     Medicare-primary participants. The federal government permits an individual to be enrolled in
     only one Medicare Part D plan. Once eligible for Medicare Part D, in order to maintain eligibility
     for the Harris Medical Plan:

      You must not elect a Medicare Part D plan from another source or you and your dependents will
      lose Harris Medical Plan coverage and
      Your Medicare-eligible dependents should not elect Medicare Part D from another source or
      they will lose their Harris Medical Plan coverage.




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 BUSINESS TRAVEL MEDICAL PLAN
    The Business Travel Medical Plan provides emergency medical insurance for injuries or illnesses
    experienced while traveling for business outside of your home country. The plan covers up to
    $100,000 of approved medical expenses per calendar year. Spouses, domestic partners and/or
    eligible dependent children may also be covered for emergency injuries or illnesses incurred while
    traveling with you on business and/or a relocation trip authorized and paid for by Harris.

    OVERVIEW OF COVERAGE:

     BENEFIT                                            COVERAGE LEVEL
      MEDICAL EXPENSES                                  $100,000 per calendar year maximum paid by the plan


      YOUR DEDUCTIBLE                                   $0

      YOUR COINSURANCE                                  0%

      MEDICAL EXPENSE SUB-LIMITS:

       Daily hosplal room and board                     The average semiprivate room rate per day pa'd by the
                                                    • plan
       Daily intensive care                             2 times the average semiprivate room rate per day paid
                                                        by the plan
       Emergency dental treatment                       $2,500 per calendar year max•mum paid by the plan

       Emergency pregnancy-related treatment            $5,000 per calendar year maximum paid by the plan




   The plan also provides coverage for emergency injuries or illnesses when you undertake a personal
   deviation or non-business activity while on your business trip. This must be:

   • Incidental to the business trip
   • Not have been taken if not for the business trip
   • Taken during the course of the business trip
   • Limited to 168 hours

   To activate your Business Travel Medical coverage when experiencing a medical event, simply
   contact International SOS. International SOS will maintain contact with Zurich, the plan insurer,
   to coordinate your care. International SOS also provides services for medical evacuations utilizing
   your Business Travel Medical coverage.




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     HOW ALTERNATE HEALTH PLANS (AI-IPS) WORK
       This SPD does not present the details of the AHPs available to you based on your status and
       location. Contact the Harris Benefits Service Center to see which AHPs are available to you.

       You should review information for your specific AHP before accessing care, including emergency
       procedures. You can request a summary of benefits from your AHP or the Harris Benefits Service
       Center. That summary of benefits together with this "Medical Plan" section, and the separate
       "Benefit Basics" and "Benefit Administration" sections of this SPD, constitute an official SPD for
       your medical plan.

       You may need to select a primary care physician (PCP) to provide or coordinate your care. (See
       your plan materials for details on how to select a PCP, if required.) Generally, when you need care,
       you first call your PCP. He/she will treat you or, if it is considered necessary, refer you to the right
       type of provider within the network.

       ENROLLMENT
       If you elect an AHP for yourself, you must elect an AHP for the family members you wish to enroll,
       even if a family member lives outside an AHP's service area. Similarly, you can't elect an AHP for
       your family members unless you have elected the AHP for yourself.
       ADDITIONAL AMP INFORMATION
       Refer to your AHP benefit summary for information about:
        Covered services
        How the plan pays benefits
        Annual and lifetime limits on plan benefits
        The extent of coverage for preventive services
        Provisions governing network providers, the composition of the network and when (if ever) out-of-
        network services are covered
        Maternity admissions-48-hour minimum maternity stay requirements
        Breast reconstruction benefits
        Where to get a provider directory
        Conditions on selecting primary care physicians or specialty providers
        Conditions or limits on obtaining emergency care
        Preauthorization or utilization review requirements
        Exclusions
        Claims and appeals
        Subrogation and right of reimbursement
        Coordination of benefits
        Contact information.




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       Refer to the Harris summary plan description for information including:

      • Eligibility and enrollment
      • Contributions for coverage
      • Rules for making mid-year election changes
      • Life change events
      • Plan funding
      • Plan name, type and number
      • Sponsor name, address and Employer Identification Number (EIN)
      • Plan administrator's name, address and phone number
      • Name and address of the agent for service of legal process
      • Plan year
      • Harris' right to amend or terminate benefit plans
      • Qualified Medical Child Support Orders (QMCSOs)
      • Information about your rights under federal law
      • ERISA rights statement
      • Military leaves of absence (USERRA provisions)
      • Family and medical leaves (FMLA provisions)
      • Right to continue coverage (COBRA provisions)
      • HIPAA privacy requirements.


      Where we have directed you to the AHP benefit summary for information about a specific
      topic, that document will determine how benefits will be paid. Where we have directed you
      to refer to the Harris SPD, that document will describe basic administrative and required
      information about Harris benefit plans.



 USE AND DISCLOSURE OF HEALTH INFORMATION
    Please refer to the separate "Benefit Administration" section of the SPD for information about the
    use and disclosure of your protected health information as related to the Medical Plan and other
    Harris health plans,


                                     illirifIrMIMMITRLA 6=14 4'1,
          TO REACH BY TELEPHONE                            1.800.225.4343 (Option 1)
              Hours                                        8:30 a.m. to 5:30 p.m. (ET), business days
          TO REACH BY FAX                                  1.844.678.6679
                                                           Within the Harris network, click here or go
                                                           through the Harris homepage
          TO REACH MY BENEFITS PORTAL
                                                           Outside the Harris network:
                                                           http://benefits.harris.com




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             My Benefits. My Choices.




                                                        Benefit Basics
                                                        summary plan description        SECTION I




                            Overview of your           Information includes:
                      Harris benefit plans and           • Eligibility
                       key information about             • Dependents
                          your participation.            • Enrollment
                                                         • Life change events
                                                         • Contributions.



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        Basics




  Things for you to KNOW…                                                     Where you can FIND…
   This Summary              This is the first section of the SPD, “Benefit
   Plan Description          Basics.” Together, this section and those
   (SPD) contains                                                                 Benefits and Total Rewards		     3
                             listed below comprise a complete SPD
   detailed                  as required by the Employee Retirement               Your Benefit Lineup			           4
   information               Income Security Act of 1974 (ERISA) for              Eligibility				5
   about Harris              certain Harris benefits                              • Employees				                  5
   employee benefits                                                              • Eligible Dependents			         6
                             I       Benefit Basics
                             II      Benefit Administration                       Enrollment/Changes to		          9
                             III     Retirement Plan                              Your Elections
                             IV      Medical Plan                                 • Enrollment/Change Overview		   10
                             V       Dental Plan                                  • How to Enroll and Make Changes 12
                             VI      Vision Care Plan                             IRS-Eligible Life Change Events  15
                             VII     Employee Assistance Program
                             VIII    Disability Plans                             • How to Process a Life Change   16
                             IX      Survivor and Accident Plans                    Event
                             X       Flexible Spending Accounts                   Contributions				                17
                             XI      Severance Pay Plan                           • Pretax Contributions			        17
                                                                                  • After-tax Contributions		      18
   There are                 Your employee status determines your                 • Taxation of Domestic			        18
                             benefit eligibility. As long as you remain
   eligibility criteria                                                             Partner Benefits
                             eligible for benefits, you can enroll your
   for benefits              eligible dependents in certain plans                 Leaves of Absence 			            19
                                                                                  • Paid Leave of Absence		        19
                             Harris reserves the right to change or               • Unpaid Leave of Absence		      19
   Benefits                  terminate any of its benefit plans and               When Participation Can Change    19
   can change                programs at any time and for any reason              or End
                             without advance notice
                                                                                  • Conversion and Portability		   19
                                                                                    Privileges
   Other benefit             The plan administrators and the Harris
                             Benefits Service Center can help you                 The Harris Benefits 			          20
   information                                                                    Service Center
                             understand and, if required, manage your
   sources                   benefits


           SPDs must be provided to participants in benefit plans that are subject to ERISA. When a plan is an
           “ERISA plan,” participants enjoy certain rights. This SPD provides detailed information as is required for
           certain ERISA plans. In addition, for your convenience, information about certain other Harris benefits
           that aren’t ERISA plans has been included (e.g., the Short-Term Disability Plan, Dependent Care Flexible
           Spending Account (FSA) and Commuter FSA). Please be aware that although this information has been
           included, these non-ERISA plans and arrangements do not offer the same rights to participants as ERISA
           plans.

           Harris maintains certain ERISA plans that are not described in this SPD. For example, separate SPDs are
           maintained for Harris’ defined benefit pension plans, the retiree medical plan maintained for certain
           legacy Exelis retirees and the retiree life insurance plan maintained for certain legacy Exelis retirees.
           Please contact the Exelis Benefits Center at 1-866-488-4889, Monday through Friday, 8:00 a.m. to
           6:00 p.m if you have questions about whether you are eligible for benefits under those other ERISA
           plans or to request copies of those SPDs.

           The receipt of this SPD does not constitute a promise of future employment or as to the terms of any
           future employment.

                NOTE! You can access all Harris SPDs through My Benefits Portal that can be reached:
                • Within the Harris network, click here or go to the Harris homepage
                • Outside the Harris network at http://benefits.harris.com.

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                                                                         Benefit Basics




Benefits and Total Rewards
  Harris offers a world-class employee benefit program, currently working with prestigious vendors
  such as Fidelity Investments, Cigna and MetLife. Harris regularly monitors our benefit program to
  ensure it is competitive and performing as expected.

  While reviewing this SPD, remember that your benefits are part of Harris’ broader total rewards
  program — My Work. My Rewards. In fact, there are 6 total rewards components that work
  together to enhance your employment experience as well as support Harris’ corporate goals and
  objectives. Each of these components represents a major investment in you as a Harris employee.


     My Work. My Rewards. — The Harris Total Rewards Program
    Compensation               Base salary and annual incentives, as applicable

    Benefits                   Health & welfare, retirement and other programs

    Work/life                  Flexible work arrangements and paid-time off programs

    Recognition                AppreciatingU

    Development                Formal training, educational assistance, informal on-the-job training and
                               certifications
    Career opportunities       Stretch job assignments, job transfers, promotions and Harris Opportunity
                               Program


  Please take the time to review the benefit information in this SPD so that you take full advantage
  of the benefits available to you.

       Which Harris Employees Are Covered by This SPD?
       The benefit program described in this SPD is generally applicable to employees of Harris
       Corporation and its domestic subsidiaries and the reference to “Harris” throughout this SPD
       generally includes Harris Corporation and those subsidiaries. A complete list of employers
       participating in the plans described in this SPD can be found in the separate “Benefit
       Administration” section of this SPD. Your personal eligibility for benefits will be impacted by how
       many hours you work each week for Harris together with certain other factors , even if you are
       employed by a participating company. (See “Eligibility” later in this section of the SPD.)




       What is Annual Benefits Base Rate (ABBR)?
       Certain benefits are based on your annual benefits base rate (ABBR). Your current base pay
       plus any incentive pay targeted for the current fiscal year, if applicable. Income from “long-
       term” incentive plans (e.g., stock options) and PRP is excluded. The maximum amount of annual
       compensation that will be considered for LTD purposes is $400,000. For employees regularly
       scheduled to work a reduced schedule (30-39 hours per week), annual base pay and, therefore,
       eligible compensation is reduced on a pro-rata basis. Also referred to as eligible compensation.



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        Basics




   Your Benefit Lineup
      This SPD contains important details about the following benefit plans. Before you get into the nuts
      and bolts, why not take a look at the breadth of these benefits. Later in this SPD, please review key
      information, including eligibility, enrollment/changes and contributions. Let’s get started.

       The Benefits          This plan…                                                                                   Cost paid by
                                                                                                                          Harris You
        Retirement Plan        Lets you save pretax, after-tax and Roth after-tax dollars and invest in plan funds.        x       x
                               A company match is paid after 1 year of service. (Note: You are not eligible for a
                               company match during any period you are accruing a benefit under the Exelis Salaried
                               Retirement Plan.) Regular, full-time employees are automatically enrolled on a pretax
                               basis, but can opt out or change the automatic elections
        Medical Plan           Provides in- and out-of-network coverage through your choice of medical and                 x       x
                               pharmacy options. Enroll yourself and eligible dependents. Premiums are paid pretax
        Dental Plan            Offers preventive, basic and major restorative dental care and orthodontia through          x       x
                               your choice of two dental options with access to a cost-effective network of preferred
                               providers. Enroll yourself and eligible dependents. Premiums are paid pretax
        Vision Care Plan       Covers the cost of comprehensive eye exams, contact lenses, corrective lenses and                   x
                               frames for you and your eligible dependents. Premiums are paid pretax
        Employee               Gives you access to confidential professional counseling to address a wide range of         x
        Assistance             personal issues. You and your household members are welcome to use the EAP, at no
        Program (EAP)          cost
        Short-Term             Pays up to 12 weeks of benefits for approved disabilities, following a 1-week waiting       x
        Disability (STD)       period before STD benefits begin
        Plan
        Long-Term              Provides income benefits during eligible disabilities lasting beyond 13 weeks. Coverage             x
        Disability (LTD)       is paid for after tax meaning benefits would be paid pretax. New hires are automatically
        Plan                   enrolled if regular, full-time employees, but can opt out of coverage
        Basic Life             Insures you for 1 times your Annual Benefits Base Rate (ABBR). There are maximum            x
        Insurance              benefits and evidence of insurability (EOI) requirements above certain high levels of
                               coverage. You’re automatically enrolled in this plan
        Supplemental Life      Allows you to increase your life insurance by up to 8 times your ABBR. There are                    x
        Insurance              maximum benefits and EOI is required in certain circumstances. Coverage is paid for
                               after tax
        Dependent Life         Lets you provide life insurance for your spouse, domestic partner and dependent                     x
        Insurance              children. EOI may be required for your spouse or domestic partner, depending on
                               when and how much insurance is being elected, but not for children. Coverage is paid
                               for after tax
        Basic Accidental       Provides up to 1 times your ABBR (subject to certain maximums) should you die or            x
        Death &                suffer a covered bodily loss as the result of a covered accident. You’re automatically
        Dismemberment          enrolled in this plan
        (AD&D)
        Supplemental           Allows you to increase your AD&D insurance by up to 8 times your ABBR (subject to                   x
        AD&D Insurance         certain benefit maximums). Coverage for dependents is also available. Coverage is paid
                               for after tax
        Business Travel        Pays up to 3 times your ABBR should you die or suffer a covered bodily loss as the          x
        Accident (BTA)         result of a covered accident while traveling on company business. You’re automatically
                               enrolled in this plan
        Flexible Spending      Lets you set aside pretax dollars to pay for eligible out-of-pocket healthcare,             x*      x
        Accounts (FSAs)        dependent care and commuter expenses. Each FSA has separate eligible expenses and
                               maximum contribution amounts defined by tax law
        Severance Pay          Can make payments under its provisions if you meet eligibility requirements following a     x
        Plan                   qualifying separation of service. The company determines who is eligible to be offered
                               severance pay
       • Company may from time to time make employer contributions

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                                                                         Benefit Basics




Eligibility
  Your employee status determines your choice of Harris employee benefits. If you are eligible for
  benefits and you are enrolled in a Harris benefit plan that offers dependent coverage, you can enroll
  your dependents as long as they meet eligibility requirements.
  Employees
  Your level of participation in Harris benefits depends on whether you are a regular full-time employee
  or a part-time or temporary employee, as follows:

  • If you are regularly scheduled to work 30 hours or more a week for Harris and not a
    temporary employee — Regular full-time employees of Harris Corporation or a participating
    domestic subsidiary can generally participate in the benefit program described in this SPD
  • If you are regularly scheduled to work less than 30 hours a week for Harris or are a
    temporary employee — Part-time and temporary employees (including interns and co-op
    employees) of Harris Corporation or a participating domestic subsidiary can participate in two plans
    described in this SPD — the Retirement Plan and Business Travel Accident (BTA) Insurance.

  Workers Not Considered Eligible Employees
  Certain individuals are not eligible for the Harris employee benefits described in this SPD, including
  the following:

  • Employees who are not on the Harris U.S. payroll or, solely for purposes of eligibility for the
    Retirement Plan, are bona fide residents of Puerto Rico
  • Non-exempt employees of Harris IT Services working under the State 6 or GSA9/CDC contracts
  • Employees performing services at the Tethered Aerostat Radar Systems program site at Lajas, PR
    (TARS-PR)
  • Employees performing services for the Pacific Missile Range Facility (PMRF) program
  • Individuals performing services under an agreement (written or oral) that contains a waiver of plan
    participation
  • Individuals whose employment is governed by a collective bargaining agreement (unless the
    agreement specifically provides for participation in certain benefit plans)
  • Individuals performing services under an agreement (written or oral) that classifies him/her as an
    independent contractor, employee of an independent contractor or other subcontract labor
  • Individuals performing services under an agreement (written or oral) with an entity, including a
    leasing organization, that is not affiliated with Harris
  • Individuals not treated as common law employees by Harris on its payroll or otherwise, without
    regard to any later determination by a court of law, the Internal Revenue Service, or other entity
    that such individuals are common law employees of Harris.

  Certain Harris employee benefits may have additional eligibility requirements that are described in
  the individual benefit descriptions within this SPD.




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      Eligible Dependents
      If you’ve elected the Medical Plan, Dental Plan and/or Vision Care Plan, you can extend coverage
      to your eligible dependents. You may also elect Dependent Life Insurance and/or Supplemental
      AD&D. You must specify which dependents you are enrolling in each healthcare plan, if any. There
      are different definitions of “eligible dependents” among the plans, so before deciding to enroll a
      dependent, be sure to double-check their eligibility.

      Please note: Under the Medical, Dental and Vision Care Plans, no individual who is enrolled as an
      employee will be considered as a dependent, nor will anyone be considered as a dependent of more
      than one employee.




                               Dependent Eligibility Definitions
       Plans         Eligible Dependents Are…
       Medical,        • Your spouse or your domestic partner and
       Dental and      • Your child (or that of your spouse or domestic partner) subject to these limits:
       Vision Care
       Plans               »» Not yet age 26 (coverage ends at the end of month in which child reaches age 26)
                           »» Age 26 or older, unmarried and, if due to mental or physical disability, you
                              provide more than one-half of his or her support and he or she is incapable of
                              self-sustaining employment. Proof of the child’s condition and dependence must
                              be submitted to the Harris Benefits Service Center within 30 days after the date
                              the child attains age 26. After that, Harris may, from time to time, require proof
                              of the continuation of such condition and dependence. A mentally or physically
                              disabled child is not an eligible dependent for healthcare plan purposes if he or
                              she became mentally or physically disabled after he or she attained age 26 or if
                              the child was not covered by the plan at the time that he or she attained age 26.
                              Even if the child was covered by the plan at the time that he or she attained age
                              26, a mentally or physically disabled child of a rehired employee is not an eligible
                              dependent for health care plan purposes if the child is age 26 or older at the time
                              of the employee’s rehire.




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                            Dependent Eligibility Definitions
  Plans         Eligible Dependents Are…
  Medical,       Definitions within the definition…
  Dental and
  Vision Care    SPOUSE for purposes of this definition means a person who is legally married to you under
  Plans          the laws of any domestic or foreign jurisdiction that has the legal authority to sanction
                 marriages. The term “spouse” does not include your domestic partner or a person with whom
                 you have entered into a civil union (or other similar formal relationship).
                 DOMESTIC PARTNER for purposes of this definition means a same-gender or opposite-
                 gender partner who meets certain requirements outlined in the Harris Domestic Partner
                 Affidavit. If you have enrolled a domestic partner and/or the children of a domestic partner,
                 you must have a signed affidavit on file with the Harris Benefits Service Center.
                 CHILD for purposes of this definition means:
                  • A biological child of you, your spouse or your domestic partner
                  • A child legally adopted by you, your spouse or your domestic partner
                  • A child legally placed for adoption with you, your spouse or your domestic partner
                    (irrespective of whether the adoption has become final)
                  • A child who is a sibling, niece, nephew or grandchild of you, your spouse or your domestic
                    partner if the child’s parent does not live with you and
                  • A child you, your spouse or your domestic partner are required to provide health insurance
                    for pursuant to a qualified medical child support order (QMCSO).
                 If the child is not your biological son or daughter, stepson or stepdaughter, a biological child
                 of your domestic partner, a child legally adopted by you, your spouse or domestic partner, or
                 a child legally placed with you, your spouse or domestic partner for adoption, the child must
                 meet one of the above criteria as well as the following requirements to be considered an
                 eligible dependent under the healthcare plans. The child must:
                  • Be unmarried
                  • Live with you at least one-half of the calendar year
                  • Depend on you for more than one-half of his or her support for the calendar year and
                  • If age 19 through age 25, be either:
                      »» A full-time student at an accredited college or university. Proof of the child’s age and
                         status as a full-time student must be submitted promptly upon request by Harris. If a
                         child loses full-time student status due to illness or injury or goes on a medical leave
                         of absence from school, eligibility may continue under the healthcare plans for up to 1
                         year (but in any case ends at age 26). A physician’s written certification that the reduced
                         schedule or leave of absence is necessary due to severe illness or injury is required; or
                      »» Incapable of self-sustaining employment due to a mental or physical disability. Proof of
                         the child’s condition and dependence must be submitted to the Harris Benefits Service
                         Center within 30 days after the date the child otherwise ceases to qualify for health plan
                         coverage. After that, Harris may, from time to time, require proof of the continuation of
                         such condition and dependence. Such a mentally or physically disabled child is not an
                         eligible dependent for healthcare plan purposes if he or she was not covered by the plan
                         at the time that he or she attained age 19 or at the time of the occurrence of the physical
                         or mental disability, whichever occurred later. In addition, such a mentally or physically
                         disabled child is not an eligible dependent for health care purposes if he or she is age 19
                         or older and mentally or physically disabled at the time of your hire or rehire.




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                                 Dependent Eligibility Definitions
     Plans          Eligible Dependents Are…
     Dependent        • Your spouse or domestic partner
     Life and         • Your child (or that of your spouse or domestic partner) who is primarily supported by and
     Supplemental       living with you, subject to these age limits:
     AD&D
     Insurance            »» Not yet age 26 or
     Plans                »» Age 26 or older, if due to mental or physical disability, is incapable of self-sustaining
                             employment. Proof of the child’s condition and dependence must be submitted to
                             the Harris Benefits Service Center within 30 days after the date the child attains age
                             26. After that, Harris may, from time to time, require proof of the continuation of such
                             condition and dependence. Such a mentally or physically disabled child is not an eligible
                             dependent for Dependent Life or Supplemental AD&D Insurance purposes if he or
                             she was not covered by the plan at the time that he or she attained age 26 or if he or
                             she became mentally or physically disabled after attaining age 26. In addition, such a
                             mentally or physically disabled child is not an eligible dependent for Dependent Life or
                             Supplemental AD&D Insurance purposes if he or she is age 26 or older and mentally or
                             physically disabled at the time of your hire or rehire.

                     Definitions within the definition…

                     SPOUSE for purposes of this definition means a person who is legally married to you under the
                     laws of any domestic or foreign jurisdiction that has the legal authority to sanction marriages.
                     The term “spouse” does not include your domestic partner or a person with whom you have
                     entered into a civil union (or other similar formal relationship).
                     DOMESTIC PARTNER for purposes of this definition means a same-gender or opposite-gender
                     partner who meets certain requirements outlined in the Harris Domestic Partner Affidavit.
                     If you have elected life insurance for your domestic partner and/or the children of a domestic
                     partner, you must have a signed affidavit on file with the Harris Benefits Service Center.
                     CHILD for purposes of this definition means:

                      • A biological child of you or your spouse or domestic partner
                      • A child legally adopted by you or your spouse or domestic partner
                      • A child legally placed for adoption with you or your spouse or domestic partner (irrespective
                        of whether the adoption has become final).




             Eligible Dependents for FSA Expenses
             You can pay expenses for your dependents through the Healthcare and Dependent Care FSAs.
             These FSAs have definitions of eligible dependents that are driven by tax law. (See the separate
             “Flexible Spending Accounts” SPD if you are interested in these definitions.)




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Enrollment/Changes to Your Elections
 Plans with automatic enrollment that can’t be changed — The company offers certain benefits
 (STD, Basic Life Insurance, EAP, Basic AD&D, BTA and Severance Pay) at no cost to you. You do not need
 to enroll in these benefits and no decisions are required about your level of participation. Eligibility for
 the Severance Pay Plan is automatic; however, severance pay isn’t automatic. You must experience a
 qualifying termination of employment to be eligible for severance pay.

 Plans with automatic enrollment that can be changed — Two plans have automatic enrollment
 features when you’re a regular full-time new hire: the LTD Plan and the Retirement Plan. You can opt
 out of either of these automatic elections at any time. In the case of the Retirement Plan, you can also
 modify your level or form of plan participation. Both plans require contributions to participate. (If you
 are a temporary or part-time new hire, you can participate in the Retirement Plan but must affirmatively
 elect to enroll.)

 Plans requiring enrollment to participate — There are optional benefits in which you can choose to
 enroll (Medical, Dental, Vision Care, Supplemental Life, Dependent Life, Supplemental AD&D and FSAs).
 You can elect to participate in these plans as a new hire or at certain times during your employment.
 You pay to participate in these plans.

      A big plus — new hire enrollment
      Initial enrollment — that is, enrollment within the first 30 days of employment — offers you advantages
      including less restrictive evidence of insurability (EOI) on certain plans (LTD, Supplemental Life and
      Dependent Life). Also, starting your Retirement Plan participation right away maximizes the time in which
      you can save, invest and build your future financial security.

 Once you have enrolled in a benefit plan, you can make changes in your elections but, depending on
 the benefit plan, there are likely to be specific time frames in which changes will be permitted (e.g.,
 for most pretax health & welfare benefits, it’s annual enrollment or following a consistent life change
 event). There are also limits to certain changes you can make (e.g., following a life event, you are limited
 to the amount of new life insurance elections without EOI and you are limited to changing your level of
 medical coverage but not your medical option). Also, you may need to provide EOI for many survivor
 elections and LTD elections. There are also plans that allow enrollments or changes at any time (e.g.,
 Retirement Plan, survivor and accident benefits, LTD and Commuter FSAs). These and other ins- and-
 outs are outlined on the following pages.

 If you are about to enroll in or make changes to your benefits, refer to the chart on the next page. Find
 the occasion on which you intend to enroll or make a change and review the impact on the various
 benefits available to you. You will see that enrollments or benefit changes can be made:

 • As a new hire
 • During annual enrollment
 • Midyear following a life change event and
 • Midyear without a life change event (in certain cases).

 The chart provides a high-level overview. Before enrolling in or making changes to your benefits,
 refer to the more detailed information that follows the chart and the individual SPDs for the
 benefit plans. It is important that you fully understand what you must do to enroll or make
 changes and what plan provisions can impact your elections. For example, there are various
 reasons why life insurance elections — personal and dependent — may require EOI. The
 separate “Survivor and Accident Plans” SPD describes these circumstances.

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                                             Enrollment/Change Overview
     When       The Plans…                   When Benefits go into Effect…                                   When You Can Make
     You’re                                                                                                  Changes…
     Enrolling…
     New hire/           Basic Life,         Your hire date if you are a regular/full-time employee          No changes permitted
     automatic           Basic AD&D, BTA,    (newly hired part-time or temporary employees are eligible
                         STD, EAP            for BTA)
                         LTD                 Your first day of employment as a regular, full-time            • Anytime, subject to EOI if not
                                             employee, unless you opt out or aren’t at work that day;          following a life change event
                                             does not require re-enrollment to continue participation        • Anytime to suspend coverage
                         Retirement (for     30 days following your hire date as long as you don’t opt       Anytime, subject to plan provisions
                         regular full-time   out; does not require re-enrollment to continue same level
                         employees only)     of participation; enrollment for part-time and temporary
                                             employees is not automatic and requires an election
                         Severance           After 90 days of employment , to the extent you are eligible    No changes permitted
     New hire/           Medical, Dental,    For you and your dependents — Your hire date; does not          • During the next annual enrollment or
     optional — If       Vision Care         require re-enrollment to continue same elections unless         • After a life change event or
     enrollment                              specified in your annual enrollment materials                   • For the Medical Plan only, during a
     occurs within the                                                                                         special enrollment period
     first 30 days of    Supplemental        For you and dependents — Your hire date; however,               • Anytime to enroll/subject to EOI
     employment          Life and            amounts over certain levels of personal and spouse life will    • Anytime to suspend or reduce
                         Dependent Life      be pended awaiting satisfactory EOI; does not require re-         coverage
                                             enrollment to continue same level of participation unless
                                             specified in your annual enrollment materials. No EOI            (The need to provide EOI can vary
                                             required for child life                                         depending on the change being
                                                                                                             requested and the timing)
                                             (For dependents who are disabled or hospitalized, the
                                             effective date of their coverage will be deferred until
                                             return to normal activities and release from the facility)
                         Supplemental        For you and dependents — Your hire date                         Anytime
                         AD&D
                         Healthcare FSA      As of your hire date through the end of the current             • During the next annual enrollment or
                         and Dependent       calendar year; REQUIRES re-enrollment to continue               • After a life change event
                         Care FSA            participation into a new calendar year
                         Commuter FSA        As of the first of the next month if you enroll by the          Anytime
                                             tenth of the current month or, if you miss the deadline,
                                             participation will begin as of the following month
                         Retirement          As soon as administratively possible after your active          Anytime, subject to plan provisions
                         (for part-time      enrollment; does not require re-enrollment to continue
                         and temporary       same level of participation
                         employees only)
     Annual              Medical, Dental,    For you and your dependents — As of January 1 of the new        • During the next annual enrollment or
     enrollment          Vision Care         calendar year                                                   • After a life change event or
                                                                                                             • In the case of the Medical Plan, during
                                                                                                               a special enrollment period
                         Supplemental        For you and dependents — As of January 1 of the new             • Anytime to enroll/subject to EOI
                         Life and            calendar year; however, coverage requiring EOI will be          • Anytime to suspend or reduce
                         Dependent Life      pended until satisfactory EOI is approved. No EOI for child       coverage
                                             life. There are plan limits that apply to increasing coverage
                                                                                                             (The need to provide EOI can vary
                                             (For dependents who are disabled or hospitalized, the           depending on the change being
                                             effective date of their coverage will be deferred until         requested and the timing)
                                             return to normal activities and release from the facility.)
                         Supplemental        For you and dependents — As of January 1 of the new             Anytime
                         AD&D                calendar year
                         Healthcare FSA,     As of January 1 of the new calendar year but only if you        • During the next annual enrollment or
                         Dependent Care      actively enroll in these FSAs                                   • After a life change event
                         FSA



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                                        Enrollment/Change Overview
When       The Plans…                   When Benefits go into Effect…                                     When You Can Make
You’re                                                                                                    Changes…
Enrolling…
Midyear              Medical, Dental,   For you and dependents — Effective date varies based on           • During the next annual enrollment or
enrollment with      Vision Care        the life change event                                             • After a life change event or
a qualified life                                                                                          • In the case of the Medical Plan,
change event                            (Exception: If requesting medical coverage for a newborn,           during a special enrollment period
— If election                           newly adopted or newly placed child, you have 60 days to
change is                               make the request for coverage. Elections made after 30
requested within                        days will be effective as of the date of the request. If family
30 days of a life                       coverage is in effect, elections retroactive to the date of
change event                            the event will be allowed for up to 90 days following the
(See                                    birth, adoption or placement for adoption.)
“IRS-Eligible Life   LTD Plan           For you — Effective date varies based on the life change          Anytime
Change Events”                          event. EOI is not required
later in this SPD)   Supplemental       For you and your dependents — Effective date varies               • Anytime to enroll/subject to EOI at
                     Life and           based on the life change event                                      certain levels
                     Dependent Life                                                                       • Anytime to suspend or reduce
                                        Coverage requiring EOI will be pended until satisfactory            coverage
                                        EOI is approved. No EOI required for child life. There are
                                        plan limits that apply to increasing coverage                     (The need to provide EOI can vary
                                                                                                          depending on the change being
                                        (For dependents who are disabled or hospitalized, the             requested and the timing)
                                        effective date of their coverage will be deferred until
                                        return to normal activities and release from the facility.)

                     Supplemental       For you and your dependents — Effective date varies               Anytime
                     AD&D               based on the life change event
                     Healthcare FSA,    Effective date varies based on the life change event              • During the next annual enrollment or
                     Dependent Care                                                                       • After a life change event
                     FSA

Midyear              Retirement Plan    As soon as practicable following the request for enrollment       Anytime, subject to plan provisions
enrollment                              or change in elections
with NO
life change          LTD Plan           As soon as practicable following your request and the             • Anytime to enroll/subject to EOI
event — Can be                          approval of your EOI                                              • Anytime to suspend coverage
requested at
anytime              Supplemental       As soon as practicable; however, changes may be subject           • Anytime to enroll/subject to EOI
*
  Also see           Life and           to EOI                                                            • Anytime to suspend or reduce
“Special             Dependent Life                                                                         coverage
Enrollment                                                                                                (The need to provide EOI can vary
Period for the                                                                                            depending on the change being
Medical Plan”                                                                                             requested and the timing)
later in this
section of the       Supplemental       As soon as practicable                                            Anytime
SPD                  AD&D
                     Commuter FSA       As of the first of the next month if you enroll by the tenth of   Anytime
                                        the current month or, if you miss the deadline, participation
                                        will begin as of the following month




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           4 Enrollment Basics
           1. Your health & welfare benefit elections (healthcare, disability, accident and survivor plans as well
               as the Commuter FSA) generally can carry over from year-to-year, unless Harris requires re-
               enrollment for a specific plan year. On the other hand, Healthcare and Dependent Care FSAs must
               be re-elected annually to continue participation.

           2. Medical Plan, Dental Plan, Vision Care Plan, Healthcare FSA and Dependent Care FSA elections
               require a life change event to modify participation during a calendar year, and that life
               change event must be consistent with the request for change. Evidence of Insurability (EOI)
               will be required for certain disability and life insurance changes other than to waive or
               decrease coverage. Coverage requiring EOI cannot go into effect unless approved by the claim
               administrator.

           3. LTD coverage is automatic for new full-time regular employees on the first day at work and does
               not require EOI. You can opt out of this coverage if you wish. After that time, LTD can be elected
               at anytime; however, you will have to provide satisfactory EOI. The only exception is if you make
               this election within 30 days of a life change event. LTD coverage is always subject to preexisting
               conditions.

           4. Retirement Plan enrollment is automatic for regular, full-time employees; however, these
               employees can opt out of the plan or change their level or form of participation at any time.
               Temporary or part-time employees may participate in the Retirement Plan but must affirmatively
               elect to enroll.




      How to Enroll and Make Changes
      It depends on the plan:

       • All health & welfare plans — Go through My Benefits Portal


        If you are enrolling dependents: be sure to check their eligibility for the plan and be prepared
        to enroll each dependent separately on the online system. Your dependents must be properly
        identified in the enrollment system or they will not be covered! You will periodically be asked to
        provide proof of dependent status.


       • Retirement Plan — Go to www.netbenefits.com/harris or call the Retirement Plan Services Center
         at Fidelity at 1.877.320.4015

      More detailed enrollment information about each plan is found in its SPD. Please take a look
      before you enroll in a specific plan or make changes to your benefit elections.




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     Reminders About Annual Enrollment

      • Annual enrollment is your once-a-year opportunity to make changes to many of your health &
       welfare benefit plans.

      • Unless Harris requires you to participate in annual enrollment (usually required if there are
       significant plan changes), your health & welfare elections will generally carry over to the next
       plan year with updated prices. Exceptions: you must enroll to participate in the next year’s
       Healthcare or Dependent Care FSA or to change your health & welfare benefit plan selections or
       levels of coverage. You must also enroll any new eligible dependents that you wish to add to your
       coverage.

      • If participation in annual enrollment is mandatory, you will be notified through your annual
       enrollment materials and the consequences of not enrolling, when required, will be explained.

      • Elections in place when annual enrollment closes will be in place for you throughout the next plan
       year unless you have a life change event and follow the process for changing your elections, or
       the plan permits mid-year changes without a life change event.



 Rehired Associates
 Health & welfare plans — Here is what happens to benefits other than your Retirement Plan
 election if:

 • You leave Harris and are rehired within 30 days­— The benefit elections you had in place
   immediately before you left will be automatically reinstated (provided you still meet the
   eligibility requirements). Your benefit coverage will become effective on your first day of work
 • You leave Harris and are rehired more than 30 days thereafter — You will be eligible to
   make new benefit elections (provided you still meet the eligibility requirements).

 Retirement Plan — If you leave Harris and are reemployed as an eligible full-time, regular
 employee, unless you elect otherwise, you will be automatically enrolled in the Retirement Plan
 after 30 days from your rehire date and begin making pretax contributions equal to 6% of your
 eligible compensation. If you want to change this participation level or type of contributions, contact
 the Harris Retirement Plan Services Center at Fidelity. If you are reemployed as an eligible part-time
 or temporary employee, you can participate in the Retirement Plan immediately, but must actively
 enroll. (See “Crediting Service” in the separate Retirement Plan SPD for information on how your
 service is determined following reemployment.)




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      Special Enrollment Period for the Medical Plan
      There are two other exceptions to the general prohibition against mid-year enrollments under the
      Medical Plan.

       • The Health Insurance Portability and Accountability Act of 1996 (HIPAA) — This legislation
         provides you, your spouse and your eligible dependents with certain special enrollment rights
         that allow you to elect coverage under the Medical Plan during the plan year, outside annual
         enrollment.													
         						
         Specifically, if you decline medical coverage for yourself, your spouse or your eligible
         dependents because of other health coverage, then you, your spouse or your eligible
         dependents may be able to enroll in the Medical Plan in the future if you lose your other
         coverage under certain circumstances (or if the employer stops contributing towards the cost
         of the other coverage). Also, if you have a new spouse or dependent as a result of marriage,
         birth, adoption, or placement for adoption, you may be able to elect coverage for yourself, your
         spouse and your eligible dependents under the Medical Plan. You must request enrollment
         within 30 days of the event that triggers these special enrollment rights.

       • The Children’s Health Insurance Program Reauthorization Act of 2009 (CHIPRA) ­— This
         law expands your rights to special enrollment. You must request enrollment within 60 days of
         the event that triggers these special enrollment rights.

                  »»Special enrollment rights are available if the Medicaid or state Children’s Health
                    Insurance Program (CHIP) coverage of you, your spouse, or your eligible dependents
                    is terminated as a result of a loss of eligibility
                  »»Special enrollment rights are available if you, your spouse, or your eligible
                    dependents become eligible for State premium assistance from Medicaid or a
                    Children’s Health Insurance Program.

      In the case of special enrollment due to birth, adoption, or placement for adoption, coverage
      will be effective as of the date of such event. With respect to the other special enrollment events,
      coverage will be effective as of the date of your enrollment election.

      To request special enrollment or to obtain more information, contact the Harris Benefits
      Service Center.




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IRS-Eligible Life Change Events
  Life change events include the following IRS-approved events:

  • Events that change your legal marital status, including marriage, divorce, death of spouse,
    legal separation, and annulment
  • Events that change your number of eligible dependents, including the birth, placement for
    adoption or adoption of a child, or the death of a dependent
  • Events that change the employment status of you, your spouse or other eligible dependents
    as follows:
             »»A termination or commencement of employment
             »»A commencement of or return from an unpaid leave of absence
             »»A strike, lockout, or change in worksite
             »»A change in employment status that results in a loss or gain of eligibility to
               participate in a plan (such as your spouse’s loss of coverage from his/her
               employer because of a change in status from salaried to hourly status)

  • Events that cause your dependent (as defined by the specific plan) to satisfy or cease to
    satisfy eligibility requirements for coverage on account of attainment of age, student status,
    or a similar circumstance
  • Certain changes in the place of residence of you, your spouse, or other eligible dependents
    that affect your coverage options, such as moving to a ZIP code that is not covered by your
    then-current medical plan election (this does not apply to the Healthcare FSA)
  • The enrollment by you, your spouse, or other eligible dependents in Medicare or Medicaid
    coverage or the loss of eligibility for such coverage
  • The entry of a judgment, decree, or order resulting from divorce, legal separation,
    annulment, or change in legal custody, that orders coverage for your dependent child
    (provided that such coverage actually occurs, in the case of coverage to be provided by a plan
    other than a Harris plan)
  • A change in your coverage or the coverage of your spouse or other eligible dependent made
    during an open enrollment period or as the result of an IRS-eligible life change event under
    another employer’s plan (this does not apply to the Healthcare FSA)
  • For the Dependent Care FSA, you hire a new dependent care provider or you otherwise
    experience a change in your work-related dependent care costs
  • Loss of your coverage or the coverage of your spouse or other eligible dependent under
    a plan sponsored by a government or educational institution (this does not apply to the
    Healthcare or Dependent Care FSA)
  • Your enrollment (and that of your spouse or other eligible dependent) in medical coverage
    under the Exchange during an Exchange-approved annual or special enrollment period. (This
    applies only to revocation of coverage under the Medical Plan.)

  For a complete list (or further description) of life change events, consult the Harris Flexible
  Benefits Plan document.

      Enrolling or Terminating Coverage for a Domestic Partner
      You can enroll or waive coverage for a domestic partner at any time. You do not need to experience
      a life change event. However, a consistent life change event is required to add or remove coverage
      for the child of a domestic partner.


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      How to Process a Life Change Event
      To enroll or modify your election following a life change event, go to My Benefits Portal. You will be
      able to enter the pertinent information about the life change event and request the changes you
      wish based on the event. You may be asked to provide proof of the status change.

      What’s a “consistent” election?
      Any requested change in your elections must be “consistent” with the life change event. To be
      consistent, the requested change must be necessary or appropriate as a result of the life change
      event. For example, if you have a baby during the year, you can open a Dependent Care FSA to cover
      eligible work-related, child-care expenses for the new baby. You couldn’t add dental coverage for
      your spouse based on that specific life change event. Here’s another example: If you are enrolled in
      a medical option and add a dependent, you cannot change the medical option you are in but you
      can change your coverage tier to include the new dependent.

      Time Frames for Making Life Change Event Elections
      You generally must make your election within 30 days of the life change event, regardless of the
      type of benefit change you are requesting. There is an exception if you are requesting a change
      in medical coverage for your newborn, newly adopted child, or child newly placed with you for
      adoption. In this case, you can make your change in medical election up to 60 days (or in certain
      cases, 90 days) following the event, as further described below.

      Effective Date of Election Change
      Changes requested within 30 days — Coverage will be effective on the date of the life change
      event for birth, adoption, placement for adoption or the loss of plan eligibility. Elections for other
      life change events will be effective as of the date the change is elected. If EOI is required, however,
      the change will not go into effect until the claim administrator receives satisfactory EOI.

      Changes requested after 30 days — The only changes permitted later than 30 days of the life
      change event are medical plan changes requested within 60 days of a birth, adoption or placement
      for adoption. Unlike changes requested within the first 30 days after the life change event, the
      effective date will be the date on which you make the request for the medical benefit change. If you
      already have family medical coverage, special rules apply: You can add a newborn, newly adopted
      child or child newly placed with you for adoption within 90 days of the event and coverage will be
      retroactive.

          Don’t delay to 60 days!

          Things can get hectic when a new child enters your life; however, make a note to yourself to
          request your medical coverage change within the first 30 days following the birth, adoption or
          placement for adoption! That way, the child will be covered from the date of the life change event.
          If you make the change after that time, during the first 60 days following the life change event,
          unless you already have family medical coverage, the child’s coverage will not go into effect until
          the day you make the request. This means that the child’s medical expenses incurred prior to the
          election change will not be covered by the Medical Plan. You are encouraged to make the change
          within the initial 30-day period!




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 Failing To Make a Timely Election Change After a Life Change Event
 If you fail to make a timely election change for a life change event, you cannot enroll or make
 changes in your current health plan, Healthcare FSA or Dependent Care FSA elections until the
 next annual enrollment or, if earlier, until you experience another life change event. Elections for
 coverage under other plans are possible although special provisions may apply. (See “Enrollment/
 Change Overview” earlier in this section of the SPD.)


Contributions
 Depending on which health & welfare benefits you elect, you could be making pretax or after-tax
 contributions for these plans each payroll period. On the other hand, the Retirement Plan lets you
 put aside savings on a pretax, after-tax, and/or Roth 401(k) after-tax basis.

 Pretax Contributions
 Pretax contributions are a way for you to purchase certain health & welfare benefits and to save for
 retirement on a tax advantageous basis. There are differences in the way pretax contributions work
 in regard to health & welfare vs. retirement benefits. Here’s a summary of important information that
 you should know:

 • Health & welfare benefits — Through the Flexible Benefits Plan, you contribute premiums
   for your Medical Plan, Dental Plan and Vision Care Plan coverage on a pretax basis. All FSA
   contributions are also made with pretax dollars. You don’t pay federal income taxes, Social
   Security and, in most states, state or local income taxes on the pretax dollars you use to pay for
   these benefits. Simply put, the amount of income that is taxed is reduced by what you pay pretax
   for these benefits. This can put more income in your pocket — today. Tax law imposes limits
   on your ability to change certain of your pretax benefit elections during a calendar year. (See
   “Enrollment/Changes to Your Elections” earlier in this section of the SPD.)
 • Retirement Plan — Your contributions to the Harris Retirement Plan can be made with pretax
   dollars that are unreduced by federal and most state and local income taxes. Social Security
   taxes, however, do apply. Pretax contributions to the Retirement Plan provide an immediate
   reduction in your taxable earnings and grow on a tax-deferred basis while in the plan. In
   exchange for these short- and long-term tax advantages, there is restricted access to these
   dollars once placed in the Retirement Plan.
 • Pretax contributions and IRS limits — The amount of pretax pay you can contribute to the
   Retirement Plan and FSAs is subject to IRS limits. Be sure to refer to the separate “Retirement
   Plan” and “Flexible Spending Accounts” sections of the SPD for more information about possible
   tax savings and limits. If you have any further questions, you should consult your tax advisor.




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      After-Tax Contributions
      Unlike pretax contributions, after-tax contributions have been reduced by federal, Social Security,
      state and local taxes before you use them to purchase health & welfare benefits or contribute
      toward your retirement savings. Here’s more information on after-tax contributions
      as they apply to:

       • Health & welfare benefits — The LTD, Supplemental Life Insurance, Supplemental AD&D and
         Dependent Life Insurance Plans require after-tax contributions. After-tax contributions are
         not subject to the same restrictions imposed on pretax contributions. For example, you can
         change your LTD Plan, Supplemental and Dependent Life, and Supplemental AD&D elections
         more freely than you can change most types of annual pretax elections (e.g., medical elections).
         Another advantage of paying on an after-tax basis impacts the LTD Plan. LTD Plan payments, for
         those who qualify for these benefits, would generally not be considered as taxable income since
         your LTD Plan premiums were paid with after-tax dollars
       • Retirement Plan — Even though after-tax contributions are taxed before they go into the plan,
         your investments will grow in a tax-deferred environment until distribution. The Retirement
         Plan permits two types of after-tax contributions: regular after-tax contributions and Roth
         401(k) after-tax contributions. There are differences in the tax treatment and advantages of
         regular after-tax contributions and Roth 401(k) after-tax contributions. Before electing one or
         the other, make sure you fully understand the differences. For example, the amount of pay
         you can contribute to the plan on a Roth 401(k) basis is subject to IRS limits and Roth 401(k)
         contributions have greater distribution restrictions than regular after-tax contributions. (Before
         electing, see the separate “Retirement Plan” section of the SPD.)

      Taxation of Domestic Partner Benefits
      If you enroll your domestic partner (and/or his/her children) in the Medical Plan, Dental Plan or
      Vision Care Plan, the amount of your premiums for such coverage that is attributable to the cost
      of coverage for your domestic partner (and/or his/her children) may be taxable income to you. In
      addition, you will see imputed income in your paycheck for Harris’ contribution toward the health
      coverage of your domestic partner (and/or his/her children). These amounts will also be subject
      to Social Security taxes. Certain states may exempt these amounts from taxation for state income
      tax purposes if you and your domestic partner meet the state requirements for an exemption. In
      addition, these amounts will be exempt from federal and state taxation if your domestic partner
      (and/or his/her children) qualifies as your tax dependent.




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Leaves of Absence
  Here is how your eligibility for Harris benefits is affected by taking a leave of absence. All benefits
  end after 90 days on a leave of absence except during certain military leaves or while receiving
  payments under the Harris or a legacy Exelis LTD Plan. In addition, should your employment
  terminate while on educational or general leave, you are not eligible for severance pay.

  Paid Leave of Absence
  While you are on a paid leave of absence, all of the Harris benefits in which you are enrolled on
  your last day of active work generally will continue. Your benefit contributions will be withheld
  from your pay as they were while you were actively at work; however, you cannot collect benefits
  under BTA Insurance.
  Unpaid Leave of Absence
  Generally, your health & welfare benefits can continue during an unpaid leave of absence, but
  no longer than 90 days, even if your leave is extended. You can, however, opt to suspend benefit
  coverage while you are on an unpaid leave. For coverage to continue, you are required to make
  contributions on a timely basis for benefits that are not entirely paid for by Harris.

  If you go on an unpaid leave of absence, you will receive instructions for payment of your
  benefits. Since these contributions will not be deducted from your pay, they are considered after-
  tax contributions and will not reduce your pay for income tax purposes. If you don’t make the
  required contributions, your benefits may be discontinued.

  While on an unpaid leave, you cannot participate in the Retirement Plan, STD Plan or BTA
  Insurance.

When Participation Can Change or End
  There are occasions when your participation in a plan can change or end. For plan-specific
  information, refer to the individual plan SPDs. (For information on life change events that permit
  mid-year changes in your plan elections, see “IRS-Eligible Life Change Events” earlier in this section
  of the SPD.)

  Conversion and Portability Privileges
  There are policy conversion and portability privileges available for Harris survivor and accident
  benefits. For details on these privileges, refer to the separate “Survivor and Accident Plans” section
  of the SPD.




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                       Harris Benefits Service Center
            TO REACH BY TELEPHONE                  1.800.225.4343 (Option 1)
               Hours                               8:30 a.m. to 5:30 p.m. (ET), business days
            TO REACH BY FAX                        1.844.678.6679
                                                   Within the Harris network, click here or go
                                                   through the Harris homepage
            TO REACH MY BENEFITS PORTAL
                                                   Outside the Harris network:
                                                   http://benefits.harris.com




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             My Benefits. My Choices.




                                                        Benefit Administration
                                                        summary plan description        SECTION II




                            Important details          Information about:
                           about benefit plan            • Plan administration
                      administration, process            • Benefit preauthorization
                       and participant rights.           • Claims and appeals
                                                         • HIPAA, ERISA and
                                                           COBRA rights.



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              The Role of a Plan Document
              This Summary Plan Description (SPD) also constitutes the “plan document”
              for most Harris Corporation benefit plans described in this SPD. A separate
              plan document is available for the Flexible Benefits Plan that permits pretax
              contributions to certain health plans and a Health Savings Account, and governs
              the Health Care and Dependent Care Flexible Spending Accounts. Additionally,
              a separate plan document governs the Harris Retirement Plan. Further, for the
              alternate health plans (e.g., an HMO) offered under the Harris Medical Plan,
              additional alternate health plan documents are available that provide further
              details about coverage and these documents constitute part of the official plan
              document. Finally, the insured plans include an insurance contract and the self-
              funded plans generally have administrative services agreements that form part
              of the official plan documents for those plans. You can request copies of these
              documents, contracts, policies and agreements by contacting the Harris Benefits
              Service Center.

              No supervisor, manager, employee or other representative of Harris, its
              subsidiaries or any third party is authorized to enter into any agreement
              contrary to the terms of this SPD or any applicable plan document, alternate
              health plan document, insurance contract or insurance policy or administrative
              services agreement. If there is a conflict between what is communicated by
              a representative or third party and the plan documents, the plan documents
              will prevail. If there is a conflict between the plan documents for the Flexible
              Benefits Plan and Retirement Plan or any insurance contracts and this SPD, the
              plan documents or insurance contracts will prevail.




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   Together, this description of the administration of the Harris benefit plans, along with the separate
   “Benefit Basics” section and the sections containing individual plan descriptions (as well as the documents
   incorporated by reference herein), comprise a complete Summary Plan Description (SPD) for each Harris
   benefit plan described in this SPD and covered by the Employee Retirement Income Security Act of 1974
   (ERISA). You are encouraged to take the time to read this section of the SPD so that you understand your
   rights, Harris Corporation’s rights and the procedures you need to follow should certain situations occur.
   Although the STD Plan, Dependent Care FSA and Commuter FSA are not ERISA plans, information about
   these plans has been included when appropriate in the following administrative information.

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   Quick LOOK — Plan Terminology
       Affordable Care Act — A federal statute signed into law in 2010 as a part of healthcare reform.
       The law includes multiple provisions that will take effect over a number of years, including the establishment
       of health insurance marketplaces/exchanges and patient protections such as prohibiting health insurers
       from denying coverage due to preexisting conditions.
       Appeal — The process of asking the plan administrator or its delegate to reconsider a benefit
       determination. There are specific appeal procedures for each benefit plan.
       Authorization — The process of requesting approval for a health service or supply to determine if benefits
       are payable, ordinarily in advance of incurring the expense. Requesting authorization beforehand is referred
       to as precertification. Cigna maintains a list of inpatient and outpatient care requiring authorization. Express
       Scripts requires authorization for certain prescribed medications.
       COBRA — The Consolidated Omnibus Budget Reconciliation Act of 1986. This law provides, in certain
       circumstances, the option for plan participants or their dependents to elect continuing group healthcare
       coverage beyond the date when their coverage would ordinarily terminate.
       Employer Identification Number (EIN) — A unique identification number that is assigned to a
       business entity by the Internal Revenue Service. The EIN for Harris Corporation is XX-XXXXXXX. (See “Benefit
       Plan Administrative Facts” later in this section of the SPD for a complete list of participating companies.)
       ERISA — The Employee Retirement Income Security Act of 1974. This law ensures that plan sponsors or
       their delegates provide participants with certain plan information and accept fiduciary responsibilities for the
       operation of the plan. The law also establishes an appeals process and gives participants the right to sue for
       benefits and breaches of fiduciary duty.
       Flexible Benefits Plan — A benefit plan, established under tax law, that permits participants to use
       pretax dollars to purchase coverage under certain health plans and set aside pretax contributions in Flexible
       Spending Accounts (FSAs) and the Health Savings Account (HSA).
       Grandfathered medical plan — Medical plan that is exempted from certain changes required under
       the Affordable Care Act. Harris medical plans that are considered at this time to be grandfathered plans are
       portions of the Cigna Global Plan and the Cigna Comprehensive Plan.
       Health insurance marketplace or exchange — A resource where individuals, families and
       small businesses can learn about health coverage options, compare health insurance plans
       based on costs, benefits, and other important features, choose a plan and enroll in coverage.
       The marketplace/exchange also provides information on programs that help people with low
       to moderate income and limited resources pay for coverage. The marketplace/exchange is accessible
       through websites, call centers, and in-person assistance. In some states, the marketplace/exchange is run by
       the state and, in others, it is run by the federal government. Health insurance marketplaces/exchanges were
       created by the Affordable Care Act.
       HIPAA — The Health Insurance Portability and Accountability Act of 1996. Among other things, regulations
       implementing this law set standards for the security and privacy of certain personal health data.
       IRO — Independent review organization. An accredited, independent third-party entity that may be asked to
       review a denied medical claim once all other levels of appeal are exhausted.
       Medical judgment — Includes, but is not limited to, determinations based on requirements for medical
       necessity, appropriateness of care, healthcare setting, level of care, effectiveness of a covered benefit or
       determinations as to whether a treatment is experimental or investigational.
       Non-grandfathered medical plan — Medical plan that is required to comply with all applicable
       provisions of the Affordable Care Act, such as providing preventive care services without charge and offering
       specific appeal processes when a claim is denied. The Harris Medical Plan, other than coverage provided by
       the Cigna Comprehensive Plan, is considered non-grandfathered. In addition, portions of the Cigna Global
       Plan are considered non-grandfathered.




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 Plan year — Calendar, policy or fiscal year on which a benefit plan’s records are kept. (See the “Plan-
 by-Plan Administrative Overview” in this section of the SPD to see the plan year for each benefit plan.)
 Post-service claim — A claim that is neither an urgent care nor a preservice claim.
 Precertification — Prior authorization of certain inpatient and outpatient care by Cigna and certain
 prescribed medications by Express Scripts. (See “Authorization” earlier in this section.)
 Preservice claim — A claim that, in whole or in part, requires approval of that benefit in advance of
 receiving medical treatment.
 QMCSO — A qualified medical child support order or court settlement that recognizes a child’s rights
 to receive benefits under certain Harris health plans.
 Rescission of coverage — Any retroactive termination of coverage under the Medical Plan, except
 where an individual (or a person seeking coverage on behalf of the individual) either performs an act,
 practice or omission that constitutes fraud, makes an intentional misrepresentation of material fact, or
 fails to pay on a timely basis required premiums or contributions toward the cost of coverage.
 Urgent care claim — A claim that, unless a decision is reached within 72 hours, could seriously
 jeopardize the patient’s health or ability to regain maximum function or, in the opinion of a physician
 with knowledge of the patient’s medical condition, would subject the patient to severe pain that
 cannot be adequately managed without the care or treatment requested in the claim. An individual
 acting on behalf of the plan, applying the judgment of a prudent layperson, can determine whether
 the claim is an urgent care claim. However, if a physician with knowledge of the patient’s medical
 condition determines that the claim involves urgent care, it must be considered an urgent care claim.
 Deference will be given to the patient’s attending provider with respect to the decision as to whether a
 claim for coverage under the non-grandfathered Medical Plan constitutes an urgent care claim.




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    Benefit Plan Administrative Facts
       ROLES AND RESPONSIBILITIES                                                               CONTACT/OTHER INFORMATION
       Plan sponsor                                                                             Harris Corporation
       Harris Corporation is the plan sponsor for all of the benefit plans described in         1025 West NASA Blvd.
       this SPD (including for purposes of any applicable Patient Centered Outcomes             Melbourne, FL 32919
       Research Institute fees).                                                                Phone: 1.800.225.4343
       Please note: For purposes of this SPD, the reference to “Harris” generally includes
       Harris Corporation and its subsidiaries that have elected to participate in the Harris
       benefit plans described in this SPD. (See “Plan-by-Plan Administrative Details” later
       in this section of the SPD.) However, only Harris Corporation may amend, modify,
       revoke or terminate these benefit plans.

       Plan administrator                                                                       Harris Corporation
       The Harris Corporation Employee Benefits Committee is the official plan                  Employee Benefits Committee
       administrator of all of the benefit plans described in this SPD. The Committee has       Mail Stop A-11L
       delegated certain plan administrative responsibilities to third parties, insurance       1025 West NASA Blvd.
       companies and/or directors or other employees of the company. (See “Plan-by-Plan         Melbourne, FL 32919
       Administrative Overview” in this section of the SPD for more information.)               Phone: 1.800.225.4343

       Participating companies and EINs                                                         Harris Corporation
       The companies participating in the benefits in this SPD as of July 1, 2016 are found     1025 W. NASA Blvd.
       to the right. The employer identification number (EIN) for each company, assigned        Melbourne, Florida 32919
       by the Internal Revenue Service, is also displayed.                                      EIN XX-XXXXXXX

       Please note: a company from time to time may limit participation in a benefit            EDO Corporation
       to a specific group of its employees, or maintain different levels of benefits for       1025 West NASA Blvd.
       different groups of its employees. In this event, such limitation or maintenance will    Melbourne, FL 32919
       be described in the section of this SPD providing detailed information about such        XX-XXXXXXX
       benefit.                                                                                 Harris IT Services Corporation
                                                                                                2235 Monroe Street
                                                                                                Herndon, Virginia 20171
                                                                                                EIN XX-XXXXXXX
                                                                                                Maritime Communication Services, Inc.
                                                                                                1025 W. NASA Blvd.
                                                                                                Melbourne, Florida 32919
                                                                                                EIN XX-XXXXXXX
                                                                                                Harris CapRock Communications, Inc.
                                                                                                4400 S. Sam Houston Pkwy East
                                                                                                Houston, TX 77048
                                                                                                EIN XX-XXXXXXX
                                                                                                Caprock Government Solutions, Inc.
                                                                                                2235 Monroe Street
                                                                                                Herndon, Virginia 20171
                                                                                                EIN XX-XXXXXXX
                                                                                                EDO Western Corporation
                                                                                                1025 W. NASA Blvd.
                                                                                                Melbourne, FL 32919
                                                                                                EIN XX-XXXXXXX
                                                                                                Exelis Visual Information Solutions, Inc.
                                                                                                1025 W. NASA Blvd.
                                                                                                Melbourne, FL 32919
                                                                                                EIN: XX-XXXXXXX
                                                                                                Impact Science and Technology, Inc.
                                                                                                1025 W. NASA Blvd.
                                                                                                Melbourne, FL 32919
                                                                                                EIN: XX-XXXXXXX
                                                                                                Nexgen Communications, LLC.
                                                                                                1025 W. NASA Blvd.
                                                                                                Melbourne, FL 32919
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ROLES AND RESPONSIBILITIES                                                            CONTACT/OTHER INFORMATION
Plan legal matters                                                                    Corporate Legal Department
If you have a legal question about your Harris employee benefits, you should          Harris Corporation
contact the Corporate Legal Department. Harris Corporation’s agent for service of     1025 West NASA Blvd.
legal process on the plans is Corporation Service Company. Contact information is     Melbourne, FL 32919
to the right.                                                                         Phone: 1.321.727.9100

When welfare benefits are provided through a group insurance contract, legal          Corporation Service Company
process may also be served on the applicable insurance company for disputes           2711 Centerville Road, Suite 400
concerning the benefits provided under the terms of the group insurance contract.     Wilmington, DE 19808 (New Castle County)
(See the “Plan-by-Plan Administrative Overview” that follows for a listing of these   Phone: 1.800.342.8086
insurance companies.)

Legal process may also be served on the plan administrator with respect to any of
the plans or the plan trustee with respect to the Retirement Plan.

Plan correspondence and questions                                                     Harris Benefits Service Center
If you want to ask any questions about your Harris benefits, please contact the       Phone: 1.800.225.4343, Option 1
Harris Benefits Service Center.                                                       Fax: 1.844.678.6679
                                                                                      Web Chat: My Benefits Portal
                                                                                                  www.benefits.harris.com




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        Plan Sponsor/Administrator Rights
        Future plan changes — Harris reserves the right to amend, modify, revoke or terminate any
        of its benefit plans, in whole or in part, at any time, for any reason, without prior notice, and
        without approval of any employee, former employee or other person. This right will be exercised
        in accordance with procedures adopted by Harris.

        In the event that the Harris Corporation Retirement Plan is terminated, the account balances
        of affected participants will be immediately and fully vested, and participants will be entitled to
        these vested balances. However, if any other plan or program is discontinued, participants will
        no longer be entitled to any benefit under that plan or program (other than payment of covered
        expenses incurred before the plan or program was discontinued).

        Decisions related to plans — The Harris Corporation Employee Benefits Committee (the
        “Committee”) has discretionary authority to administer and interpret the terms of the plans,
        to determine eligibility and entitlement to plan benefits in accordance with those terms and to
        make factual determinations relevant to claims. The Committee makes decisions and resolves
        conflicts regarding claims for benefits, the operation of the plans and the interpretation of
        plan terms. The Committee may delegate some or all of these responsibilities and authorities
        to another committee, one or more employees or one or more third parties, including claim
        administrators. When this happens, the delegate assumes the full extent of the Committee’s
        delegated discretionary authority as plan administrator, including but not limited to all matters
        of plan interpretation, eligibility and entitlement to plan benefits that may be relevant to the
        exercise of that delegate’s final decision-making authority.

        Any interpretation or determination made under the discretionary authority of the Committee
        or its delegate, including any third-party administrator or insurance company making claim
        determinations, is final and binding on all parties and is to be given full force and effect unless it
        can be shown to be arbitrary and capricious. The Committee or its delegate, as the case may be,
        has discretionary authority to grant or deny benefits under a plan. Benefits under a plan will be
        paid only if the Committee or its delegate decides in its discretion that the applicant is entitled
        to them.


     Plan-by-Plan Administrative Overview
        Administrative information about the Harris health & welfare and retirement plans follows.
        The listed administrators oversee the day-to-day operation of the plans; however, the Harris
        Corporation Employee Benefits Committee serves as claim administrator with respect to any
        eligibility questions under the Harris plans (and not the administrators listed on the following
        pages). The Committee may be contacted at:

        Harris Corporation Employee Benefits Committee
        Mail Stop A-11L
        1025 West NASA Blvd.
        Melbourne, FL 32919
        Phone: 1.800.225.4343



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Health & Welfare Plans
You can find the following information for each Harris health & welfare benefit plan below:
how the plan is funded, with whom and where to file claims or request information, the plan
number and the plan year. Where Harris is not the contact for claims or information, the Harris
Corporation Employee Benefits Committee, as plan administrator, has delegated administrative
responsibilities to the listed third-party administrator or insurance company.


                        Health & Welfare Plan Administrative Overview
  PLAN NAME                    PLAN FUNDING               CONTACT FOR CLAIMS OR                  PLAN     PLAN
                                                          INFORMATION (CLAIM                     NUMBER   YEAR
                                                          ADMINISTRATOR)
  Harris Healthcare Plans
  Harris Medical Plan1, 3, 4   Self-funded and paid       Cigna                                  5212     1/1 - 12/31
                               by Harris from its         P.O. Box 182223
                               general assets and         Chattanooga, TN 37422-7223
                               employee pretax            Phone: 1.855.774.4547
                               contributions              Express Scripts, Inc.
                                                          P.O. Box 2872
                                                          Clinton, IA 52733-2872
                                                          Phone: 1.866.519.7254

  Harris Medical Plan          Fully insured; insurance   HMSA                                   5212     1/1 - 12/31
  (alternate health            premiums paid by           818 Keeaumoku St.
  plans)1, 4                   Harris and employee        Honolulu, HI 96814
                               pretax contributions       Phone: 1.808.948.6111
                                                          Cigna Global Health Benefits
                                                          300 Bellevue Parkway
                                                          Wilmington, DE 19809
                                                          Phone: 1.800.441.2668
                                                          Triple-S
                                                          1441 F.D. Roosevelt Avenue
                                                          San Juan, PR 00920
                                                          1.787.774.6060

  Harris Dental Plan4          Fully insured; insurance   MetLife                                5212     1/1 - 12/31
                               premiums paid by           PO Box 981282
                               Harris and employee        El Paso, TX 79998-1282
                               pretax contributions       Phone: 1.855.488.0519

  Harris Vision Care           Fully insured and          MetLife                                599      1/1–12/31
  Plan4                        funded by employee         MetLife Vision Claims
                               pretax contributions       P.O. Box 385018
                                                          Birmingham, AL 35238-5018
                                                          1.855.488.0519




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       PLAN NAME                PLAN FUNDING               CONTACT FOR CLAIMS OR                       PLAN      PLAN
                                                           INFORMATION (CLAIM                          NUMBER    YEAR
                                                           ADMINISTRATOR)
       Harris Survivor and Accident Plans
       Harris Basic Life        Fully insured;             MetLife                                     5212      1/1-12/31
       Insurance Plan4          insurance premiums         Group Life Claims
                                fully paid by Harris       PO Box 6100
                                                           Scranton, PA 18505-6100
                                                           Phone: 1.855.488.0519
                                                           Fax: 1.570.558.8645

       Harris Supplemental      Fully insured; insurance   MetLife                                     585       1/1–12/31
       Life Insurance Plan4     premiums paid with         PO Box 6100
                                after-tax employee         Scranton, PA 18505-6100
                                contributions              Phone: 1.855.488.0519
       Harris Basic             Fully insured;             MetLife                                     5212      1/1 - 12/31
       Accidental Death         insurance premiums         PO Box 6100
       & Dismemberment          paid by Harris             Scranton, PA 18505-6100
       (AD&D) Insurance                                    Phone: 1.855.488.0519
       Plan4
       Harris Supplemental      Fully insured; insurance   MetLife                                     585       1/1–12/31
       Accidental Death         premiums paid with         PO Box 6100
       & Dismemberment          after-tax employee         Scranton, PA 18505-6100
       (AD&D) Plan4             contributions              Phone: 1.855.488.0519
       Harris Dependent Life    Fully insured; insurance   MetLife                                     580       1/1–12/31
       Insurance Plan4          premiums paid with         PO Box 6100
                                after-tax employee         Scranton, PA 18505-6100
                                contributions              Phone: 1.855.488.0519

       Harris Business Travel   Fully insured;             Zurich American Insurance Company           5212      1/1–12/31
       Accident (BTA)           insurance premiums         Zurich Document Distribution Center (DDC)
       Insurance Plan4          paid by Harris             PO Box 968041
                                                           Schaumburg, IL 60196-8041
                                                           Phone: 1.866.841.4771

       Harris Disability Plans
       Harris Short-Term        Self-funded and paid       Metropolitan Life Insurance Company         Not an    N/A
       Disability (STD) Plan4   by Harris from its         PO Box 14590                                ERISA
                                general assets             Lexington, KY 40511-4590                    plan
                                                           Phone: 1.855.488.0519

       Harris Insured Long-     Fully insured; insurance   Metropolitan Life Insurance Company         522       1/1–12/31
       Term Disability (LTD)    premiums paid with         PO Box 14590
       Plan4                    after-tax employee         Lexington, KY 40511-4590
                                contributions              Phone: 1.855.488.0519




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 PLAN NAME                      PLAN FUNDING                  CONTACT FOR CLAIMS OR                                  PLAN           PLAN
                                                              INFORMATION (CLAIM                                     NUMBER         YEAR
                                                              ADMINISTRATOR)
 Harris Flexible Spending Accounts (FSAs)
 Harris Healthcare              Funded by                     Your Spending Account (YSA)                            598            1/1–12/31
 Flexible Spending              pretax employee               P.O. Box 785040
 Account (FSA)4, 5              contributions                 Orlando, FL 32878-5040
                                                              Phone: 1.800.225.4343

 Harris Dependent               Funded by                     Your Spending Account (YSA)                            Not an         1/1–12/31
 Care FSA4, 5                   pretax employee               P.O. Box 785040                                        ERISA
                                contributions                 Orlando, FL 32878-5040                                 plan
                                                              Phone: 1.800.225.4343
 Harris Commuter FSAs           Funded by                     Your Spending Account (YSA)                            Not an         N/A
                                pretax employee               P.O. Box 785040                                        ERISA
                                contributions                 Orlando, FL 32878-5040                                 plan
                                                              Phone: 1.800.225.4343
 Other Harris Plans
 Harris Employee                Self-funded; paid by          Cigna                                                  550            1/1-12/31
 Assistance Program             Harris from its general       P.O. Box 182223
 (EAP)                          assets                        Chattanooga, TN 37422-7223
                                                              Phone: 1.855.774.4547

 Harris Severance Pay           Paid by Harris from its       Harris Corporation Employee Benefits                   508            1/1-12/31
 Plan                           general assets                Committee
                                                              Mail Stop A-11L
                                                              1025 West NASA Blvd
                                                              Melbourne, FL 32919
                                                              Phone: 1.800.225.4343

1. If you are enrolled in an alternate health plan, see My Benefits Portal for more information about these plans.
2. Plan number 521 includes multiple benefits but it is a single plan (Harris Corporation Group Insurance Plan) for reporting and
   other purposes.
3. Employees electing the CDHP may be eligible for a Health Savings Account through HSA Bank, PO Box 939, Sheboygan, WI 53082-0939.
4. In the case of claims related to eligibility and enrollment (including with respect to plan elections) under the Medical Plan, Dental Plan,
   Vision Care Plan, Healthcare Flexible Spending Account and Dependent Care Flexible Spending Account, the Claim Administrator is Claims
   and Appeals Management, rather than the entity otherwise listed. Claims and Appeals Management may be contacted at P.O. Box 1407,
   Lincolnshire, IL 60069‑1407, 1.800.225.4343.
5. These accounts are maintained pursuant to the Harris Corporation Flexible Benefits Plan. Employees may be eligible for a company
   contribution to the Healthcare FSA.




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      Retirement Plan
      The official name of this plan is the Harris Corporation Retirement Plan. Under federal law, this plan
      is considered a defined contribution profit-sharing plan with 401(k) and employee stock ownership
      plan components. Federal law imposes maximum benefit limitations. If these apply to you under the
      Retirement Plan, you will be notified. Since the Retirement Plan is a defined contribution plan, the
      plan does not have insurance coverage from the Pension Benefit Guaranty Corporation, a not-for-
      profit corporation established under ERISA to provide pension plan termination insurance.


                                 Retirement Plan Administrative Overview
        PLAN FUNDING                                   CONTACT INFORMATION                          PLAN      PLAN
                                  PLAN                   RECORDKEEPER     TRUSTEE                   NO.       YEAR
                                  ADMINISTRATOR
        Funded by Harris          Harris Corporation     Fidelity Investments   Northern Trust      015       1/1-12/31
        and plan participant      Employee Benefits      P.O. Box 770003        50 South LaSalle
        contributions.            Committee              Cincinnati, OH         Street
        Administrative costs      Mail Stop A-11L        45277-0065             Chicago, IL 60675
        are shared by Harris      1025 West NASA         Phone:
        and plan participants.    Blvd.                  1.877.320.4015
        These costs are           Melbourne, FL
        adjusted periodically     32919
                                  Phone:
                                  1.800.225.4343


      More about the plan trustee and Retirement Plan Trust — As trustee for the Retirement Plan,
      Northern Trust receives and invests Retirement Plan deposits. Trustee fees, investment manager
      fees and certain other administrative fees are paid out of the Harris Retirement Plan Trust. Harris
      does not have access to trust fund money. These funds are used only for the benefit of Retirement
      Plan participants and beneficiaries and to pay administrative expenses. Correspondence to the
      Trustee should be directed to the Vice President, Corporate and Institutional Services for the Harris
      Retirement Plan at the address for Northern Trust shown in the chart above.

    Authorization of Health Services
      There are certain inpatient and outpatient services that must be authorized by Cigna and certain
      prescribed medications that need authorization by Express Scripts. You can find more about when
      authorization is required and the process for requesting it in the separate “Medical Plan” section of
      the SPD.

      When your care or prescription is authorized in advance of receipt, it is called precertification. This
      process allows you to know if an expense will be covered before it is incurred. In emergencies or in
      certain other circumstances, you can have your claim authorized after the fact following a process
      outlined in the separate “Medical Plan” section of the SPD. If you fail to have a required service or
      prescription precertified, you may be subject to a financial penalty or denied claim.




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 Once you initiate the process to gain authorization, there are specific time frames in which the claim
 administrator must respond to your request for authorization. As part of the process, you may be
 asked to provide documentation in a timely fashion so that the claim administrator can reach a
 decision. If authorization is denied, you can appeal the decision. (See “Plan-by-Plan Appeal Process”
 later in this section of the SPD.)

 Process Overview
 The following process applies to the Medical, Dental and Vision Care Plan, unless it is expressly limited
 to a specific plan or component of a plan.

 Time frames for Authorization of Health Services
 Once you have asked for authorization, the claim administrator will ordinarily notify you of its benefit
 determination — that is, whether the service will be authorized or not — within the following time
 frames:

 • Urgent care claim — You will receive a benefit determination as soon as possible, taking into
   account the medical exigencies, but no later than 72 hours after receipt of your request for
   authorization. A decision may be provided to you orally, as long as written or electronic notification
   is provided to you within 3 days after the oral notification
 • Preservice claim — You will receive a benefit determination within a reasonable period but no later
   than 15 days after receipt of your request for authorization
 • Post-service claim — The claim administrator will notify you of any denial of your request for
   authorization within a reasonable period but no later than 30 days after receipt of your request.



                Health Plan Authorization — About the Process
   KNOW THESE        FURTHER DETAILS
   FACTS
   Extensions        For preservice and post-service claim authorizations, a 15-day extension of the time period for
   for making the    deciding the request for authorization may be allowed, provided that the claim administrator
   authorization     determines that the extension is necessary due to matters beyond its control.
   determination
                    • If an extension is necessary, the claim administrator must notify you before the end of the
   may occur
                      original 15-day or 30-day review period of the reason(s) requiring the extension and the date it
   in certain
                      expects to provide a decision
   circumstances
                    • If the extension is necessary due to your failure to submit the necessary information, the notice
                      of extension must also specifically describe the required information. You then have 45 days to
                      provide the information needed to make the determination

                     Please be aware of the following:
                    • If you do not provide the required information within the 45-day period, the request for
                      authorization may be denied
                    • If an extension is necessary for preservice and post-service claims due to your failure to submit
                      necessary information, the plan’s time frame for making a benefit determination is stopped from
                      the date the claim administrator sends you an extension notification until the date you respond
                      to the request for additional information




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                        Health Plan Authorization — About the Process
        KNOW THESE            FURTHER DETAILS
        FACTS
        If authorization is   You will receive a notice of the denial that includes:
        denied, you will
                              • The specific reason(s) for the denial. If the denial was based on a determination that the service
        receive detailed
                                is not medically necessary or the service is experimental or investigational in nature, you will
        information on
                                receive the scientific or clinical reasons why the determination was made (applying plan terms
        which the denial
                                to your medical circumstances) or the option to obtain this information free of charge upon
        was based
                                request
                              • References to the pertinent health plan provisions on which the decision was based
                              • A description of any additional material or information needed from you and why such
                                additional material or information is necessary
                              • A description of the health plan’s review procedure, the time limits applicable to such
                                procedure and how to initiate an appeal (including your legal rights if the authorization is
                                denied)
                              • References to any internal rule, guideline or protocol relied upon in making the decision and a
                                statement that a copy of the internal rule, guideline or protocol will be provided to you free of
                                charge upon your request
                              • A description of the expedited review process applicable to denied urgent care authorizations

                              Additionally, the notice of a denial under the non-grandfathered Medical Plan will also include:
                              • Information sufficient to identify the claim involved (including the date of service, the
                                healthcare provider, the claim amount (if applicable), and a statement describing the availability,
                                upon request, of the diagnosis code and its corresponding meaning, and the treatment code
                                and its corresponding meaning)
                              • The denial code and its corresponding meaning, as well as a description of the standard, if any,
                                that was used in denying the claim
                              • Information regarding the availability of, and contact information for, any applicable office
                                of health insurance consumer assistance or ombudsman to assist you or your authorized
                                representative with the internal appeals and external review process
                              The notice of a denial under the non-grandfathered Medical Plan must be provided in a
                              culturally and linguistically appropriate manner

        You are required      For urgent care and preservice claims, if you fail to provide the claim administrator with sufficient
        to provide the        information to determine whether, or to what extent, benefits are covered or payable under the
        information           plan, or if you fail to follow the health plan’s procedures for filing such required information, the
        needed to             claim administrator must notify you within 24 hours of receiving your notification about urgent
        make a claim          care or within 5 days of receiving your notification about a preservice claim of the specific
        determination         information needed to complete the claim. Notification may be oral, unless you request written
                              notification. In the case of urgent care, you then have 48 hours to provide the information
                              needed to process the authorization. You will be notified of an urgent care determination no
                              later than 48 hours after the earlier of:
                              • The claim administrator’s receipt of the requested information or
                              • The end of the 48-hour period within which you were to provide the additional information




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Filing Claims for Benefits
  In order to collect benefits from the Harris plans, there are claim procedures. If there is a claim
  process for a benefit plan, you will be able to find it in the individual plan description for that plan
  later in this SPD.

Plan-by-Plan Appeal Process
  For purposes of this SPD, you will find appeals information presented in this order:

  • Eligibility appeals — Includes appeals when you contend that you’ve been denied participation in, or
    an election under, a Harris benefit plan
  • Health plan appeals — Includes Medical Plan (including mental health and substance abuse and
    pharmacy benefits), Dental Plan and Vision Care Plan appeals. If covered by an alternate health plan,
    refer to that plan’s SPD for appeal information
  • Employee Assistance Program (EAP) appeals
  • Disability appeals — Includes separate processes for Short-Term Disability (STD) Plan and Long-Term
    Disability (LTD) Plan appeals
  • Survivor and Accident plan appeals — Includes Basic, Supplemental and Dependent Life, Basic and
    Supplemental Accidental Death and Dismemberment (AD&D) and Business Travel Accident (BTA)
    plan appeals
  • Flexible Spending Account (FSA) appeals — Includes Healthcare FSA, Dependent Care FSA and
    Commuter FSA appeals
  • Retirement Plan appeals
  • Severance Pay Plan appeals.

  You have a right to appeal — You have the right to appeal a claim determination when you feel that
  a claim has been improperly denied or improperly processed. For some plans, the Harris Corporation
  Employee Benefits Committee has delegated authority to designated claim administrators, third
  parties, insurance companies and/or directors or other employees of the company to fulfill certain
  responsibilities and to exercise certain authorities of the plan administrator as to these claims.

  You must follow claims/appeals procedures — Failure to adhere to the required procedures or time
  limits can be grounds for denial of a claim or appeal. The appeal process varies from plan to plan.

  You will permanently forfeit your right to file a lawsuit if you fail to file by the deadline described in
  this section.




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          For All Claims — About Filing a Lawsuit
          Before filing a lawsuit concerning a benefit claim, you must exhaust all administrative remedies,
          that is, you must first appropriately file a claim and proceed and follow specified appeals
          procedures. Lawsuits should be directed to the appropriate party. The deadline for filing a
          lawsuit following your final appeal is:

           • Harris Retirement Plan — 1 year of the denial of your final appeal by the Harris Corporation
            Employee Benefits Committee
           • Dental Plan — 5 years from the time of claim
           • Vision Care Plan — 60 days from the time of claim
           • Basic Life, Basic Accidental Death and Dismemberment (AD&D), Supplemental Life,
            Supplemental AD&D, Dependent Life — 5 years from the time proof of loss is required
           • Long-Term Disability — 5 years from the time proof of loss is required
           • Business Travel Accident — 3 years from the time proof of loss is required
           • Other Harris benefit plans — 180 days of the denial of your final appeal by the Harris
            Corporation Employee Benefits Committee or the appropriate claim administrator or IRO.

          Any lawsuit with respect to the plans, not related to a claim for benefits, must be filed within 2
          years after the date you knew, or had reason to know, of the circumstances giving rise to the
          action.

          Venue for any action arising under a benefit plan exclusively shall be in Brevard County, Florida,
          unless an applicable insurance contract expressly provides otherwise. Unless an applicable
          insurance contract expressly provides otherwise, the benefit plans shall be governed by and
          construed in accordance with the laws of the State of Florida, without regard to conflicts of laws,
          to the extent that applicable federal law has not preempted the laws of the State of Florida.

          Any award of legal fees in connection with an action involving a Harris benefit plan will be
          calculated pursuant to the method that results in the lowest reasonable amount of fees being
          paid. In no event will legal fees be awarded for work related to administrative proceedings
          under a plan, unsuccessful claims brought by a participant or any other person or actions
          that are not brought under ERISA. In calculating any award of legal fees, there will be no
          enhancement for the risk of contingency, nonpayment or any other risk, nor will a contingency
          multiplier or any other multiplier be applied. In any action brought by a participant or any other
          person against a plan, Harris, the Harris Corporation Employee Benefits Committee, any plan
          fiduciary or their affiliates or their or their affiliates’ officers, directors, trustees, employees,
          or agents, legal fees of these parties in connection with such action shall be paid by the
          participant or other person bringing the action, unless the court specifically finds that there was
          a reasonable basis for the action.




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 Eligibility Appeals
 If you are told that you are not eligible for coverage under a plan listed in this SPD, or that you
 are not eligible to make a desired benefit election under one of these plans, but you believe
 that you should be eligible, then you can file an appeal with the Harris Corporation Employee
 Benefits Committee. Your eligibility appeal will be processed by the Committee in accordance
 with the appeal procedures set forth below for the plan for which you believe you are eligible
 (i.e., an appeal for eligibility under a health plan will be processed in accordance with the appeal
 procedures described under “Health Plan Appeals”). For some plans, the Harris Corporation
 Employee Benefits Committee has delegated authority to designated third parties, claim
 administrators, insurance companies and directors or other employees of the company. The
 decision on your appeal is final and binding on all parties.


 Health Plan Appeals
 If you believe that you are entitled to benefits under the Medical, Dental or Vision Care Plans and
 have been denied these benefits and you would like to pursue your claim further, then you or your
 authorized representative have the right to file an appeal with the claim administrator. Likewise if
 you’ve been denied authorization (either as part of the precertification process or after the expense
 has been incurred) and you want to pursue this further, you can appeal. The process for appealing
 a denied authorization or a submitted claim is the same and, for purposes of this description, the
 term “claim” will be used to refer to both circumstances. The appeals process applies to both the
 grandfathered and non-grandfathered Medical Plans, except where noted (e.g., a claim denial for a
 non-grandfathered Medical Plan includes a rescission of coverage).

 You have 180 days to file an appeal — A written (or oral, if your claim was an urgent care
 claim) appeal must be filed with the claim administrator within 180 days after receiving the claim
 denial. (For information on the claim administrator for each health plan, refer to the “Plan-by-Plan
 Administrative Overview” earlier in this section of the SPD.)




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      You have specific rights regarding healthcare plan appeals — As part of your appeal, you or
      your authorized representative have the right to:

       • Submit for consideration written comments, documents, records and other information relating
         to your claim for benefits
       • Request, free of charge, reasonable access to, and copies of, all documents, records and other
         information relevant to your claim for benefits
       • Receive a review of all comments, documents, records and other information submitted by you
         related to the claim, regardless of whether the information was submitted or considered in the
         initial benefit determination
       • Receive a review that does not defer to the initial claim determination and that is conducted
         by someone with appropriate training and experience other than the individual who made the
         adverse determination, and who is not such person’s subordinate
       • Be given the identity of any medical experts whose advice was obtained in connection with the
         benefit determination, regardless of whether the advice was relied upon in making the decision
       • Receive (in instances when the adverse determination was based in whole or in part on medical
         judgment) a review in which the claim administrator consults with a health care professional with
         appropriate training and experience (and which the professional did not consult on the adverse
         determination, and who is not such person’s subordinate)
       • Receive an expedited review process if your claim is for urgent care. You may request (orally
         or in writing) an expedited appeal of a denied urgent care claim and can expect to receive
         all necessary information concerning the plan’s benefit determination transmitted to you by
         telephone, facsimile or other available prompt method.

          Dental and Vision Care — Additional Appeals Information
          In connection with your appeal under the Dental or Vision Care Plans, your appeal must include the
          following:
          • Name of employee
          • Name of plan
          • Reference to the initial decision
          • Whether the appeal is the first or second
          • Explanation of why you are appealing.
          If you disagree with a response to the initial appeal, you have the right to a second level appeal. This
          appeal must be submitted to the claim administrator within 180 days after receipt of the denial. You will
          be notified of the final determination within 30 days of receipt of the request.



      In addition, in connection with your appeal under the non-grandfathered Medical Plan, you
      or your authorized representative have the right to:

       • Review the claim file and present evidence and testimony
       • Receive, free of charge:

                  »»Any new or additional evidence considered, relied upon or generated by the claim
                    administrator in connection with the claim and
                  »»Any new or additional rationale for the claim determination.

      Such new or additional evidence or rationale, as applicable, will be provided as soon as possible
      and sufficiently before notice of the internal claim determination is due.

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 You will receive an appeal determination in a specified period of time based on the type of
 claim — Ordinarily, a decision on an appeal will be reached within these time frames:

 • Urgent care claim — As soon as possible, taking into account the medical exigencies, but no
   later than 72 hours after receipt of your appeal of an urgent care claim
 • Preservice claim — Within a reasonable period but no later than 30 days after receipt of your
   appeal
 • Post-service claim — Within a reasonable period but no later than 60 days after receipt of your
   appeal.

 You will receive a detailed notice if your health plan appeal is denied — This notice of denial
 can be written or electronic and it will contain:

 • The information in a denial notice described previously under “Authorization of Health Services,”
   including a discussion of the decision
 • A statement that you are entitled to receive, upon request and at no cost to you, reasonable
   access to, and copies of, all documents, records and other information relevant to your claim
 • Information concerning your right to bring a civil action for benefits under section 502(a) of
   ERISA (after exhausting these appeal procedures)
 • A statement that you may have other voluntary alternative dispute resolution options, such as
   mediation, and you may obtain additional information by contacting your local U.S. Department
   of Labor Office or your state insurance regulatory agency.

 Deemed exhaustion of internal claims and appeals process under the non-grandfathered
 Medical Plan — In the event that the claim administrator does not comply with the internal
 claims and appeals procedures in connection with a claim under the non-grandfathered Medical
 Plan, as outlined previously, you will be deemed to have exhausted the internal claims and
 appeals process and may immediately initiate an external review of such claim (as described in
 the following paragraphs), to the extent that your claim is eligible for external review. You will
 also be entitled to pursue any available remedies under section 502(a) of ERISA. Notwithstanding
 the foregoing, the internal claims and appeals process will not be deemed to be exhausted based
 on de minimis violations that do not cause, and are not likely to cause, prejudice or harm to you
 so long as the claim administrator demonstrates that the violation was for good cause or due
 to matters beyond its control and that the violation occurred in the context of an ongoing, good
 faith exchange of information between you and the claim administrator. You or your authorized
 representative may request a written explanation of the violation from the claim administrator
 and such explanation will be provided to you within 10 days and will include a specific description
 of its basis, if any, for asserting that the violation should not cause the internal claims and appeals
 procedures to be deemed exhausted. If an external reviewer or a court rejects your request for
 immediate review, you have the right to resubmit and pursue the internal appeal of the claim.
 In such a case, within a reasonable time after the external reviewer or court rejects the claim for
 immediate review (not to exceed 10 days), you will be provided with notice of the opportunity to
 resubmit and pursue the internal appeal of the claim. The time period for refiling the claim will
 begin to run upon your receipt of such notice.




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           Non-Grandfathered Medical Plan External Review Process
           The following external review standards apply solely to appeals of denied claims (other than appeals
           regarding eligibility) under the non-grandfathered Medical Plan that involve either medical judgment, as
           determined by an external reviewer or a rescission of coverage.

           Standard External Review Process
           How to file a request for a standard external review —You or your authorized representative may file
           a request for an external review with the claim administrator provided that such request is filed within 4
           months after the date you receive a denial notice. If there is not a corresponding date 4 months after the
           date of receipt of the denial notice, then you or your authorized representative must file such request by
           the first day of the fifth month following the receipt of the denial notice.
           There will be a preliminary review of your request and you will receive a notice of the outcome —
           Within 5 business days following the receipt of the external review request, the claim administrator will
           complete a preliminary review of the request to determine whether:

           • You or your beneficiary are (or were) covered under the non-grandfathered Medical Plan at the time
            that the health care item or service was requested or provided, as applicable
           • The claim denial relates to your or your beneficiary’s failure to meet the requirements for eligibility
            under the terms of the non-grandfathered Medical Plan (in which case external review is not available)
           • You have exhausted the plan’s internal appeal process (unless you are not required to do so due to the
            failure by the claim administrator to comply with the internal claims and appeals procedures) and
           • You have provided all the information and forms required to process an external review.


           Within 1 business day after completion of the preliminary review, you or your authorized representative
           will be issued a written notification. If your request is complete but not eligible for external review, such
           notification will include the reasons for its ineligibility and contact information for the Employee Benefits
           Security Administration. If your request is not complete, such notification will describe the information
           or materials needed to make the request complete and you will be allowed to perfect your request for
           external review within the 4-month filing period or within the 48-hour period following the receipt of the
           notification, whichever is later.

           External reviews are conducted by an independent review organization (IRO) — Upon a
           determination that your request is eligible for external review, the claim administrator will assign your
           claim to an IRO. The IRO will timely notify you and your authorized representative in writing of your
           request’s eligibility and acceptance for external review. This notice will include a statement that you
           or your authorized representative may submit in writing to the IRO, within 10 business days following
           the date of receipt of the notice, additional information that the IRO will consider when conducting the
           external review.
           The IRO will review all information and documents timely received. In reaching a decision, the IRO will
           review the claim de novo and will not be bound by any decisions or conclusions reached during the
           internal claims and appeals process.

           The IRO will issue a notice of its standard appeal decision — The IRO will provide you, your
           authorized representative and the Medical Plan with written notice of the final external review decision
           within 45 days after the IRO receives the request for external review. The notice will contain:

           • A general description of the reason for the request for external review, including information
             sufficient to identify the claim (including the date(s) of service, the health care provider, the claim
             amount (if applicable), the diagnosis code and its corresponding meaning, the treatment code and its
             corresponding meaning and the reason for the previous denial)
           • The date the IRO received the assignment to conduct the external review and the date of the IRO
             decision


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      • References to the evidence or documentation, including the specific coverage provisions and
       evidence-based standards, considered in reaching its decision
      • A discussion of the principal reason or reasons for its decision, including the rationale for its decision
       and any evidence-based standards that were relied on in making its decision
      • A statement that the determination is binding except to the extent that other remedies may be
       available under state or federal law to either you or the Medical Plan
      • A statement that judicial review may be available to you
      • Current contact information, including phone number, for any applicable office of health insurance
       consumer assistance or ombudsman.

      What happens if a denial is reversed — Upon notice of the IRO’s decision to reverse the claim
      administrator’s claim denial, you will immediately receive coverage or payment for that claim.

      Expedited External Review Process
      How to file a request for an expedited external review — You or your authorized representative
      may request an expedited external review of a claim denial at the time you receive:

      • A claim denial involving a medical condition for which the time frame for completing an expedited
        internal appeal would seriously jeopardize your life or health or would jeopardize your ability to
        regain maximum function and you have filed an expedited internal appeal request or
      • A final claim denial involving:

                  »» A medical condition where the timeframe for completing a standard external review
                     would seriously jeopardize your life or health or would jeopardize your ability to regain
                     maximum function or
                  »» An admission, availability of care, continued stay or health care item or service for which
                     you received emergency services, but have not been discharged from a facility.


      Immediately upon receipt of a request for expedited external review, the claim administrator will
      determine whether the request meets the reviewability requirements as set forth above for standard
      external review. You will receive a notice regarding the claim administrator’s reviewability assessment,
      containing the same information that would be provided under a standard external review notice.

      Your claim is reviewed by an IRO — Upon a determination that your request is eligible for external
      review, the claim administrator will assign your claim to an IRO. The IRO will consider all appropriate
      information and documents, to the extent the information and documents are available. In reaching
      its decision, the IRO will review the claim de novo and is not bound by any decisions or conclusions
      reached during the internal claims and appeals process.

      The IRO will issue a notice of its expedited appeal decision — The IRO will provide you, your
      authorized representative and the Medical Plan with notice of the final external review decision as
      expeditiously as your medical condition or circumstances require, but in no event more than 72 hours
      after the IRO receives the request for an expedited external review. If the notice is not in writing,
      within 48 hours after the date of providing that notice, the IRO will provide you, your authorized
      representative and the Medical Plan with written confirmation of the decision. The notice will contain
      the same information that must be included in a written notice of a final decision in the context of a
      standard external review.




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      Employee Assistance Program (EAP) Appeals
      If you believe that you’ve been improperly denied EAP benefits and you want to pursue your claim
      further, you or your authorized representative must appeal.

      You have 180 days to file an EAP appeal with the claim administrator — If you are denied
      EAP benefits and wish to appeal that decision, you must complete filing for your appeal within
      180 days of when the claim was denied. Cigna, the claim administrator, has full discretionary
      responsibility and authority to review appeals and its decisions are final and binding on all parties.

      You have specific steps to take to file an EAP appeal — Your appeal must be in writing and
      must include the reasons why you are challenging the denial. The appeal should include copies of
      any documentation or evidence (including any relevant written comments, documents, records
      or other information) supporting the claim for EAP services. This additional information will be
      considered in the appeal without regard to whether submitted or considered in the initial claim
      decision.

      You have rights in regard to your EAP appeal — As part of the appeal, you or your authorized
      representative have the right to request, free of charge, reasonable access to, and copies of, all
      documents, records and other information relevant to the claim for benefits. You will receive a
      review that does not defer to the initial claim determination and that is conducted by someone
      with appropriate training and expertise other than the individual who made the adverse
      determination, and who is not such person’s subordinate.

      You will receive an EAP appeal determination within 60 days — You will be provided written or
      electronic notification of the final decision within 60 days of the date the appeal was received.

      You will receive a detailed notice if your EAP appeal is denied — This notice of denial can be
      written or electronic and it will contain:

       • The specific reason(s) for the denial
       • References to the pertinent plan provisions upon which the decision is based
       • Reference to any internal rule, guideline or protocol that was used in making the decision
       • A statement that you are entitled to receive, upon request and free of charge, reasonable access
         to, and copies of, all documents, records and other information relevant to your claim
       • Information concerning your right to bring a civil action under section 502(a) of ERISA (after
         exhausting these appeal procedures)
       • A statement that you may have other voluntary alternative dispute resolution options, such as
         mediation, and you may obtain additional information by contacting your local U.S. Department
         of Labor Office or your state insurance regulatory agency.




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 Short-Term Disability (STD) Plan Appeals
 Even though the STD Plan is not a plan covered by ERISA, you still can file an appeal should
 you disagree with the claim administrator’s decision regarding your benefits. There are 2
 circumstances when denial could occur:

 • When you initially request STD Plan benefits at the onset of illness or injury or
 • When you’ve been receiving STD Plan benefits and the claim administrator feels that you no
   longer qualify for continuing payments from the plan.

 In either event, you or your authorized representative can appeal the denial of benefits by
 following the steps for an STD Plan appeal. Failure to adhere to the proper procedures or to file a
 timely appeal will be grounds for denial of your appeal.

 You have 2 levels of possible STD appeals — These are:

 • Initial and second level STD appeal to claim administrator — You or your authorized
   representative must appeal the denial of your disability claim by filing a written appeal with the
   claim administrator within 180 days after receiving the claim denial. (For contact information,
   see “Plan-by-Plan Administrative Overview,” earlier in this section of the SPD.) A second level of
   appeal is provided only if new, additional information is submitted. If the claim administrator
   denies your appeal, you can proceed to the final appeal level
 • Final STD appeal to Harris Corporation Employee Benefits Committee — You or your
   authorized representative must request a final appeal of a denied disability plan claim within 60
   days of the claim administrator’s final denial of your claim. This appeal must be in writing and
   must be sent to the Harris Corporation Employee Benefits Committee. The Committee has full
   discretionary responsibility and authority to review your appeal. The Committee has the final
   authority and its decisions are final and binding on all parties.

 Your appeal must include the reasons why the denial is being challenged and attach copies of any
 documentation or evidence (including any relevant written comments, documents, records or
 other information) supporting the appeal.

 You have rights in regard to your STD Plan appeal — As part of your appeal, you have the
 right to:

 • Submit for consideration written comments, documents, records and other information relating
   to your claim for benefits
 • Request, free of charge, reasonable access to, and copies of, all documents, records and other
   information relevant to your claim for benefits
 • Receive a review of all comments, documents, records and other information submitted by you
   related to the claim, regardless of whether the information was submitted or considered in the
   initial benefit determination
 • Receive a review that does not defer to the initial claim determination and that is conducted by
   someone with the appropriate training and experience other than the individual who made the
   adverse determination, and who is not such person’s subordinate
 • Be given, upon your request, the identity of any medical or vocational experts whose advice was
   obtained in connection with the benefit determination, regardless of whether the advice was
   relied upon in making the decision.

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      You will ordinarily receive an STD Plan determination within 45 days — If your appeal cannot
      be processed within 45 days of the date your appeal was received, you or your representative
      will receive a written notice within the initial 45-day period explaining the delay and indicating
      the reasons for the delay and the date by which the decision can be expected (not to exceed
      an additional 45 days). If the reason for the extension is your failure to provide necessary
      information, the time frame for making a benefit determination stops on the date you are sent
      an extension notification and does not resume until the date on which the claim administrator or
      the Harris Corporation Employee Benefits Committee receives your response to the request for
      additional information.

      You will receive a detailed notice if your STD Plan appeal is denied — This notice of denial will
      be written and it will contain:

       • The specific reason(s) for the denial
       • References to the pertinent disability plan provisions upon which the decision was based
       • Reference to any internal rule, guideline or protocol that was used in making the decision
       • A statement that you are entitled to receive, upon request and free of charge, reasonable access
         to, and copies of, all documents, records and other information relevant to your claim.

      Long-Term Disability (LTD) Plan Appeals
      You or your authorized representative can appeal a claim determination if you’ve made an
      application for benefits under the LTD Plan and that application has been denied (or if you were
      initially approved for benefits but later determined to no longer be eligible for benefits). Failure to
      follow proper procedures or file a timely appeal will be grounds for denial of your appeal.

      You have 180 days to file an LTD appeal —The LTD plan is an insured benefit. Therefore, the
      insurance company, also serving as claim administrator, determines if benefits will be paid under
      this plan. Any appeal must be filed in writing with the claim administrator within 180 days after
      receiving the claim denial. As sole reviewer of appeals under the LTD plan, the claim administrator
      has full discretionary responsibility and authority to review appeals and its decisions are final and
      binding on all parties. (For contact information, see “Plan-by-Plan Administrative Overview,” earlier
      in this section of this SPD.)

      Your appeal must include the reasons why the denial is being challenged and attach copies of any
      documentation or evidence (including any relevant written comments, documents, records or
      other information) supporting the appeal.

      You have rights in regard to your LTD Plan appeal — As part of your appeal, you can:

       • Submit for consideration written comments, documents, records and other information relating
         to your claim for benefits
       • Request, free of charge, reasonable access to, and copies of, all documents, records and other
         information relevant to your claim for benefits
       • Receive a review of all comments, documents, records and other information submitted by you
         related to the claim, regardless of whether the information was submitted or considered in the
         initial benefit determination
       • Receive a review that does not defer to the initial claim determination and that is conducted by
         someone with the appropriate training and experience other than the individual who made the
         adverse determination, and who is not such person’s subordinate
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 • Be given the identity of any medical or vocational experts whose advice was obtained in
   connection with the benefit determination, regardless of whether the advice was relied upon in
   making the decision.

 You will ordinarily receive an LTD Plan determination within 45 days — If your appeal cannot
 be processed within 45 days of the date your appeal was received, you or your representative
 will receive a written notice within the initial 45-day period explaining the delay and indicating
 the reasons for the delay and the date by which the decision can be expected (not to exceed an
 additional 45 days). If the reason for the extension is your failure to provide necessary information,
 the disability plan claim administrator’s time frame for making a benefit determination stops on
 the date the claim administrator sends you an extension notification and does not resume until
 the date on which the claim administrator receives your response to the request for additional
 information.

 You will receive a detailed notice if your LTD Plan appeal is denied — This notice of denial will
 be written and it will contain:

 • The specific reason(s) for the denial
 • References to the pertinent disability plan provisions upon which the decision was based
 • Reference to any internal rule, guideline or protocol that was used in making the decision
 • A statement that you are entitled to receive, upon request and free of charge, reasonable access
   to, and copies of, all documents, records and other information relevant to your claim
 • Information concerning your right to bring a civil action under section 502(a) of ERISA (after
   exhausting these appeal procedures).

 Survivor and Accident Plan Appeals
 You, your beneficiary or authorized representative has the right to appeal a denied survivor or
 accident plan claim. The appeal process is the same for Basic Life Insurance, Supplemental Life
 Insurance, Basic AD&D Insurance, Supplemental AD&D Insurance, Dependent Life Insurance and
 BTA Insurance.

 A survivor and accident plan appeal must be filed within 60 days — The survivor and accident
 plans are insured benefits. Therefore, the insurance company, also serving as claim administrator,
 determines if benefits will be paid under these plans. Any appeal must be filed with the claim
 administrator within 60 days after receiving the claim denial. As sole reviewer of appeals under
 the survivor and accident plans, the claim administrator has full discretionary responsibility and
 authority to review appeals and its decisions are final and binding on all parties. (For contact
 information, see “Plan-by-Plan Administrative Overview,” earlier in this section of the SPD.)

 There are specific steps to take to file an appeal — The appeal must be in writing and must
 include the reasons why the denial is being challenged. Attached to the appeal should be copies
 of any documentation or evidence (including any relevant written comments, documents, records
 or other information) supporting the claim. This additional information will be considered in the
 appeal (regardless of whether submitted or considered in the initial claim decision). As part of the
 appeal, you, your beneficiary or your authorized representative have the right to request, free of
 charge, reasonable access to, and copies of, all documents, records and other information relevant
 to the claim for benefits.


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      You will ordinarily receive a survivor and accident plan appeal determination within
      60 days — If the appeal cannot be processed within 60 days of the date the appeal was received,
      you, your beneficiary or your authorized representative will receive a written notice within the initial
      60-day period explaining the delay and indicating the reasons for the delay and the date by which the
      decision can be expected (not to exceed an additional 60 days). If the reason for the extension is the
      failure of you, your beneficiary or your authorized representative to provide necessary information,
      the claim administrator’s time frame for making a benefit determination stops on the date the
      extension notification is sent to you, your beneficiary or your authorized representative and does
      not resume until the date on which the claim administrator receives a response to the request for
      additional information.

      You will receive a detailed notice if a survivor and accident plan appeal is denied — This notice
      of denial will be written and it will contain:
       • The specific reason(s) for the denial
       • References to the pertinent plan provisions upon which the decision is based
       • A statement that you are entitled to receive, upon request and free of charge, reasonable access to,
         and copies of, all documents, records and other information relevant to your claim
       • Information concerning your right to bring a civil action under section 502(a) of ERISA (after
         exhausting these appeal procedures).

      Healthcare FSA Appeals
      If you feel that you have been improperly denied benefits under the Healthcare FSA and you wish
      to pursue your claim further, then you or your authorized representative can appeal the claim
      administrator’s decision.

      You have 180 days to file your initial Healthcare FSA appeal — The appeal must be filed in writing
      with the Harris Corporation Employee Benefits Committee (or, if your appeal relates to eligibility or
      election changes, the claim administrator) and must be received no later than 180 days following the
      claim denial. A second appeal is available if your claim relates to eligibility or election changes.

      A final Healthcare FSA appeal must be filed within 60 days of the initial appeal denial — If the
      claim administrator denies your appeal related to your eligibility and election changes, you or your
      authorized representative can file a final appeal in writing with the Harris Corporation Employee
      Benefits Committee within 60 days after receiving the claim denial. If the Committee in its discretion
      denies your appeal, such denial is final and binding on all parties.

      You have rights in regard to your Healthcare FSA appeal — As part of your appeal, you have the
      right to:
       • Submit for consideration written comments, documents, records and other information relating to
         your claim for benefits
       • Request, free of charge, reasonable access to, and copies of, all documents, records and other
         information relevant to your claim for benefits
       • Receive a review of all comments, documents, records and other information submitted by you
         related to the claim, regardless of whether the information was submitted or considered in the
         prior benefit determination
       • Receive a review that does not defer to the prior claim determination and that is conducted by
         someone with appropriate training and experience other than the individual who made the adverse
         determination, and who is not such person’s subordinate.


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 You will receive a Healthcare FSA appeal determination within 30 days — You will receive a
 determination within 30 days after receipt of your initial appeal. If there is a second appeal, you will
 receive a determination within 30 days from receipt by the Harris Corporation Employee Benefits
 Committee of the appeal of the claim.

 You will receive a detailed notice if a Healthcare FSA appeal is denied — This notice of denial can be
 written or electronic and it will contain:
 • The specific reason(s) for the denial
 • References to the pertinent plan provisions upon which the decision is based
 • References to any internal rule, guideline or protocol that was used in making the decision and, upon
   request, the option to receive without charge, a copy of the internal rule, guideline or protocol
 • A statement that you are entitled to receive, upon request and free of charge, reasonable access to, and
   copies of, all documents, records and other information relevant to your claim
 • Information concerning your right to bring a civil action under section 502(a) of ERISA (after exhausting
   these appeal procedures).

 Dependent Care FSA Appeals
 If you feel that you are due benefits from the Dependent Care FSA, and have been denied these benefits
 and wish to further pursue a claim, then you or your authorized representative can appeal the claim
 administrator’s decision.

 You have 60 days to file your initial Dependent Care FSA appeal — The appeal must be filed with
 the Harris Corporation Employee Benefits Committee (or, if your appeal relates to eligibility or election
 changes, the claim administrator) and must be received no later than 60 days following the claim denial. A
 second appeal is available if your claim relates to eligibility or election changes.

 A final Dependent Care FSA appeal must be filed within 60 days of the initial appeal denial — If the
 claim administrator denies your appeal related to eligibility or election changes, you or your authorized
 representative can file a final appeal in writing with the Harris Corporation Employee Benefits Committee
 within 60 days after receiving the claim denial. If the Committee in its discretion denies your appeal, such
 denial is final and binding on all parties.

 There are specific steps to take to file a Dependent Care FSA appeal — Your appeal must be in writing
 and must include the reasons why the denial is being challenged. Attached to the appeal should be copies
 of any documentation or evidence (including any relevant written comments, documents, records or other
 information) supporting the claim. This additional information will be considered in the appeal (regardless
 of whether submitted or considered in the prior claim decision). As part of the appeal, you or your
 authorized representative can request, free of charge, reasonable access to, and copies of, all documents,
 records and other information relevant to the claim for benefits.

 You will ordinarily receive a Dependent Care FSA appeal determination within 60 days — If
 the appeal cannot be processed within 60 days of the date the appeal was received, you or your
 representative will receive a written or electronic notice within the initial 60-day period explaining the
 delay and indicating the reason for the delay and the date by which the decision can be expected (not to
 exceed an additional 60 days). If the reason for the extension is the failure of you or your representative
 to provide necessary information, the time frame of the claim administrator for making a benefit
 determination stops on the date the extension notification is sent to you and does not resume until the
 date on which the claim administrator receives a response to the request for additional information.



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      You will receive a detailed notice if a Dependent Care FSA appeal is denied — This notice of
      denial can be written or electronic and it will contain:
       • The specific reason(s) for the denial
       • References to the pertinent plan provisions upon which the decision is based
       • A statement that you are entitled to receive, upon request and free of charge, reasonable access to,
         and copies of, all documents, records and other information relevant to your claim.

      Commuter FSA Appeals
      If you feel that you have been improperly denied benefits from either Commuter FSA (the Transit
      Account or Parking Account) and you wish to further pursue a claim, then you or your authorized
      representative can appeal the claim administrator’s decision.

      You have 60 days to file a Commuter FSA appeal — The appeal must be filed with the
      claim administrator and must be received no later than 60 days following the claim denial. The
      decision of the claim administrator is final and binding on all parties.

      There are specific steps to take to file a Commuter FSA appeal — Your appeal must be in writing
      and must include the reasons why the denial is being challenged. Attached to the appeal should be
      copies of any documentation or evidence (including any relevant written comments, documents,
      records or other information) supporting the claim. This additional information will be considered in
      the appeal (regardless of whether submitted or considered in the prior claim decision). As part of the
      appeal, you or your authorized representative can request, free of charge, reasonable access to, and
      copies of, all documents, records and other information relevant to the claim for benefits.

      You will ordinarily receive a Commuter FSA appeal determination within 60 days — If the appeal
      cannot be processed within 60 days of the date the appeal was received, you or your representative
      will receive a written or electronic notice within the initial 60-day period explaining the delay and
      indicating the reasons for the delay and the date by which the decision can be expected (not to exceed
      an additional 60 days). If the reason for the extension is the failure of you or your representative
      to provide necessary information, the time frame of the claim administrator for making a benefit
      determination stops on the date the extension notification is sent to you and does not resume
      until the date on which the claim administrator receives a response to the request for additional
      information.

      You will receive a detailed notice if a Commuter FSA appeal is denied — This notice of denial can
      be written or electronic and it will contain:

       • The specific reason(s) for the denial
       • References to the pertinent plan provisions upon which the decision is based
       • A statement that you are entitled to receive, upon request and free of charge, reasonable access to,
         and copies of, all documents, records and other information relevant to your claim.




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 Retirement Plan Appeals
 If you or your beneficiary feel that benefits have been improperly denied under the Retirement
 Plan, there is an appeal process.

 You must first file an initial appeal for Retirement Plan benefits — If you wish to pursue a
 claim for benefits under the Retirement Plan, then you or your authorized representative must file
 a written appeal with the Harris Corporation Employee Benefits Committee.

 You will ordinarily receive a response to an initial Retirement Plan appeal within 90 days —
 If the Harris Corporation Employee Benefits Committee cannot process your appeal within 90 days
 of the date the appeal was received, you or your representative will receive a written or electronic
 notice within the initial 90-day period explaining the delay and indicating the reasons for the delay
 and the date by which the decision can be expected (not to exceed an additional 90 days).

 You will receive a detailed notice if an initial Retirement Plan appeal is denied — This notice
 of denial can be written or electronic and it will contain:

 • The specific reason(s) for the denial
 • References to pertinent plan provisions upon which the denial is based
 • A description of any additional material or information necessary to perfect the claim and an
   explanation as to why such material or information is necessary and
 • A description of the plan’s claim review procedures and the time limits that apply to such
   procedures, including a description of your right to bring a civil action under section 502(a) of
   ERISA (after exhausting these appeal procedures).

 You have 60 days to request a second and final Retirement Plan appeal — The appeal must
 be in writing and must be sent to the Harris Corporation Employee Benefits Committee no later
 than 60 days following the initial appeal denial. Your appeal must include the reasons why the
 denial is being challenged. Attached to the appeal should be copies of any documentation or
 evidence (including any relevant written comments, documents, records or other information)
 supporting the claim. This additional information will be considered in the appeal (regardless
 of whether submitted or considered in the initial appeal). As part of the appeal, you or your
 representative have the right to request, free of charge, reasonable access to, and copies of, all
 documents, records and other information relevant to the claim for benefits. The Committee has
 full discretionary responsibility and authority to review your appeal and its decision will be final
 and binding on all parties.

 You will ordinarily receive a response to a second and final Retirement Plan appeal within
 60 days — If the second appeal cannot be processed within 60 days of the receipt of the appeal,
 you or your representative will receive a written or electronic notice within the initial 60-day
 period explaining the delay and indicating the reasons for the delay and the date by which the
 decision can be expected (not to exceed an additional 60 days). If the reason for the extension
 is your failure to provide necessary information, the Committee’s time frame for making a
 benefit determination stops on the date the extension notification is sent to you and does not
 resume until the date on which the Committee receives a response to the request for additional
 information.



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      You will receive a detailed notice if your second Retirement Plan appeal is denied — This
      notice of denial can be written or electronic and it will contain:

       • The specific reason(s) for the denial
       • References to the pertinent plan provisions upon which the decision is based.
       • A statement that you are entitled to receive, upon request and free of charge, reasonable access
         to, and copies of, all documents, records and other information relevant to your claim.
       • Information concerning your right to bring a civil action under section 502(a) of ERISA (after
         exhausting these appeal procedures).

      Severance Pay Plan Appeals
      If you are separated from employment and believe that you are entitled to receive severance
      benefits that have not been offered to you, there are steps for you to take.

      You must first make a request for Severance Pay Plan benefits — You or your authorized
      representative must make a written request for benefits to your local Human Resources
      department.

      You will ordinarily receive a response to an initial Severance Pay Plan request within
      90 days — If the request cannot be processed within 90 days of the date it was received, you
      or your representative will receive a written or electronic notice within the initial 90-day period
      explaining the delay and indicating the reasons for the delay and the date by which the decision
      can be expected (not to exceed an additional 90 days).

      If an initial Severance Pay Plan request is denied, you will receive a detailed notice — This
      notice of denial can be written or electronic and it will contain:

       • The specific reason(s) for the denial
       • References to pertinent plan provisions upon which the denial is based
       • A description of any additional material or information necessary to perfect the claim and an
         explanation as to why such material or information is necessary and
       • A description of the plan’s claim review procedures and the time limits that apply to such
         procedures, including a description of your right to bring a civil action under section 502(a) of
         ERISA (after exhausting these appeal procedures).

      If your severance benefit request is denied and you want to pursue your claim further, you must
      appeal.




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 You have 60 days to request a Severance Pay Plan appeal — Your appeal must be filed with
 the Harris Corporation Employee Benefits Committee within 60 days after receiving the denial.
 The appeal must be in writing and must include the reasons why the denial is being challenged.
 Attached to the appeal should be copies of any documentation or evidence (including any relevant
 written comments, documents, records or other information) supporting the claim. This additional
 information will be considered in the appeal (regardless of whether submitted or considered in
 the original benefit determination). As part of the appeal, you or your representative have the
 right to request, free of charge, reasonable access to, and copies of, all documents, records and
 other information relevant to the claim for benefits. The Harris Corporation Employee Benefits
 Committee has full discretionary responsibility and authority to review appeals and its decisions
 are final and binding on all parties.

 You will ordinarily receive a response to a Severance Pay Plan appeal within 60 days — If
 the appeal cannot be processed within 60 days of when the appeal was received, you or your
 representative will receive a written or electronic notice within the initial 60-day period explaining
 the delay and indicating the reasons for the delay and the date by which the decision can be
 expected (not to exceed an additional 60 days). If the reason for the extension is your failure to
 provide necessary information, the Harris Corporation Employee Benefits Committee’s time frame
 for making a benefit determination stops on the date the extension notification is sent to you and
 does not resume until the date on which the Committee receives a response to the request for
 additional information.

 You will receive a detailed notice if your Severance Pay Plan appeal is denied — This notice of
 denial can be written or electronic and it will contain:

 • The specific reason(s) for the denial
 • References to the pertinent plan provisions upon which the decision is based
 • A statement that you are entitled to receive, upon request and free of charge, reasonable access
   to, and copies of, all documents, records and other information relevant to your claim.
 • Information concerning your right to bring a civil action under section 502(a) of ERISA (after
   exhausting these appeal procedures).




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    COBRA Continuing Coverage Notice
       This notice contains important information about your right to COBRA continuation coverage,
       which is a temporary extension of coverage under the Medical Plan, Dental Plan or Vision Care
       Plan and temporary extension of participation in the Healthcare FSA or the Employee Assistance
       Program (EAP). These plans are referred to throughout this section as “health plans.”

       The Consolidated Omnibus Budget Reconciliation Act of 1986 (COBRA) created the right to COBRA
       continuation coverage for you and certain other members of your family, who lose coverage under
       the health plans in certain circumstances.

       If you are a domestic partner or the child of a domestic partner who is not a dependent of the
       employee, COBRA does not provide you with a right to continue health plan coverage. However,
       Harris has elected to treat you as a qualified beneficiary who is eligible for COBRA continuation
       coverage with the same terms and conditions as made available to spouses and dependent
       children of employees as described below in this notice. For purposes of this notice, a domestic
       partner will be deemed to be a spouse and the child of a domestic partner will be deemed to be
       the employee’s dependent child. Harris retains the right to amend or terminate this benefit at any
       time.

       This notice generally explains COBRA continuation coverage, when it may become available
       to you, your spouse and your dependent children, and what you need to do to protect the
       right to receive it. When you become eligible for COBRA, you also may become eligible for
       other coverage options that may cost less than COBRA continuation coverage.

       COBRA continuation coverage for the health plans is administered by:

       CONEXIS
       PO Box 660453
       Dallas, TX 75266-0453
       1.866.206.5751




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   COBRA Continuation Coverage — Details
   COBRA continuation coverage is a continuation of health plan coverage when coverage would otherwise end
   because of a “qualifying event.” Specific qualifying events are listed below. After a qualifying event, COBRA
   continuation coverage must be offered to each person who is a qualified beneficiary. Qualified beneficiaries
   are certain persons who will lose coverage under the health plan because of a qualifying event. Depending on
   the type of qualifying event, employees, spouses of employees and dependent children of employees may be
   qualified beneficiaries under the health plans. Qualified beneficiaries who elect COBRA continuation coverage
   generally must pay for such coverage.

   If you are an employee — You will become a qualified beneficiary if you lose your coverage under a health
   plan because either one of the following qualifying events happens:

    • Your hours of employment are reduced
    • Your employment ends for any reason other than your gross misconduct.

   If you are the spouse of an employee — You will become a qualified beneficiary if you lose your coverage
   under a health plan because any of the following qualifying events happen:
   • Your spouse (the employee) dies
   • Your spouse’s (the employee’s) hours of employment are reduced
   • Your spouse’s (the employee’s) employment ends for any reason other than his/her gross misconduct
   • Your spouse (the employee) becomes entitled to Medicare (Part A, Part B or both)
   • You become divorced or legally separated from your spouse.

   If there are dependent children — They will become qualified beneficiaries if they lose coverage under a
   health plan because any of the following qualifying events happen:
    • You (the parent employee) die
    • Your (the parent employee’s) hours of employment are reduced
    • Your (the parent employee’s) employment ends for any reason other than gross misconduct
    • You (the parent employee) become entitled to Medicare (Part A, Part B or both)
    • You (the parent employee) become divorced or legally separated
    • The child stops being eligible for coverage under the health plan as a “dependent child.”
   Bankruptcy as a qualifying event — Sometimes, filing a proceeding in bankruptcy under title 11 of the United
   States Code can also be a qualifying event. If a proceeding in bankruptcy is filed with respect to Harris, and
   that bankruptcy results in the loss of coverage of any retired employee covered under a health plan, the retired
   employee will become a qualified beneficiary with respect to the bankruptcy. The retired employee’s spouse,
   surviving spouse and dependent children will also become qualified beneficiaries if the bankruptcy results in
   the loss of their coverage under the health plan.

   How the process for COBRA continuation coverage begins — The health plan will offer COBRA continuation
   coverage to qualified beneficiaries only after the plan administrator has been notified that a qualifying event
   has occurred. Who is responsible for notifying the plan administrator varies with the qualifying event:
    • When the qualifying event is the end of employment, reduction of hours of employment, your death,
      commencement of a proceeding in bankruptcy with respect to Harris, or the employee becoming entitled to
      Medicare benefits (Part A, Part B or both), the employer must notify the plan administrator of the qualifying
      event within 30 days of the event.
    • For the other qualifying events (your divorce or legal separation or a child’s loss of eligibility for coverage as
      a dependent child), you must notify the plan administrator. The health plan requires you to notify the plan
      administrator (CONEXIS) within 60 days after the qualifying event occurs. The notice you provide must contain
      the name of the health plan (Harris Corporation group health plan); the name, CONEXIS account number
      or social security number, and address of the employee/former employee who is or was covered under the
      health plan; the name(s) and address(es) of all qualified beneficiary(ies) who lost coverage as a result of
      the qualifying event; and the certification, signature, name, address, and telephone number of the person
      providing the notice. If the required notice is not provided within this time limit, then COBRA continuation
      coverage will not be available.



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            Election of COBRA continuation coverage — Once the plan administrator receives notice that a
            qualifying event has occurred, COBRA continuation coverage will be offered to each of the qualified
            beneficiaries. Each qualified beneficiary will have an independent right to elect COBRA continuation
            coverage. Covered employees may elect COBRA continuation coverage on behalf of their spouses, and
            parents may elect COBRA continuation coverage on behalf of their children. Any qualified beneficiary
            who wants continuation coverage generally must sign up for it within 60 days after being notified
            of the right to elect COBRA continuation coverage. For each qualified beneficiary who timely elects
            COBRA continuation coverage, COBRA continuation coverage will begin retroactively to the date of the
            qualifying event. Qualified beneficiaries will be automatically entitled to participate in the EAP during
            the COBRA continuation period, and are not required to make an election to receive such continued
            coverage.
            COBRA continuation coverage is a temporary continuation of coverage — Its length varies with the
            circumstances triggering the right to continuation of coverage. When the qualifying event is your death,
            your entitlement to Medicare (Part A, Part B or both), your divorce or legal separation or a child’s loss of
            eligibility as a dependent child, COBRA continuation coverage lasts for up to 36 months.
            When the qualifying event is the end of employment or reduction of your (the employee’s) hours of
            employment and you (the employee) became entitled to Medicare less than 18 months before the
            qualifying event, COBRA continuation coverage for qualified beneficiaries other than you lasts for up to
            36 months after the date of Medicare entitlement. Otherwise, when the qualifying event is the end of
            employment or reduction of your (the employee’s) hours of employment, COBRA continuation coverage
            generally lasts for up to 18 months. There are two ways in which this 18-month period of COBRA
            continuation coverage can be extended, as described below.
            Disability extension of 18-month period of continuation coverage — If you or anyone in your
            family covered under the health plan is determined by the Social Security Administration to be disabled
            and you notify the plan administrator in a timely fashion, you and your entire family can receive up to
            an additional 11 months of COBRA continuation coverage, for a maximum of 29 months. The disability
            must have started on or before the 60th day of COBRA continuation coverage and must last until the
            end of the 18 month period of COBRA continuation coverage. You must also make sure that the plan
            administrator is notified in writing of the Social Security Administration’s determination within 60 days
            of the date of the determination and before the end of the 18-month period of COBRA continuation
            coverage. This notice should be sent to:
                                                            CONEXIS
                                                         PO Box 660453
                                                      Dallas, TX 75266-0453
                                                         1.866.206.5751

            COBRA coverage for a disabled qualified beneficiary and his or her family members stops on the
            first day of the month following 30 days after the Social Security Administration determines that
            the qualified beneficiary is no longer disabled (if the initial 18-month period has ended). A qualified
            beneficiary must notify Harris in writing within 30 days after the date that the Social Security
            Administration makes a final determination that he/she is no longer disabled.
            Second qualifying event extension of 18-month period of continuation coverage — If your family
            experiences another qualifying event while receiving COBRA continuation coverage, the spouse and
            dependent children in your family can get up to 18 additional months of COBRA continuation coverage,
            up to a maximum of 36 months, if the health plan is properly notified about the second event. This
            extension is available to your spouse and dependent children if you (the former employee) die, become
            entitled to Medicare (Part A, Part B or both) or get divorced or legally separated. The extension may
            also be available to a dependent child when that child stops being eligible under the health plan as a
            dependent child. This extension is only available if the second qualifying event would have caused the
            spouse or dependent child to lose coverage had the first qualifying event not occurred.




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     In all of these cases, you must make sure that the plan administrator is notified of the second qualifying
     event within 60 days of that event. This notice must be sent to:
                                                     CONEXIS
                                                  PO Box 660453
                                               Dallas, TX 75266-0453
                                                  1.866.206.5751
     Special rules governing Healthcare FSAs — Regardless of the qualifying event, COBRA continuation
     coverage may offer you the option to continue contributing after-tax money to your Healthcare FSA
     until the end of the calendar year in which the event occurs. If you do, you can use the money in your
     Healthcare FSA for eligible expenses incurred after your termination date. If you do not elect to continue
     Healthcare FSA participation under COBRA, your participation in the FSA will end when your employment
     ends, and you will forfeit any money remaining in your account after you have been reimbursed for
     expenses incurred on or prior to your termination date. In either case, you cannot continue Healthcare
     FSA participation beyond the end of the calendar year.
     Paying for COBRA coverage — With one exception, each person electing continuation coverage under a
     health plan must pay the full monthly cost for that coverage plus a 2% administrative fee. (The exception
     is the EAP for which there is no cost for continuation coverage.) Please note that the “full cost” means
     an amount that is not subsidized by Harris. As such, your continued coverage under COBRA will be more
     expensive than the cost of your coverage prior to the COBRA qualifying event. You can be charged up to
     150% of the plan’s total cost of your coverage for the disability extension period.
     When COBRA coverage ends — Coverage under COBRA generally ends at the end of the maximum
     18-month, 29-month or 36-month period. However, COBRA coverage stops sooner if:
     • The required premium payments are not made on time
     • The qualified beneficiary becomes covered under another health plan after electing continuation
      coverage
     • The plan is terminated and Harris provides no other health coverage
     • The qualified beneficiary becomes entitled to Medicare after electing continuation coverage
     • Disability ceases after 18 months of continuation coverage or
     • The qualified beneficiary engages in conduct that would result in termination of coverage under the plan
      for a similarly situated individual who is not receiving continuation coverage.
     Address changes — To ensure that Harris or CONEXIS can contact you with respect to any continuation
     rights to which you may be entitled under the health plans, it is important that you and your dependents
     keep Harris (and CONEXIS, in the event that continuation coverage is elected) informed at all times of your
     current address(es).
     If you have questions — If you have questions about your COBRA continuation coverage, the Affordable
     Care Act and other laws affecting group health plans, you should contact the Harris Benefits Service
     Center or you may contact the nearest regional or district office of the U.S. Department of Labor’s
     Employee Benefits Security Administration (EBSA). Addresses and phone numbers of regional and district
     EBSA offices are available through EBSA’s website at http://www.dol.gov/ebsa. For more information
     about the “health insurance marketplace,” established by the Affordable Care Act, as a means to purchase
     healthcare insurance visit www.healthcare.gov.




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      Alternatives to COBRA Continuing Coverage
      In addition to COBRA, you may have other options available to you when you lose group health
      coverage. Some of these options may cost less than COBRA continuation coverage. For example,
      you may be eligible to buy an individual health plan through the health insurance marketplace,
      established by the Affordable Care Act. By enrolling in coverage through the health insurance
      marketplace, you may qualify for lower costs on your monthly premiums and lower out-of-
      pocket costs. You may qualify for a 30-day “special enrollment period” for another group health
      plan for which you are eligible (such as a spouse’s plan), even if that plan doesn’t generally
      accept late enrollees. You also may qualify for Medicaid or CHIP. You can learn more about
      these alternatives at http://www.healthcare.gov.

      You may also consider contacting Willis Towers Watson’s OneExchange — one of the largest
      healthcare marketplaces in the country. OneExchange specializes in getting individuals the
      right selection of healthcare plans based on individual needs and budgets at no cost to you.
      OneExchange may assist you with finding more affordable marketplace coverage than the
      Harris COBRA coverage. You can reach a OneExchange representative at 1.800.591.2611.

      Continuation of coverage while on a Family or Medical Leave — Under Harris Corporation
      policy and the Federal Family and Medical Leave Act (FMLA), eligible employees are generally
      allowed to take up to 12 weeks of unpaid leave for certain qualifying family and medical
      situations. If you are receiving pay while on an FMLA leave, you are considered on a paid
      leave of absence and your benefit eligibility reflects that status. Otherwise, your FMLA leave is
      unpaid and your benefit eligibility will be the same as is described for an unpaid leave in the
      “Benefit Basics” section of this SPD. Note that your benefit coverage during an FMLA leave is not
      considered COBRA continuation coverage.

      Continuation of coverage for employees in the uniformed services — The Uniformed
      Services Employment and Reemployment Rights Act of 1994 (USERRA) guarantees certain rights
      to eligible employees who enter military service. Upon reinstatement, you generally are entitled
      to the seniority, rights and benefits associated with the position held at the time employment
      was interrupted, plus certain additional seniority, rights and benefits that would have been
      attained if employment had not been interrupted.

      When you go on military leave, your work hours are reduced. As a result, you, your spouse and
      your covered dependents may become eligible for a temporary extension of coverage under
      the Medical Plan, Dental Plan or Vision Care Plan and temporary extension of participation
      in the Healthcare FSA and EAP under COBRA (as described above) and USERRA. Any COBRA
      continuation period for which you are eligible will run concurrently with any USERRA
      continuation period for which you are eligible. The USERRA continuation period runs for up to
      24 months while you are on military leave.




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 If you choose not to continue your coverage while on military leave, or if your leave is longer than
 the USERRA continuation period (i.e., 24 months), you are entitled to reinstated health coverage with
 no waiting periods or exclusions when you return from leave. In general, to be eligible for the rights
 guaranteed by USERRA, you must:

 • Return to work on the first full, regularly scheduled workday following your leave, safe transport
   home and an 8-hour rest period if you are on a military leave of less than 31 days
 • Return to or reapply for employment within 14 days of completion of your period of duty, if your
   military service is from 31 to 180 days
 • Return to or reapply for employment within 90 days of completion of your period of duty, if your
   military service lasts more than 180 days.

 For more information about your rights under USERRA, visit My Benefits Portal.

Qualified Medical Child Support Order
 A qualified medical child support order (QMCSO) is a court order (or court-approved settlement
 agreement) — creating or recognizing the right of a child to receive benefits under a Harris group
 health plan — which the plan administrator determines meets the requirements for QMCSO status. A
 QMCSO may apply to the Harris Medical, Dental, Vision Care, EAP and/or Healthcare FSA plans.

 The plan administrator’s determination of QMCSO status is made in accordance with written
 procedures established by the plan administrator. On receipt of a medical child support order or a
 National Medical Support Notice, the plan administrator will notify the participant and affected child of
 receipt of the order or notice and provide copies of the procedures that will be followed in determining
 the qualified status of the order or notice. These procedures also describe how benefits provided
 under a QMCSO will be administered and can be obtained at anytime upon request through the Harris
 Benefits Service Center free of charge.

Use and Disclosure of Your Protected
Health Information
 The Health Insurance Portability and Accountability Act of 1996 (HIPAA) creates certain obligations
 regarding the privacy and security of your health information. The following paragraphs will
 explain how your health information — obtained by the Medical Plan (including information about
 pharmacy benefits), the Dental Plan, the Vision Care Plan, the EAP and the Healthcare FSA — will
 be used and disclosed by Harris and by the health plans. The before-mentioned benefit plans,
 collectively, will be referred to as the “health plans” in this section of the SPD.

 Types of health plan information — Health information that is obtained by the health plans
 is different from the information found in your employment records. This section applies
 only to health information obtained by the health plans, and not to your employment records
 (including health-related employment records) or what Harris as your employer can do with your
 employment records.




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      This section discusses two types of health information: summary health information and protected
      health information. The permitted uses and disclosures of your summary health information are
      different from the permitted uses and disclosures of your protected health information.

       • Summary health information summarizes claim history, claim expenses or types of claims, and it
         does not include certain identifiers, such as your name and social security number
       • Protected health information means information (whether transmitted or maintained electronically
         or otherwise), including demographic information, about your past, present and future health
         conditions or your health care coverage, services and payment for such services.

      Disclosure of summary health information — The health plans may disclose, or permit a health
      insurance issuer or health maintenance organization (HMO) to disclose, summary health information
      for individuals covered under the health plans to Harris if Harris requests summary health information
      for the purpose of:

       • Obtaining premium bids from health insurance companies for the health plans or
       • Modifying, amending or terminating the health plans.

      Disclosure of participation, enrollment or disenrollment information — The health plans may
      disclose, or permit a health insurance issuer or an HMO to disclose, to Harris whether an individual is
      participating in a health plan or is enrolled or has disenrolled from an HMO offered by the health plans.


            More about the Use and Disclosure of Your Health Information by the Health Plans
            The health plans will use and disclose protected health information in a manner that is consistent with
            the health plans’ Notice of Privacy Practices (the terms of which are incorporated by reference). You will
            find a copy of the Notice of Privacy Practices at My Benefits Portal.

            The health plans may disclose protected health information to Harris only upon receipt of Harris’
            certification that the plan documents have been amended as required by HIPAA and its implementing
            regulations (“HIPAA Privacy Rules”) and that Harris agrees:

            • Not to use or disclose protected health information other than as permitted or required by this SPD or
                the applicable plan documents or as required by law
            • To ensure that any agents, including a subcontractor, to whom Harris provides protected health
                information received from a health plan agree to the same restrictions and conditions that apply to
                Harris with respect to such information
            •   Not to use or disclose protected health information for employment-related actions and decisions, or in
                connection with any other benefit or employee benefit plan of Harris, unless authorized to do so by the
                individual whose health information is to be disclosed
            •   To report to the health plans within a reasonable time after becoming aware of any use or disclosure of
                the protected health information that is inconsistent with the uses or disclosures permitted by this SPD
            •   To make an individual’s protected health information available to him/her in accordance with the
                requirements outlined in the HIPAA Privacy Rules
            •   To make protected health information available for amendment and to incorporate any amendments to
                protected health information in accordance with the HIPAA Privacy Rules
            •   To make protected health information available to provide an accounting of disclosures in accordance
                with the HIPAA Privacy Rules
            •   To make its internal practices, books and records relating to the use and disclosure of protected health
                information received from the health plans available to the Secretary of the Department of Health and
                Human Services or the Secretary’s designee for purposes of determining compliance by the health plans
                with the HIPAA Privacy Rules


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     • To return or destroy all protected health information received from the health plans that Harris still
         maintains in any form (and retain no copies) when no longer needed for the purpose for which disclosure
         was made, except that, if such return or destruction is not feasible, Harris will limit further uses and
         disclosures to those purposes that make the return or destruction of the information infeasible
     •   To ensure that adequate protections described under “Separation Between Harris and the Health Plans”
         below are established
     •   To implement administrative, physical and technical safeguards that reasonably and appropriately protect
         the confidentiality, integrity and availability of electronic or non-electronic protected health information that
         Harris creates, receives, maintains or transmits on behalf of the health plans
     •   To ensure that the adequate separation of functions required under “Separation Between Harris and the
         Health Plans” below is supported by reasonable and appropriate security measures
     •   To ensure that any agent, including a subcontractor, to whom Harris provides electronic or non-electronic
         protected health information agrees to implement reasonable and appropriate security measures to protect
         such electronic or non-electronic protected health information
     •   To report to the health plans any security incident or breach of unsecured electronic protected health
         information of which Harris becomes aware.

     Separation Between Harris and the Health Plans
     Harris will take reasonable actions to maintain adequate separation from the health plans. Harris will give only
     the following persons access to protected health information:
     • The Director of Employee Benefits
     • The health plans’ Privacy Official and Security Official
     • The Benefits Service Center staff members
     • The Harris Corporation Employee Benefits Committee and
     • Harris employees and contractors who use protected health information for payment, healthcare operations
         or other matters pertaining to the health plans in the ordinary course of business, including the General
         Counsel, other legal counsel for the health plans, financial, accounting or actuarial personnel, the payroll
         department, and the Information Management Services Department.

     Harris will restrict the access to, and use of, protected health information by the employees and contractors
     referenced above to the “plan administration functions” that Harris performs for, or on behalf of, the health
     plans. The term “plan administration functions” does not include functions Harris performs in connection
     with any other benefit or benefit plans. Genetic information will not be used or disclosed for underwriting
     purposes.

     Harris will take reasonable steps to prevent use or disclosure of the protected health information other than
     as provided for by this subsection. Harris will take appropriate action to resolve any issues of noncompliance,
     which may include:
     • Investigation of the incident to determine whether the noncompliance occurred inadvertently, through
       negligence or deliberately; whether there is a pattern of breaches; and the degree of harm caused by the
       incident
     • In accordance with this SPD, reporting to the health plans’ Privacy Official within a reasonable time any
       unauthorized use or disclosure
     • Appropriate sanctions against the persons causing the noncompliance which, depending upon the nature of
       the incident, may include oral or written reprimand, additional training, or termination of employment,
     • Mitigation of any harm caused by the incident, to the extent practicable and
     • Documentation of the incident and all actions taken to resolve the issue and mitigate any damages.
     You have the right to submit a written complaint about the health plans’ privacy practices if you think that
     your privacy has been violated. Any complaints about the uses or disclosures of protected health information
     may be directed to the Privacy Official as outlined in the Notice of Privacy Practices.




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   Rights to Full Recovery and Subrogation
       Offset and    Offset — If you receive a payment from a plan that is an error, the plan may reduce future benefits
       Recovery      payable to you or on your behalf by the amount of the erroneous payment. This right to offset does not
                     limit any plan’s right to recover an erroneous payment in any other manner

                     Recovery — If you receive a payment that exceeds the amount you are entitled to receive under the
                     applicable plan, the claims administrator, insurance company or Harris may recover the excess directly
                     from you or from the person to whom the payment was made. This right of recovery does not limit the
                     plan’s right to recover erroneous payments in any other manner
       Subrogation   When Harris has the right to recoup benefits — As a condition to Harris providing any benefits in those
                     situations where an injury, sickness, disease, disability or death is caused in whole or in part by, or results
                     from, the acts or omissions of a third party, or from the acts or omissions of a covered person where any
                     other insurance or benefits are available (including, but not limited to: auto, homeowners, professional
                     or other liability coverage, Social Security or workers’ compensation benefits), Harris and its agents will
                     have the right to recoup all benefits paid or payable, either:

                     • By subrogation directly from the responsible party (whether an unrelated third party or a covered
                       person) or its insurer, without regard to whether the covered person is pursuing a claim against that
                       responsible party or
                     • By reimbursement and/or equitable restitution from the covered person when the covered person,
                       or his or her representative, has received compensation for such injury, sickness, disease, disability or
                       death from any source regardless of whether such compensation is received by judgment, settlement
                       or otherwise

                     What Harris can recoup — Harris will be entitled to recover 100% of the benefits paid or payable,
                     without deduction for attorneys’ fees and costs or other deductions, without regard to whether the
                     covered person is fully compensated by his/her net recovery from all sources and without regard to
                     allocation or designation of the recovery. Harris explicitly has the right of first recovery, even where a
                     participant or beneficiary is not made whole. If the covered person’s recovery is less than the benefits
                     paid or payable, then the plan is entitled to be paid all of the recovery achieved. All funds received by or
                     for any covered person, up to and including the amount of claims paid or payable, are subject to Harris’
                     equitable lien thereon and are deemed to be held in constructive trust for the benefit of Harris until
                     such funds are delivered to Harris or its attorneys




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   Subrogation   Harris’ rights of subrogation, reimbursement and restitution, both in contract and equity, will have priority
                 against — and will constitute a first lien against — any and all payments, settlements, judgments or awards
                 made by or received from:

                 • The third party, its insurer or any other source on behalf of that party
                 • Any insurance company under an uninsured, underinsured or medical payment provision on behalf of
                   the covered person and
                 • Any other source (such as Social Security benefits and workers’ compensation) whose payment is
                   designed or intended to compensate or reimburse the covered person for the injury, sickness, disease,
                   disability or death or other damages sustained

                 Your acknowledgements and responsibilities — By making a claim for benefits or receiving benefits the
                 covered person agrees:

                 • To be bound by Harris’ rights of subrogation, reimbursement and restitution as described in this section,
                   and upon request, sign any applicable subrogation, reimbursement, restitution or similar agreement
                 • That the plan under which such benefits are provided has established a lien on any recovery received by
                   the covered person
                 • To cooperate with Harris or its agents in defining, verifying and protecting its rights of subrogation,
                   reimbursement and restitution
                 • To provide Harris with pertinent information regarding the circumstances surrounding the injury,
                   sickness, disease, disability or death, including accident reports, settlement reports, information
                   regarding any potential third party liability and any other requested information or documentation
                 • Not to take or fail to take any action that would prejudice Harris’ rights of subrogation, reimbursement
                   and restitution
                 • To obtain prior consent from Harris or its attorneys before settling any claim that the covered person
                   may have against any legally responsible party or insurance carrier
                 • To hold in constructive trust for, and promptly reimburse and/or provide restitution to, Harris when a
                   recovery through settlement, judgment, award or other payment is received and
                 • That any payment received as recovery by a covered person is an asset of the plan and the covered
                   person is therefore a fiduciary of the plan with respect to such amount

                 Failure to comply with any of these requirements may result in the withholding of payment by Harris
                 of further benefits and/or will render the covered person responsible for the attorneys’ fees and costs
                 incurred by Harris in protecting its rights. Harris also reserves the right to reduce future benefits payable
                 to you or on your behalf by the amount owed to Harris pursuant to these provisions, or based upon
                 future payments you are entitled to receive from any of the parties described above

                 Extent of Harris’ rights — This provision will not limit any other remedies of Harris provided by law. These
                 rights of subrogation, reimbursement and restitution will apply without regard to:

                 • The location of the event that led to or caused the applicable sickness, injury, disease, disability or death
                 • Whether any separate written acknowledgment of these rights is required by Harris or its administrator
                   and signed by the covered person

                 Right to receive or release necessary information — Harris may give or obtain information needed for
                 subrogation from an insurer or any other organization or person. This information may be given or
                 obtained without the consent of or notice to the covered person or any other person. A covered person
                 must give Harris the information it requests about other plans and their payment of allowable charges




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    ERISA Statement of Rights
      According to regulations published by the Department of Labor, the following statement must be
      included in all SPDs for plans that are subject to the Employee Retirement Income Security Act of
      1974 (ERISA).

                                                 Your ERISA Rights
        As a participant in the Harris health and welfare and retirement benefit plans that are subject to ERISA, you are
        entitled to certain ERISA rights and protections. ERISA provides that all plan participants shall be entitled to the
        following. The following does not apply to the Short-Term Disability Plan, Dependent Care Spending Account and
        Commuter Spending Accounts described in this SPD, because those arrangements are not subject to ERISA.

        Disclosure of plan information — You have a right to:

        • Receive information about your plans and benefits
        • Examine, without charge, at the plan administrator’s office and at certain specified locations, all documents
          governing the plans, including insurance contracts and copies of the latest annual reports (Form 5500 series)
          filed by the plans with the U.S. Department of Labor and available at the Public Disclosure Room of the
          Employee Benefits Security Administration (EBSA)
        • Obtain copies of documents governing the plans, including insurance contracts, copies of the latest Form 5500
          annual reports and an updated SPD upon written request to the plan administrator. The plan administrator may
          make a reasonable charge for the copies
        • Receive a summary of the Retirement Plan’s annual financial report. The plan administrator is required by law to
          furnish each participant with a copy of this summary annual report
        • Obtain, free of charge, a statement of your vested status in the Retirement Plan.

        Continuation of group health plan coverage — You have a right to:

        • Continue health care coverage for yourself, your spouse or your dependents if there is a loss of coverage under
          a group health plan as a result of a qualifying event. You or your dependents may have to pay for such coverage.
          Review this summary plan description and the documents governing the health plans on the rules governing
          your COBRA continuation coverage rights
        • Receive group health plan coverage without regard to any preexisting condition.

        Prudent actions by plan fiduciaries — In addition to creating rights for plan participants, ERISA imposes duties
        upon the people who are responsible for the operation of the employee benefit plans. The people who operate
        your plans, called the “fiduciaries” of the plans, have a duty to do so prudently and in the interests of you and
        other plan participants and beneficiaries. No one, including your employer, or any other person, may fire you or
        otherwise discriminate against you in any way to prevent you from obtaining a benefit or exercising your rights
        under ERISA.

        Enforcement of your rights — If your claim for benefits is denied or ignored, in whole or in part, you have a right to
        know why this was done, to obtain copies of documents relating to the decision without charge and to appeal any
        denial, all within certain time schedules.




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                                            Your ERISA Rights
   Under ERISA, there are steps you can take to enforce your rights. For instance:

  • If you request a copy of the plan document or the latest annual report from the plan and do not receive them
    within 30 days, you may file suit in a federal court. In such a case, the court may require the plan administrator
    to provide the materials and pay you up to $110 a day until you receive the materials, unless the materials were
    not sent because of reasons beyond the control of the plan administrator
  • If you have a claim for benefits that is denied or ignored, in whole or in part, you may file suit in a federal court,
    but only after you have exhausted the plan’s claims and appeals procedure, as described in this section of the
    SPD under the heading “Plan-by-Plan Appeal Process”
  • If you disagree with the plan’s decision or lack of response to your request concerning the qualified status of a
    medical child support order or domestic relations order, after you have exhausted the plan’s claims and appeals
    procedure, you may file suit in federal court. More information is found in this section of the SPD under the
    heading “Qualified Medical Child Support Order” and in the Retirement Plan section of the SPD under the
    heading “Qualified Domestic Relations Order”
  • If it should happen that plan fiduciaries misuse the plan’s money, or if you are discriminated against for asserting
    your rights, you may seek assistance from the U.S. Department of Labor, or you may file suit in a federal court
  • If you file suit against the plan, the court will decide who should pay court costs and legal fees. If you are
    successful, the court may order the person you have sued to pay these costs and fees. If you lose, the court may
    order you to pay these costs and fees, for example, if it finds your claim is frivolous.

   Assistance with your questions — If you have any questions about your benefit plans, you should contact the
   plan administrator. If you have any questions about this statement or about your rights under ERISA, or if you
   need assistance in obtaining documents from the plan administrator, you should contact the nearest office of the
   Employee Benefits Security Administration, U.S. Department of Labor, listed in your telephone directory, or by
   writing to:

   Division of Technical Assistance and Inquiries
   Employee Benefits Security Administration
   U.S. Department of Labor
   200 Constitution Avenue, N.W.
   Washington, DC 20210

   You may also obtain certain publications about your rights and responsibilities under ERISA by calling the
   publications hotline of the Employee Benefits Security Administration at 1.866.444.3272.




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    Final Reminders
       You must keep your address up to date in order to    Participants, former participants, spouses, beneficiaries and
       receive benefit payments and notices                 other individuals who may receive benefits under any of the
                                                            benefit plans provided by Harris Corporation, must keep the
                                                            plan administrator (or its designee) advised of their current
                                                            address so that benefits can be paid and notices provided
                                                            properly. Any benefit payments and notices regarding the
                                                            plans will be sent via first-class mail to the most current
                                                            address the plan administrator has on file, or by such other
                                                            means (including electronic means) permitted under federal
                                                            law
       Your participation in Harris benefits is not a       Neither receipt of this SPD nor participation in a Harris
       guarantee of continued employment                    Corporation employee benefit plan is a contract or guarantee
                                                            of continued or future employment or any specific terms of
                                                            employment. Employment with Harris is on an at-will basis
                                                            (except and only to the extent as may be provided otherwise
                                                            in an individual employment agreement)
       Harris or its representatives cannot advise you on   The company or its representatives cannot advise you
       personal decisions regarding your benefits           regarding tax, investment or legal considerations relating to
                                                            any benefit plan. If you have any questions regarding benefit
                                                            planning, you should seek advice from a personal advisor




                                 Harris Benefits Service Center
              TO REACH BY TELEPHONE                                     1.800.225.4343 (Option 1)
                   Hours                                                8:30 a.m. to 5:30 p.m. (ET), business days
              TO REACH BY FAX                                           1.844.678.6679
                                                                        Within the Harris network, click here or go
                                                                        through the Harris homepage
              TO REACH MY BENEFITS PORTAL
                                                                        Outside the Harris network:
                                                                        http://benefits.harris.com




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